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BALTIMORE CONSENT DECREE MONITORING TEAM
      COMPLIANCE REVIEW AND OUTCOME ASSESSMENT
               REGARDING USE OF FORCE

                          December 21, 2022
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I.      EXECUTIVE SUMMARY

Paragraphs 123 through 217 of the Consent Decree address the Baltimore Police Department’s
(“BPD” or “the Department”) use of force. They articulate numerous standards and expectations
regarding officer use of force in the field, officer reporting and the Department’s response
immediately following the use of force, the investigation of force incidents, and the Department’s
post-incident review process.

The Monitoring Team has conducted a compliance review and related outcome assessments
regarding use of force.1 This evaluation involved two major components. The first was a review
of information about all of BPD’s uses of force during each year from 2018 through 2021. That
review involved analysis of overall, aggregate data about force to gauge general trends and
dynamics across encounters where officers employed force.

The second element was a review of a random, statistically significant sample of 545 total use of
force cases and investigations from 2018, 2019, and 2020. In that review, nine Monitoring Team
experts examined all available documentation and evidence associated with the selected uses of
force and assessed whether the decisions and performance of involved officer(s) aligned with BPD
policy and Consent Decree requirements. Case reviewers also assessed the Department’s post-
incident response, investigation, and review against BPD policy and the Decree.

In evaluating both aggregate data and the large sample of specific force incidents, BPD’s
performance in 2018 serves as a functional baseline because the Department had not yet fully
revised or trained officers on Decree-required use of force policies and procedures. Performance
in 2019 captures a Department in transition – with new force policies finalized and officers
receiving in-depth training over the course of the year. In contrast, performance from 2020
captures the Decree-required force policies fully effective, with all officers having received
extensive training on new expectations. However, regardless of when force incidents occurred,
the Monitoring Team evaluated performance against Decree requirements, even if not technically
in effect, in order to gauge progress over time. The purpose, therefore, of considering performance
across 2018 through 2020 is to gauge BPD’s progress over time and the effectiveness of new
policies and training in enhancing officer performance.

The Monitoring Team concludes that BPD and its officers have made notable progress toward
compliance across a number of critical requirements. The findings from the analysis of the
Decree’s outcome measures are especially encouraging: BPD officers are using force less
frequently, and, when they do, it is more consistent with BPD policy and the Decree across a


1
  Specifically, this assessment evaluates BPD’s compliance with Paragraphs 123 through 206 and 211 through 217.
Paragraphs 207 through 210, relating to the Performance Review Board (“PRB”) that reviews critical use of force
incidents, is the subject of an ongoing assessment and will be the subject of a separate, forthcoming report.


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number of significant dimensions. Likewise, the Monitoring Team can certify that BPD has
reached initial compliance with several Consent Decree paragraphs.

At the same time, continued progress is necessary in many areas of the Decree related to
force to reach compliance. As the following summary describes, in some areas, officer
performance still needs to improve overall. For other Decree requirements, performance is
generally appropriate but, in those instances where deficient performance does occur, the
Department is not always systematically identifying and addressing it. To this end, the
Monitoring Team will be able to certify compliance once it sees evidence that BPD is identifying,
for itself, problematic performance and appropriately addressing it.

Summary of Findings

Analysis of data on all BPD uses of force from 2018 through 2021 indicates a number of important
trends in overall outcomes related to force, including:

       •   BPD officers used force substantially less frequently in 2020 and 2021 compared
           to 2018. The number of force incidents in which BPD officers were involved declined
           by nearly 54.7% from 2018 to 2021 – from 1,525 total force incidents in 2018 to 691
           in 2021.

       •   BPD’s reduced use of force does not appear to be explained by changes in the
           number of encounters that BPD officers have with members of the public.
           Compared to 2018, calls for service and other encounters logged in BPD’s Computer-
           Aided Dispatch (“CAD”) system were down by 18.5% in 2021, but use of force
           declined by 54.7%. This means that, even as officers had fewer overall encounters with
           individuals, the portion of those encounters that involved force declined even more
           rapidly.

           Indeed, the portion of BPD interactions with members of the public that ultimately
           involve force is low and has gotten lower. In 2018, 0.29% of all BPD activity captured
           in its calls for service database involved a use of force. In 2021, the portion of BPD
           calls for service that involved force declined to 0.16% of all BPD call for service
           activity – a decrease of nearly 45%.

       •   A significant majority of force that BPD officers use is less severe Level 1 force,
           which accounted for between 76.2% of force incidents in 2018 and 66.6% of force
           incidents in 2021.

           More serious Level 2 and Level 3 force incidents make up a comparative higher
           percentage of force incidents in 2021 (33.5%) than in prior years (26.1% in 2020,


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             29.6% in 2019, and 23.8% in 2018). At the same time, the overall numbers of Level
             1 and Level 2 incidents were lower in 2021 (898) than any of 2018 (1,503), 2019
             (1,268), and 2020 (911). Level 3 force incidents ranged from 24 in 2021 to 20 in 2019.

         •   BPD officers are pointing a firearm at subjects far less frequently – with the
             number of instances dropping from 461 incidents in 2018 to 209 incidents in 2021, a
             54.7% decrease. The Monitoring Team’s qualitative review of force incidents found
             that nearly all instances where officers pointed firearms at subjects were consistent with
             relevant BPD policy and Decree requirements.

         •   Fewer officers and subjects are being injured during force encounters. After an
             increase in 2019, the number of officers injured during force incidents declined in 2021
             by 39.7% compared to 2019 and by 29.8% compared to 2018. Subject injuries
             decreased between 2018 and 2021 by 41.2%.

         •   Compared to the Baltimore population, force subjects were disproportionately
             male and disproportionately Black. At the same time, neither a subject’s race nor
             gender was predictive, in a statistically significant way, of the Level or severity of
             force used.

             Additionally, Black subjects in foundationally deficient force cases – defined
             elsewhere in this report as force that was unnecessary, disproportionate, unreasonable,
             and/or inconsistent with the duty to de-escalate – that occurred in each of 2018, 2019,
             and 2020 were somewhat disproportionately represented compared to their
             representation in force cases overall. At the same time, in 2020, white subjects were
             somewhat disproportionately represented among foundationally deficient incidents
             compared to BPD force overall. However, given the specific nature of the Monitoring
             Team’s analysis and methodology, these numbers are descriptive only and cannot be
             used to say anything about the likelihood that an individual of a particular race will or
             will not be the subject of force that is foundationally deficient.

The Monitoring Team’s evaluation of the statistically significant, random sample of 545 force
incidents from 2018 through 2021 considered BPD’s compliance with the many specific, force-
related provisions of the Decree and Decree-required policies.2 Notable findings include:

         •   A large portion of force that BPD officers used was necessary, proportional, and
             objectively reasonable. However, the Monitoring Team finds that BPD has not


2
  As this report details, this included all 63 Level 3 force incidents that occurred in each of 2018, 2019, and 2020;
230 Level 2 force incidents (75 from 2018, 77 from 2019, and 78 from 2020); and 262 Level 1 force incidents (89
from 2018, 88 from 2019, and 85 from 2020).


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    reached initial compliance because (a) too many Level 3 force incidents did not
    meet these requirements, and (b) BPD failed to identify and take appropriate
    corrective actions in these instances where performance did not meet
    requirements. In 2020, force was necessary in 93.5% of all incidents, which
    represented continuing, positive progress over 2018 and 2019. Of the 10 cases from
    2020 where the Monitoring Team could affirmatively determine that officer force was
    unnecessary, half (5) were serious, Level 3 force incidents – yet BPD adjudicated just
    one incident to be “out of policy.” The dynamic was similar for the proportionality
    requirement in 2020, where 94.0% of overall force was proportional, but 5 of 9 of the
    disproportionate force incidents were significant, Level 3 force and BPD found only 1
    case inconsistent with policy. Likewise, with respect to the requirement that force be
    objectively reasonable, 93.4% of force overall complied in 2020, but 6 of 11
    noncompliant cases were significant, Level 3 incidents, with only 1 case flagged by the
    Department as “out of policy.”

•   BPD officers are more regularly, and appropriately, deploying appropriate de-
    escalation techniques and tactics during encounters with subjects; however, BPD
    is not yet adequately identifying and addressing the failure to de-escalate. Officers
    in 2020 took all reasonable efforts to de-escalate in 87.0% of force incidents compared
    to 69.5% in 2018. However, in 2019 and 2020, those instances where officers failed to
    de-escalate were more likely to occur in the context of intermediate (Level 2) or
    significant (Level 3) force cases, and BPD identified almost no instances of a failure to
    de-escalate as a policy violation.

•   In the vast majority of incidents that the Monitoring Team determined involved
    foundationally deficient force – because it was unnecessary, disproportionate, not
    objectively reasonable, and/or inconsistent with the duty to de-escalate – BPD
    failed to find officers’ performance as “out of policy.” Only 1 of 21 cases from 2020
    flagged as foundationally deficient by the Monitoring Team resulted in a BPD finding
    that the force incident was “out of policy.” Indeed, it appears that BPD did a better job
    in 2018 of closing cases inconsistent with BPD’s current force policy as “out of policy”
    – even though the decree-required force policies were not fully finalized, trained, or
    implemented before 2020.

•   Officers appear to be recognizing, and changing their response in appropriate
    ways to, both (a) individuals appearing to experience mental or behavioral health
    crises, and (b) youth. For instance, in 29 of 31 incidents in 2020 where the Monitoring
    Team indicated that a reasonable officer would have concluded that the subject was
    experiencing a crisis, the involved officer did successfully identify this fact.
    Meanwhile, BPD officers are also more regularly deploying developmentally



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    appropriate and trauma-informed approaches in the context of force encounters
    that involved children or youth.

•   Nearly all use of force cases by 2020 were captured on body-worn camera.
    Extrapolating from the case files reviewed to force incidents overall, body-worn
    camera footage is available in 96.8% of all force incidents in 2018, 94.7% of incidents
    in 2019, and 96.5% of incidents in 2020.

•   Officers are too frequently failing to issue verbal warnings, where it is practical
    under the circumstances, before using force. In more than half (54.7%) of force
    incidents in 2020 where Monitoring Team reviewers believed it was reasonable and
    practical under the circumstances to provide a warning, BPD officers failed to issue a
    warning.

•   BPD officers are complying with a number of specific prohibitions against certain
    force types, including the firing of weapons into crowds, using warning shots, and
    firing from or at moving vehicles; the use of force against persons exercising their
    First Amendment rights; the use of unapproved weapons or force techniques; and
    the application of force to individuals with certain characteristics or conditions.
    For other prohibitions – including those against retaliatory force generally and
    regarding chokeholds and neck holds – BPD is close to compliance but must make
    continued progress before the Monitoring Team can definitively certify compliance.

•   BPD officers appear to be less frequently using deadly/lethal force before
    exhausting other reasonably available, less-lethal options. In 2018, the Monitoring
    Team determined that 4 of 12 deadly/lethal force applications occurred before all less-
    lethal force options safe and reasonably available under the totality of the
    circumstances were tried and failed. In 2020, 2 of 11 deadly/lethal force applications
    involved a failure to use other available options. Nevertheless, as the report details,
    the combined infrequency of deadly/lethal force and the gravity of the force
    involved point toward BPD needing to demonstrate further improvement in
    connection to the deployment of such force.

•   BPD officer use of Tasers and OC spray was consistent with initial compliance,
    with positive, encouraging performance trends generally identified across 2018 through
    2020. At the same time, the Monitoring Team will need to see additional evidence of
    compliance going forward with respect to the use of batons, at least in part due to the
    low level of baton usage.

•   BPD is definitively on track toward compliance with respect to officer
    intervention in problematic force encounters. In 2020, compared to earlier years,


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    Monitoring Team reviewers found the lowest number of incidents where officers
    engaged in behavior that might have warranted intervention (because it was illegal,
    inconsistent with policy, or otherwise inappropriate). Likewise, they found the highest
    number and percentage of incidents in which officers successfully intervened (i.e., the
    intervention stooped the problematic force). Still, the relatively low rate of intervention
    in 2019 (in just 1 of 7 instances where applicable) and the relative recency of officer
    training on intervention mean that the Monitoring Team will want to see continuing,
    sustained progress with respect to officer intervention before issuing a finding of initial
    compliance in the area.

•   Considering what officers do immediately following the use of force at a scene,
    BPD’s performance was consistent with compliance in some regards but suggested
    some distance to travel in others before the Department will be fully compliant
    with Decree and policy requirements. In a vast majority of cases across all three
    years evaluated, BPD officers reduced the level of force or discontinued the application
    of force as a subject’s resistance decreased. However, officers did not uniformly render
    or request medical aid, and document that fact, as required.

•   Many on-scene supervisors are providing appropriate tactical guidance,
    oversight, and direction during the incident, but more improvement is necessary.
    In those reviewed cases where BPD supervisors arrived on the scene of a force incident,
    about 4 out of 5 (79.2%) of supervisors were involved appropriately. However, in 1 of
    5 instances, supervisors did not provide necessary guidance, oversight, and direction.

•   BPD officers are generally providing a use of force report in a timely manner after
    encounters where force is used. However, systemic deficiencies in the quality of
    these reports, and issues with the provision of public safety statements following
    firearms discharges, make continued improvement necessary for BPD to reach
    compliance across the relevant reporting requirements of the Decree and policy.

•   The force investigation and review process must still be improved for BPD to
    reach initial compliance with provisions relating to force investigation – even as,
    across levels of force and for most major dimensions, the overall quality of
    investigations improved over the 2018 through 2020 time period. In many instances,
    better, more carefully structured investigative files and templates may assist BPD in
    ensuring the kind of comprehensive documentation necessary to verify that
    investigators have complied with critical investigative criteria.




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II.    BACKGROUND

A.     The Department of Justice’s Investigative Findings Regarding Use of Force

The Department of Justice’s investigation of BPD concluded that the Department’s “officers use
unreasonable force in violation of the Fourth Amendment . . . , contributing to the pattern or
practice of conduct that violates the constitution and federal law.”3

Specifically, DOJ found that “in a significant number of cases, officers use aggressive tactics that
escalate encounters . . . leading to the use of physical force when it is not necessary . . . . ”4 To
this end, the investigation indicated that BPD officers too frequently used “unreasonable force
against people who present little or no threat to them or others,” including individuals “who are
already restrained and under officers’ control”5 and subjects “fleeing away from officers.”6
Indeed, the investigation found that officers would “resort too quickly to physical force” instead
of “attempt[ing] to problem-solve or use conflict-resolution skills” in encounters involving “low-
level and highly discretionary violations”7 and in situations where “civilians simply refuse[d] to
obey [officer] commands.”8

The investigation noted that “[e]ven where [some level or amount of] force is justified,” BPD
“officers frequently use a high level of force when only a low level of force is objectively
reasonable” – making the force “unnecessary and disproportional” to the nature of the threat or
resistance that the subject posed.9

The investigation observed “excessive force against individuals experiencing a mental health
issue”10 and “against juveniles.”11 DOJ concluded that BPD’s “inadequate policies, training, and
programs regarding officer interactions with individuals with a disability or in crisis” contributed
to the pattern of inappropriate force.12 It concluded that officers “frequently use[d] unreasonable
force against juveniles without implementing widely accepted techniques and tactics for engaging
with youth.”13




3
    U.S. Department of Justice, Investigation of the Baltimore Police Department (Aug. 10, 2016),
https://www.justice.gov/crt/file/883296/download [hereinafter “DOJ Findings Letter”] at 74.
4
  Id. at 75.
5
  Id. at 76; see id. at 88–91.
6
  Id. at 76; see id. at 91–98.
7
  Id. at 76.
8
  DOJ Findings Letter at 78.
9
  Id. at 76.
10
   Id. at 75; see id. at 80–85.
11
   Id. at 76; see id. at 85–87.
12
   Id. at 108–112.
13
   DOJ Findings Letter at 85–87.


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The DOJ investigation expressly concluded that “[t]he fault for officers’ systemic use of”
inappropriate and unlawful force tactics “lies with BPD as an agency.”14 First, “[d]efficiencies in
BPD’s policies regarding the use, reporting, and investigation of force have contributed to officers’
systemic use of excessive force.”15 Because they “miss[ed] critical elements,” were “difficult for
officers to synthesize” and “sometimes inaccessible to some officers,” and “included elements that
were not enforced,” BPD’s policies as of 2016 “fail[ed] to provide officers with clear and
consistent guidance” necessary “to safely and constitutionally conduct their law enforcement
activities.”16 Second, DOJ cited deficient and inappropriate training – including instruction that
emphasized “aggressive tactics” while failing to provide sufficient guidance on de-escalation – as
underlying causes of the underlying pattern or practice of unconstitutional force. 17 Third, the
investigation concluded that BPD failed “to exercise oversight of its officers’ uses of force” by
ensuring high-quality, thorough, and fair investigations of officer use of force that formed the basis
of rigorous and analytical supervisory review.18

B.      Consent Decree Requirements

Consistent with DOJ’s investigative findings regarding use of force, the Consent Decree includes
requirements addressing use of force policies; use of force training; reporting, investigating, and
reviewing force; and the collection, analysis, and reporting of force data.

        1. Use of Force Principles

The Decree articulates a set of broadly applicable principles that must be reflected in the
Department’s policies, training, procedures, and practices regarding the use of force. Pursuant to
these force principles, BPD must “ensure that officers”:

        •    [R]esolve incidents without resorting to the use of force, when possible;
        •    Use de-escalation techniques and tactics . . . ;
        •    Use tactics that do not unnecessarily escalate an encounter;
        •    Continually assess the situation and changing circumstances, and modulate the use of
             force appropriately;
        •    [U]se force in a manner that avoids unnecessary injury or risk of injury to officers and
             civilians;
        •    [R]ecognize and act upon the duty to intervene to stop any officer from using excessive
             force;


14
   Id. at 79.
15
   Id. at 98.
16
   Id.
17
   Id. at 79–80.
18
   DOJ Findings Letter at 102–108.


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         •    Accurately and completely report [force]; and
         •    Are held accountable for use of force that is not objectively reasonable or otherwise
              violates law or policy.19

         2. Use of Force Policies

The Consent Decree contains a host of requirements for revised policies on the use of force.
Section IV discusses these specific requirements in the context of reporting on the findings of the
Monitoring Team’s reviews and audits of force incidents. Generally, however, the Consent Decree
requires, among other things, that BPD’s policies:

         •    Require officers to de-escalate “whenever possible, before resorting to force”;20
         •    Require officers to use “a critical thinking, decision-making framework to analyze and
              respond to incidents”;21
         •    Require officers to “use only the amount of force necessary to control the person and
              immediately reduce the level of force as the threat diminishes”;22
         •    Provide sufficient policy guidance on foot pursuits,23 interactions with youth,24 and the
              use of force on restrained subjects;25
         •    Prohibit retaliatory force,26 “the use of force for punishment,”27 “tactics that
              unnecessarily escalate an encounter,”28 and chokeholds and neck holds “unless deadly
              force is authorized and no reasonable force alternative exists”29;
         •    Require most officers to carry “at least one less-lethal weapon”;30
         •    Ensure that officers only use weapons and techniques outlined in policy and training;31
         •    Ensure that “force that is not objectively reasonable will subject officers to corrective
              action, discipline, possible criminal prosecution, and/or civil liability”;32
         •    Provide specific guidance to officers on the use of various force instruments, including:
                  o Conducted Electrical Weapons (“CEWs”), commonly referred to as “Tasers”;33



19
   Dkt. 2-2 ¶ 124.
20
   Id. ¶ 125.
21
   Id. ¶ 126.
22
   Id.¶ 127.
23
   Id. ¶ 130.
24
   Dkt. 2-2 ¶ 131.
25
   Id. ¶ 132.
26
   Id. ¶ 133.
27
   Id. ¶ 134.
28
   Id. ¶ 135.
29
   Dkt. 2-2 ¶ 137.
30
   Id. ¶ 139.
31
   Id. ¶ 136.
32
   Id. ¶ 138.
33
   Id. ¶¶ 142–48.


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                 o Batons and impact weapons;34
                 o Oleoresin Capsicum spray, commonly referred to as “OC spray” or “pepper
                     spray”;35 and
                 o Firearms;36
        •    “[R]equire officers to intervene in incidents in which another officer uses excessive
             force.”37

        3. Use of Force Training

The Decree requires that BPD provide all current officers, as well as new trainees in the Academy,
use of force training that sufficiently addresses the required, revised force policies and
procedures.38 After this initial training, the Department must “provide all officers with annual use
of force in-service training.”39

        4. Use of Force Reporting, Investigation, and Review

The Consent Decree requires that officers report the use of force.40 The Decree requires that BPD
categorize force “into levels for the purposes of reporting and reviewing each use of force,” from
comparatively less severe or serious Level 1 force to more severe or serious Level 3 force.41 Based
on these levels, the Decree prescribes varying requirements for the investigation of the underlying
force42 and the review of such force to ensure consistency with law and policy.43 This includes
the investigation of serious uses of force (Level 3 force) by the Department’s Special Investigation
Response Team (“SIRT”).44 The Decree also requires that a Performance Review Board (“PRB”)
review expressly identified classes of uses of force cases.45 As noted elsewhere, this assessment
addresses all of the Decree’s requirements relating to force reporting, investigation, and review
except for the functioning of the PRB, described in Paragraphs 207 to 210, which is the subject of
a separate assessment that the Monitoring Team is currently conducting.




34
   Dkt. 2-2 ¶¶ 149–52.
35
   Id. ¶¶ 153–59.
36
   Id. ¶¶ 160–65.
37
   Id. ¶ 141.
38
   Id. ¶¶ 166–67.
39
   Dkt. 2-2 ¶¶ 166–68.
40
   Id. ¶ 171.
41
   Id. ¶ 140.
42
   Id. ¶¶ 169–70, 172–191.
43
   Id. ¶¶ 169–70, 180–200.
44
   Dkt. 2-2 ¶ 201–206.
45
   Id. ¶ 207–210.


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        5. Use of Force Data Collection, Analysis, and Reporting

BPD must also “collect and maintain all data and records necessary to accurately evaluate its use
of force practices and facilitate transparency.”46 This includes the “maintenance of a reliable and
accurate electronic system to track” force and the routine analysis of force data “to determine
trends” and “identify and correct deficiencies revealed by this analysis,” including in public
reports.47

C.      BPD’s Implementation Progress to Date

Since 2017, BPD has proceeded to revise its policies on the use of force; provide training to all
officers on use of force generally and on the new expectations of the updated force policies
specifically; and make changes to the processes and procedures that it uses for the investigation,
review, supervision, and oversight of force.

        1. Policy

In July 2018, following collaboration with the Department of Justice and Monitoring Team and
the incorporation of public feedback, the Monitoring Team approved Consent Decree-required
revisions to BPD’s “core policy on use of force” and four other policies addressing how to use the
force instruments “most commonly used by patrol officers”48 in a manner consistent with BPD’s
overall force requirements. These policies included:

        •    Policy 1115 (Use of Force), the primary, overriding BPD policy addressing “when a
             member may use force, and members’ duties before, during, and after the Use of
             Force.”49

        •    Policy 409 (Firearms Regulations), which specifically addresses the use, maintenance,
             and care of firearms.50

        •    Policy 719 (Conducted Electrical Weapons–CEW), which provides specific
             requirements governing the use of Tasers.51

46
   Id. ¶ 211.
47
   Dkt. 202 ¶ 217.
48
   Dkt. 178-1 at 66.
49
     Baltimore Police Department Policy 1115, “Use of Force” (last rev. Nov. 24, 2019),
https://www.baltimorepolice.org/transparency/bpd-policies/1115-use-force [hereinafter “Policy 1115”].
50
     Baltimore Police Department Policy 409, “Firearms Regulations” (last rev. Nov. 24, 2019),
https://www.baltimorepolice.org/transparency/bpd-policies/409-firearms-regulations.
51
    Baltimore Police Department, Policy 719, “Conducted Electrical Weapon,” (last rev. Nov. 24, 2019),
https://www.baltimorepolice.org/transparency/bpd-policies/719-conducted-electrical-weapon-cew         [hereinafter
“Policy 719”].


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        •    Policy 1111 (Batons/Impact Weapons), which outlines additional guidance on officer
             use of batons and other “improvised impact weapons,” or “device(s) or object(s) that
             [are] not a department approved weapon” but can “nonetheless [be] used as an impact
             weapon (e.g., flashlight, radio, or stick) . . . only in rare, emergency conditions where
             members lack an authorized Baton or other approved less-lethal alternatives . . . . ”52

        •    Policy 1118 (Oleoresin Capsicum Spray), governing the use of OC/pepper spray.53

In September 2018, following collaboration with the Department of Justice and Monitoring Team
and the incorporation of public feedback obtained during a month-long public comment period,
the Monitoring Team approved “nine remaining use of force policies”:54

        •    Policy 412 (Patrol Rifle Program), governing the use of patrol rifles/shotguns in
             expressly-prescribed circumstances, such as “[a]n active-shooter incident” or when a
             member encounters a suspect that “[i]s armed with a . . . high-powered rifle . . . capable
             of injuring multiple persons.”55

        •    Policy 414 (Less Lethal Munitions and Chemical Agents), addressing the use “of
             certain less-lethal force options for civil disturbances.”56

        •    Policy 710 (Level 3 Use of Force Investigations – SIRT), outlining the role and
             responsibilities of BPD’s Special Investigation Response Team (SIRT) for the
             investigation of serious uses of force.57

        •    Policy 724 (Performance Review Board), which outlines the process by which the
             Performance Review Board (PRB) “reviews serious use of force and other incidents
             and investigations” and “makes a recommendation to the Police Commissioner” about




52
      Baltimore      Police   Department      Policy   1111,   “Batons”      (last  rev.    Nov.    24,     2019),
https://www.baltimorepolice.org/transparency/bpd-policies/1111-batons [hereinafter “Policy 1111”].
53
   Baltimore Police Department Policy 1118, “Oleoresin Capsicum (OC) Spray” (last rev. Nov. 24, 2019),
https://www.baltimorepolice.org/transparency/bpd-policies/1118-oleoresin-capsicum-spray [hereinafter “Policy
1118”].
54
   Dkt. 178-1 at 66.
55
    Baltimore Police Department Policy 412, “Patrol Rifle/Shotgun Program” (last rev. Oct. 16, 2018),
https://www.baltimorepolice.org/transparency/bpd-policies/412-patrol-rifle-program.
56
   Baltimore Police Department Policy 414, “Less-Lethal Munitions and Chemical Agents” (last rev. Nov. 30, 2020),
https://www.baltimorepolice.org/transparency/bpd-policies/414-less-lethal-munitions-and-chemical-agents-0.
57
   Baltimore Police Department Policy 710, “Level 3 Use of Force Investigations/Special Investigation Response
Team (SIRT)” (last rev. Nov. 24, 2019), https://www.baltimorepolice.org/transparency/bpd-policies/710-level-3-use-
force-investigationsspecial-investigation-response-team.


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             the incident, its investigation, and “action items” stemming from its review and
             analysis.58

        •    Policy 725 (Use of Force Reporting, Review, and Assessment), addressing various
             “requirements for reporting and reviewing a Use of Force.”59

        •    Policy 1005 (Non-Uniform Policing Standards), covering various expectations for
             non-uniformed or undercover officers.60

        •    Policy 1107 (De-Escalation), requiring the use of “De-Escalation Techniques to reduce
             threats, gain the voluntary compliance of persons, and safely resolve a situation.”61

        •    Policy 1503 (Emergency Vehicle Operation and Pursuit Policy), outlining “guidance
             on conducting safe emergency vehicle operations and pursuits.”62

        •    Policy 1602 (Canine Procedure), which inventories requirements for the use of canines
             in the field.63

Consistent with Paragraph 287 of the Consent Decree, BPD “re-review[ed]” each of these policies
after they had “been in effect for a year and before 18 months to ensure [they] provide[] clear
guidance to officers and [are] consistent with this Agreement and current law,”64 which led to some
changes being submitted and approved in late 2019. Another review of these polices will occur
subsequent to the filing of this report.

Sections IV and V summarize the many particular requirements of the Consent Decree, and of
BPD’s various policies, relating to force as they detail the results of the Monitoring Team’s
qualitative evaluation of force incidents.



58
    Baltimore Police Department Policy 724, “Performance Review Board” (last rev. Dec. 15, 2020),
https://www.baltimorepolice.org/transparency/bpd-policies/724-performance-review-board.
59
   Baltimore Police Department Policy 725, “Use of Force Reporting, Review, and Assessment” (last rev. Nov. 24,
2019), https://www.baltimorepolice.org/transparency/bpd-policies/725-use-force-review-and-assessment [hereinafter
“Policy 725”].
60
   Baltimore Police Department Policy 1005, “Non-Uniformed Policing Standards” (last rev. Nov. 24, 2019),
https://www.baltimorepolice.org/transparency/bpd-policies/1005-non-uniformed-policing-standards.
61
     Baltimore Police Department, Policy 1107, “De-Escalation” (last rev. Nov. 24, 2019),
https://www.baltimorepolice.org/transparency/bpd-policies/1107-de-escalation [hereinafter “Policy 1107”].
62
   Baltimore Police Department, Policy 1503, “Emergency Vehicle Operation and Pursuit Policy” (last rev. Nov. 24,
2019), https://www.baltimorepolice.org/transparency/bpd-policies/1503-emergency-vehicle-operation-and-pursuit-
policy.
63
    Baltimore Police Department, Policy 1602, “Canine Procedures” (last rev. Nov. 24, 2019),
https://www.baltimorepolice.org/transparency/bpd-policies/1602-canine-procedures.
64
   Dkt. 2-2 ¶ 287.


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        2.    Training

                 a. Use of Force/Fair & Impartial Policing I

In its February 2022 Compliance Review & Outcome Assessment regarding BPD Training, the
Monitoring Team detailed the Department’s design and implementation of training on the new
expectations under the core use of force policies. The Use of Force/Fair & Impartial Policing I
training, conducted between June 2019 and November 2019 for all BPD officers, included (1) “a
three-module e-learning course [that] introduced the substantive requirements of BPD’s revised
use of force policies,” and (2) two days of in-class instruction that “provided officers with guidance
on, among other things:

             •   Use of force decision-making under a Critical Decision-Making Model;
             •   De-escalation techniques;
             •   The use of various weapons and techniques;
             •   The relationship between subject threat or compliance level and the
                 permissible force (if any) authorized in response; and
             •   Writing use of force reports.”65

The Use of Force training itself “mark[ed] a significant milestone” because of the Department’s
use of “a new, dynamic” training paradigm.66 In in-class instruction, officers engaged in small-
and large-group discussions about use of force issues, analyzed “videos from actual [force]
encounters” and “reviewed written hypotheticals . . . that required them to apply their knowledge
of the new [use of force] policies.”67 “Another module utilized a video machine . . . that presented
officers with simulated real-time events that required reactive responses consistent with both the
new policies and tactical training,” with officer performance “critiqued by instructors and their
colleagues following their performance.”68 In another portion of the training, “officers work[ing]
in pairs” needed to “us[e] their knowledge of policy and tactics to address situations that presented
various real-world options involving live subjects that were role-played by instructors,” with each
officer’s performance ‘also critiqued/debriefed following these exercises.”69

As of November 2019, all but 20 eligible (active and full-time duty) BPD officers had completed
the training (with the non-compliant officers referred to PIB for misconduct investigations).70
Consequently, following the successful completion of the use of force training, the new, Consent-
Decree-required use of force policies became fully effective in the field as of the start of January

65
   Dkt. 488 at 24 (quoting Third Semiannual Report at 32).
66
   Dkt. 279-1 at 29.
67
   Fourth Semiannual Report at 53.
68
   Id. at 49.
69
   Id. at 49–50.
70
   Dkt. 488 at 25 (citing Dkt. 260, Ex. 1 at 2).


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2020. This means that officers began to be subject to discipline for not following these policies in
the field as of January 2020.

                 b. Fair & Impartial Policing III & Use of Force

Beginning in September 2021, BPD began providing a two-day, in-person training for all BPD
officers focusing on fair and impartial policing topics and additional, “advanced” use of force
concepts.71 Among other topics, the training reviewed the critical decision-making model, key
elements of Policy 1115, de-escalation, and the use of the baton. The training involved the analysis
of force case studies, video case studies, and a use of force simulation. The training was
successfully completed in March 2022.

                 c. Supervisor Training

To date, BPD supervisors have received the same training as all BPD officers with respect to
BPD’s new use of force policies. This includes instruction on the reporting and review of use of
force incidents.

During 2021 and into 2022, BPD has been developing an extensive, four-day General Supervisor
Training.72 The training will address a host of critical supervisory topics, which will include the
supervision of, response to, investigation of, and review of use of force incidents.73 More than 400
sworn personnel who occupy the ranks of sergeant and above within the Department will complete
the training by September 2022.74

Separately, the Department’s five-day course for newly-appointed sergeants and lieutenants is
being “updated to reflect new BPD policies and systems, as well as appropriate content from [the]
newly-developed, Consent Decree-mandated General Supervisor Training course.”75

        3. Data

The Consent Decree requires that BPD “collect and maintain all data and records necessary to
accurately evaluate its use of force practices and facilitate transparency . . . . ”76 This includes the
“collection and tracking of”:


71
   Dkt. 488 at 37.
72
   2022 Training Plan (Draft) at 5 (Mar. 2, 2022).
73
   Other topics “Include the new Patrol Supervisors Manual, BPD’s new Sworn Performance Evaluation system,
coaching, discipline, complaint investigation, critical incident management, after-action review, and supervisory
responsibilities related to stop, search, [and] arrest . . . .” 2022 Training Plan (Draft) at 13.
74
   2022 Training Plan (Draft) at 5 (Mar. 2, 2022).
75
   Id. at 12.
76
   Dkt. 2-2 ¶ 211.


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        •    Officer use of force reports;
        •    Supervisor force reviews;
        •    SIRT force investigations;
        •    Any “[r]eviews conducted by OPR relating to officers’ uses of Reportable Force”; and
        •    “All supporting documentation and materials” related to the use of force and
             investigation (such as video footage, downloads of information from Taser units,
             etc.).77

In addition to maintaining files of underlying documentation and evidence relating to force, the
Decree requires that the Department maintain “a reliable and accurate electronic system to track
all data” on force. As the Monitoring Team has previously reported, BPD uses a system called
IAPro to log information and data, which can then be analyzed and aggregated, on all reportable
use of force.78 Indeed, it is the data from this system that is analyzed for the aggregate information
reported in this report. Before the Consent Decree, BPD used a “one-off,” customized version of
IAPro. Consequently, the Department was not able to install regular updates of the system, as
those are only applicable to the standard version of IAPro, and the Department fell behind
significantly. During the Consent Decree, BPD moved to the standard version of IAPro, which
included upgrading to the most recent version. This brings BPD in alignment with other agencies
across the country who use the system.

Finally, the Decree includes various requirements related to the reporting, analysis, and evaluation
of force data.79




77
   Id. ¶ 212.
78
   Id. ¶ 213.
79
   Id. ¶¶ 214–17.


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III.       SCOPE OF REVIEW, METHODOLOGY, AND STANDARD OF REVIEW

A.         Scope of Review

This assessment is a combined compliance review and outcome assessment. The Monitoring Team
has previously described the Consent Decree’s distinction between these two types of assessments:

           The Consent Decree requires the Monitoring Team to conduct both compliance
           reviews and outcome assessments. Compliance reviews are . . . evaluations of BPD
           performance in different areas of the Consent Decree. They are conducted with an
           eye toward determining how far BPD has come, and how far it still needs to go, to
           achieve compliance with [particular] Consent Decree requirements . . . .

           Outcome assessments, by contrast, are [largely] quantitative assessments designed
           to determine whether the reforms required by the Consent Decree in each area are
           having a tangible, measurable impact [overall]—whether, independent and apart
           from BPD’s progress toward compliance with [any specific] Consent Decree
           requirements, policing is changing in the real world . . . . 80

This report evaluates BPD’s compliance with Paragraphs 123 through 206 and 211 through 217.
It also reports on various outcome measures related to Paragraph 459(d)(i). Paragraphs 207
through 210, which address the performance of BPD’s Performance Review Board, and Paragraph
459(d)(ii), which address use of force-related complaints, will be included in future outcome
assessment reports.

B.         Methodology

This report considers BPD performance on use of force in two primary ways: (1) an analysis of all
BPD uses of force from 2018 through 2021, through the use of aggregate force data; and (2) a
structured evaluation of a statistically representative, random sample of uses of force from 2018,
2019, and 2020. This section describes these methods in turn.

Before detailing the particular modes of analysis, a summary of the Decree-required force
classification system is necessary. The Decree requires that BPD classify use of force according
to various Levels. These Levels reflect the general nature or quality of a force instrument or
technique used, the reasonably foreseeable risks generally associated with the particular type of
force, and the specific outcome or effects of the force as actually employed in a specific incident.
That is, the general nature of the force and the specific way that the force was applied in a particular
incident are both factors that guide the categorization of force.

80
     Dkt. 279-1 at 22–23.


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Under the Decree, force falls into one of three Levels:

     •    Level 1 force is comparatively less severe force that “is not reasonably expected to cause
          injury” and does not cause “an injury greater than Temporary Pain.” It includes:
              o Using techniques that cause Temporary Pain or disorientation as a means of
                  gaining compliance, hand control or escort techniques (e.g., elbow grip, wrist grip,
                  or shoulder grip), and pressure point compliance techniques.
              o Pointing a firearm, Less-Lethal Launcher, or CEW at a person,
              o “Displaying the arc” with a CEW as a form of warning, and
              o Forcible takedowns that do not result in actual injury or complaint of injury.81

     •    Level 2 force is intermediate-level force that “causes or could reasonably be expected to
          cause an injury greater than Temporary Pain.” It also includes uses of specific “weapons
          or techniques,” where they do not result in death, serious physical injury, loss of
          consciousness, or hospitalization, that include:
              o Discharge of a Taser;
              o Use of OC spray;
              o Weaponless defense techniques including, but not limited to, elbow or closed fist
                 strikes, open hands trikes, and kicks;
              o Discharge of a less-lethal launcher/munitions in the direction of a person;
              o Canine-inflicted injuries;
              o Non-weapon strikes to the head, neck, sternum, spine, groin, or kidney area; and
              o Striking of a person or a vehicle with a vehicle.82

     •   Level 3 force is serious force that either results in death, serious physical injury, loss of
         consciousness, or hospitalization or involves weapons or techniques that may reasonably
         lead to the same. Level 3 force includes:
             o Strikes to the head, neck, sternum, spine, groin, or kidney area with an impact
                 weapon;
             o Firearm discharges;
             o Applications of more than 3 Taser cycles;
             o Application of a Taser for longer than 15 seconds across applications;
             o Uses of force resulting in death, serious physical injury, loss of consciousness, or
                 requiring hospitalization; and
             o Uses of Deadly Force/Lethal Force.83



81
   Policy 1115 at 5.
82
   Id.
83
   Id. at 6.


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Any given encounter where force is used may involve multiple officers, multiple types of force
(i.e., more than one force instrument or physical technique), or multiple subjects.

This report speaks primarily in terms of force incidents. A single force incident (an encounter or
circumstance in which officers employ some sort of force, and sometimes also referred to as a
force “case” or “investigation”) may involve: multiple types of force (i.e., more than one force
instrument or type of physical technique), force of more than one Level (i.e., the use of a Taser
(Level 2 force) and a shoulder grip (Level 1 force)), multiple applications of the same force (i.e.,
two distinct discharges of a Taser or different hand control applications at different times during
the encounter), multiple officers, and even multiple subjects. Generally, a force incident includes
applications of force and the attendant facts and circumstances that stem from a common nucleus
of operative fact – that is, that are related to the same string of events or set of circumstances. In
this report, the reference to a force Level typically refers to the overall incident. However, at some
points in the discussion of overall BPD data and the results of the Monitoring Team’s qualitative
review, discrete applications of force are referenced and analyzed.

Force incidents are categorized based on the highest Level of force used at any point during the
use of force incident. For example, in a use of force incident where an officer applied Level 2 and
Level 1 force, the incident – for BPD’s reporting and review processes – must be categorized as
Level 2 force.

       1. Aggregate Data Review

In modern usage, the term “data” is sometimes associated with a type of distant, impersonal, and
numbers-driven analysis that may not reflect the whole story or completely describe a
phenomenon. In this way, data is sometimes described as distinct from, or potentially in opposition
to, the experiences that people have in the world.

This report presents a variety of different types of data about how BPD uses of force and what
happens in the real world when they do. The report presents overall, aggregate information about
what occurred across all incidents where BPD officers reported that they used force from 2018
through 2021. The overall, aggregate data on force is therefore a method of evaluating all BPD
use of force reports and considering what transpired during those use of force encounters. It should
be noted that, while the Monitoring Team’s qualitative reviews of force incidents discussed below
cover three years (2018 through 2020), the aggregate data review spans four (2018 through 2021).

The Consent Decree requires, as summarized in Section II, that BPD log a wealth of information
about all use of force incidents – both in long-form narrative reports by involved, investigating,
and reviewing officers and via electronic forms and templates designed to gather information
across all force incidents in a uniform, standard way that can be analyzed as a whole. As also



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noted previously, the Decree contemplates that the Monitoring Team conduct an overall analysis
of all use of force data for the purposes of (1) gauging compliance with the various, individual
provisions of the Decree guiding the Department’s policies, protocols, and procedures on force,
and (2) measuring outcome assessments, pursuant to Paragraph 459(d)(i), focusing on overall
trends on the use of force over time in Baltimore.

This report therefore considers overall data on BPD force for the purposes of both gauging the
Department’s compliance with force-related Decree requirements and measuring overall force-
related outcomes and trends.

         2. Qualitative Evaluation & Audit of Force Incidents

The Monitoring Team conducted an in-depth, structured qualitative review of BPD officer uses of
force occurring in each of 2018, 2019, and 2020, as well as of the Department’s post-force
response, investigation, and review.

The methodology that the Monitoring Team designed endeavored to be consistent with accepted
best practices for evaluating use of force reports and investigations employed to evaluate use of
force reports and investigations in other jurisdictions.84 “[U]sing methods that gather and represent
human phenomena with numbers (such as standardized questionnaires and structured observation
protocols) . . . are classic instances of mixing data gathering and analysis techniques” that are
widely used by contemporary social scientists.85 This approach was selected so that the Monitoring
Team could identify the size or scope of trends over time and evaluate the extent to which BPD
and the City are or are not progressing toward compliance.

The overall population of cases to be reviewed will include all reported use of force incidents that
occurred in 2018, 2019, and 2020 and for which investigations were completed as of March 26,
2021. For purposes of sampling force cases for this evaluation, a force investigation can be
considered “completed” when (a) for Level 1 and Level 2 cases, all required investigative and
review processes required in the Consent Decree and BPD policy have been completed and/or the
incident has been marked as “completed” within BPD’s IAPro management system, or (b) for

84
   See, e.g., Denise Rodriguez King, et al., Community Oriented Policing Services (COPS) Office, U.S. Department
of Justice, Collaborative Reform Model: A Review of Use of Force Policies, Processes, and Practices in the Spokane
Police Department (2014) at 9, 12 (describing random sampling of use of force reports for analysis “using a 95 percent
confidence level and a confidence interval of 5 percent”); George Fachner & Steven Carter, Collaborative Reform
Initiative: An Assessment of Deadly Force in the Philadelphia Police Department, Community Oriented Policing
Services (COPS) Office, U.S. Department of Justice (2015) at 16 (describing “investigative quality evaluation” of
officer-involved shootings of “randomly selected . . . case files” using a survey instrument “of ‘yes/no’ and Likert
scale (1–5 items)” evaluated by “expert, experienced investigators”); U.S. Department of Justice, Letter to Mayor
Richard J. Berry re: Albuquerque Police Department (Apr. 10, 2014) at 3 (“review[ing] a random sample of the
department’s use of force reports completed by officers and supervisors”).
85
   Jennifer C. Greene, et al, “Combining Qualitative and Quantitative Methods in Social Inquiry,” in Research Methods
in the Social Sciences, Bridget Somekh & Cathy Lewins (eds.) 274, 274 (2005).


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Level 3 cases, the SIRT investigation has been denoted as completed (even if the case has not yet
been heard by the Performance Review Board).

For purposes of the study, “cases” or “incidents” refer to investigations of applied force in a given
encounter or instance. It does not refer to individual applications of force within those instances.
Accordingly, one force “case” or “incident” may involve multiple types of force (such as a Taser
application and a physical takedown), multiple applications of the same type of force (such as
multiple Taser applications), and/or multiple officers (such as when one officer applies a Taser
and another officer, at a different juncture within the interaction, performs a physical takedown
maneuver).

Given the number of use of force cases that occurred in each of the years to be evaluated, the
complexity of conducting reviews in this area, and the amount of time necessary to conduct
exhaustive force reviews, the Monitoring Team used standard, accepted statistical methods to
select randomly a sub-set, or sample, of force cases from each of 2018, 2019, and 2020 that might
be large enough to draw conclusions about all cases that occurred in the year.

In determining the parameters for selecting a sample, the Team wanted to review enough cases
from each year to draw meaningful conclusions overall while, at the same time, ensuring that it
reviewed sufficient numbers of cases across all Levels of force. Practically, this meant that – given
that Level 3 force incidents occur relatively infrequently – the Monitoring Team reviewed every
Level 3 force incident that occurred in 2018, 2019, and 2020. It also reviewed a statistically
representative, random sample of Level 2 incidents and a statistically representative, random
sample of Level 1 cases from each year at a 95% confidence interval and 10% margin of error.
That is, the random incidents were drawn as independent samples from each Level for each year
– such that each Level-year was treated as an independent sample (e.g., the sample population for
Level 1 force in 2018 was drawn from the total population of Level 1 force cases in 2018). Table
1 summarizes the Monitoring Team’s sampling approach.

Table 1.        Summary of Monitoring Team Use of Force Case Sampling Methodology

                                                  Level 1    Level 2    Level 3     TOTAL
                                     2018         1,162      338        25          1,525
           Total Uses of Force       2019         919        363        20          1,302
                                     2020         689        227        18          934
                                     2018         89         75         25          189
           Proposed Sample           2019         88         77         20          185
                                     2020         85         68         18          171
                                     2018         95%        95%        100%        95%
           Confidence Level
                                     2019         95%        95%        100%        95%


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                                      2020         95%        95%         100%       95%
                                      2018         10%        10%         0%         8%
         Margin of Error              2019         10%        10%         0%         8%
                                      2020         10%        10%         0%         8%

The Monitoring Team therefore reviewed 545 force incidents in total – or 189 cases from 2018,
185 from 2019, and 171 from 2020.

One result of this approach is that, when analyzing and reporting on findings for specific levels of
force for a given year, the Monitoring Team can report that it is 95% confident that – even if it
reviewed all force cases rather than just a sample – the results would nonetheless be within 8% of
what it found based on the sample of cases. Within each year, the Monitoring Team can be 95%
confident for Level 1 and Level 2 force incidents that, even if it reviewed all such cases in the year
rather than a sample, the results would be within plus or minus 10% of its findings. For the most
serious (Level 3) force, the Monitoring Team reviewed all such incidents across the three years
evaluated.

Another result is that, to say something about all levels of force in a given year – that is, all force
incidents, regardless of severity of type of force used – the Monitoring Team must account for the
fact that the sampling approach described in Table 1, above, led to the Team reviewing a somewhat
higher percentage of Level 2 and Level 3 force incidents than actually occurs in the field, and
relatively fewer Level 1 incidents. That is, the overall population of the sample – because it was
constructed around ensuring sufficient numbers of reviews to say something meaningful within
each Level of force for each year – skews more heavily toward more-serious force incidents. To
get an accurate picture of all force across a given year, the Monitoring Team must apply statistical
“weights.” This process is summarized in the discussion at the outset of Section V and the
accompanying Table 15 of this report. Ultimately, as summarized in Table 1, the Monitoring Team
can be 95 percent confident that its weighted results are accurate within a range of plus or minus
8%.

To conduct the reviews, 545 total cases were randomly assigned to nine Monitoring Team
members. Those Monitoring Team members included former police professionals and lawyers
with substantial experience in use of force and the review and investigation of police force. The
random assignment meant that Team members reviewed incidents of varying significance or
severity that occurred at different time periods during BPD’s implementation of various force-
related Consent Decree requirements.

Monitoring Team reviewers reviewed all materials contained within BPD’s investigative file
pertaining to the selected use of force incidents – including written narratives, video and audio
material, other images, and any other documentary evidence included within BPD systems. This


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included:

       •    Investigative reports;
       •    Body-worn video footage;
       •    CCTV and private-party video footage;
       •    Audio recordings of interviews;
       •    Arrest and incident report;
       •    Injury-related records; and
       •    Other documentation and evidence relating to the use of force encounter.

Reviewers completed a structured, qualitative review instrument indexed closely to the
requirements of the Consent Decree and BPD policy relating to force. Where Section IV reports
on percentages of force cases that do or do not meet various Consent Decree expectations, this
refers to aggregate results of reviewer determinations on this structured review instrument.
Reviewers also recorded their own narrative analyses of the use of force and the Department’s
investigation and review of force. This report’s various descriptions of specific force cases stem
from the in-depth narrative observations of Monitoring Team reviewers recorded during their
evaluations of each force incident.

For various requirements, Monitoring Team reviewers needed to certify whether an officer, BPD
personnel, or various elements of the force investigation or review adhered to specific Consent
Decree requirements. Where the nature of information or evidence contained within the force
investigation did not allow the reviewer to make a definitive determination, one way or another,
as to whether requirements were met, reviewers were instructed to denote that they were “unable
to determine” and to explain what issues or documentary deficiencies left them unable to conclude
definitively whether the requirement was satisfied.

Separately, reviewers could select “not applicable” as a response to questions about various
requirements. Reviewers were instructed to use this “not applicable” selection only in those
instances where the nature of the facts or underlying incident made the requirement or implicated
concern not at issue. For example, in questions about whether investigative or review
documentation included various, required elements, reviewers for an incident where the
documentation was missing entirely were to select “no” as a response rather than “not applicable.”
In this way, “not applicable” responses denote instances where the nature of the facts and
circumstances at issue functionally made the underlying substance of the question inapplicable to
the incident.

Across the aggregate review statistics presented in this report, many, though not all, “not
applicable” determinations relate to a subset of instances where involved officers discharged a
firearm but the facts and circumstances surrounding the case affirmed that the discharge was


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unintentional and that no individuals were hurt. Under existing BPD policy, any discharge of a
firearm – whether intentional or unintentional, whether involving a human subject or an animal,
and whether it occurs within an interaction or encounter with a subject or not – is a reportable use
of force that is subject to investigation and review in the same manner. Because many of the
parameters of force policy assume that force was used intentionally in a situation that involved a
human subject, qualitative review inquiries on these parameters do not readily apply to these
circumstances. Consequently, for a number of areas of inquiry reported in this report, percentage
statistics are computed by excluding the number of “not applicable” answers.

Additionally, this in-depth evaluation of force incidents encompassed not only three years but
three distinct implementation periods within BPD. In 2018, the Department was working to
finalize Decree-required force policies and design officer training on the new expectations.
Therefore, although the Monitoring Team’s review audited officer and BPD performance against
the standards that the Decree and Decree-approved policy articulate, the trends reported for 2018
may be best understood as a kind of performance “baseline” against which future progress can be
measured.

In 2019, BPD officers were receiving training on the new, Decree-required use force policies. In
this way, officer and BPD performance in 2019 reflects in-progress or partial implementation of
the Decree’s force requirements.

In contrast, BPD officer training had been completed by 2020, allowing the Decree’s force policies
to become fully effective in the field. By this year, all BPD personnel should have been fully
trained in the new policies and following them across interactions.

Therefore, because of the changing nature of BPD’s implementation status, this report’s
overall analysis of the Monitoring Team determinations is presented by year that the use of
force occurred.

Two final elements of the Monitoring Team’s review process are important to note. First,
whenever a reviewer identified an incident in which not all officers used force that was necessary,
proportional, objectively reasonable, or consistent with the duty to de-escalate (see Section IV,
below), the reviewer was given an opportunity, following completion of the original review, to
analyze the case again and make changes to any determinations as warranted.

Second, and following the opportunity for reconsideration or amendment, all cases that were
identified as inconsistent with the foundational necessity, proportionality, objective
reasonableness, and de-escalation requirements were discussed with BPD and DOJ representatives
on a rolling basis. Although particular determinations in a small number of cases were debated,
BPD and DOJ agreed with the Monitoring Team’s fundamental assessments in the vast majority



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of the cases discussed. Consequently, the findings of Section IV(A), below, have been previously
subjected to scrutiny and discussion from and among BPD, DOJ, and the Monitoring Team – with
BPD and DOJ signaling agreement with core determinations in most instances. It should be noted
that, in those very limited instances where BPD or DOJ had differences of views, no Monitoring
Team determinations were changed. All evaluations and conclusions about individual force cases
remain the Monitoring Team’s sole determinations.

C.      Standard of Review

        1. Evaluating Officer Performance During Use of Force Incidents

The Monitoring Team’s review evaluated officer performance in light of the Consent Decree’s
specific standards and expectations. Most generally, in analyzing officer performance during
use of force incidents to determine consistency with Decree or policy requirements, the
Monitoring Team evaluated the totality of circumstances that the involved officer(s)
confronted, as established through available evidence, and considered, as appropriate, what
a reasonable officer would have done under the circumstances.

This mode of inquiry is an objective rather than subjective one – which has some important
implications. First, the Monitoring Team’s review was not about whether the Team’s experts
believed that they would have done the same thing had they been in the officer’s shoes, or whether
they subjectively believed the force to be appropriate. Instead, the required inquiry focused on
what a reasonable officer would have done under the circumstances that the involved officer(s)
encountered.

Second, the standard of review was not what reviewers believed that the involved officer could or
should have done differently with the “20/20 vision of hindsight.”86 Rather than an exercise in
excessive second-guessing or “Monday morning quarterbacking,” the Monitoring Team evaluated
performance in light of the circumstances that the involved officer actually encountered and what
a reasonable officer on the scene would have known or appreciated about those circumstances.

Further, as the Supreme Court has affirmed, the analysis of an officer’s performance during a use
of force incident must consider an officer’s actions “without regard to their underlying intent or
motivation.”87 An “officer’s good intentions” do not “make an objectively unreasonable use of
force constitutional,” consistent with policy, or otherwise appropriate.88 The Monitoring Team
therefore evaluated the officer’s objective performance and not the officer’s purported intent.



86
   Graham v. Connor, 490 U.S. 386, 396 (1989).
87
   Id.
88
   Id.


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       2. Determining Compliance Status

The Consent Decree Monitoring Team is charged with assessing and reporting on whether the
requirements of the Consent Decree have been implemented. Although the scheme itself is not
required or detailed in the Decree itself, the Parties and Monitoring Team have previously adopted
and used a standardized way of characterizing and summarizing BPD’s current status across
Consent Decree implementation:

       0 – Not Assessed: The Monitoring Team has yet to assess if the City/Department
       has made progress or complied with the requirement.

       1 – Not Started: The City/Department has not yet demonstrated progress toward
       implementing the requirement, possibly in order to work on other, necessary
       projects.

       2 – Planning/Policy Phase: The City/Department is addressing the planning
       and/or policy provisions for the requirement.

       3 – Training Phase: The City/Department is addressing the training provisions for
       the requirement, based on approved policy.

       4 – Implementation Phase: The City/Department is in the implementation phase
       for the requirement, having developed any required plan or policy and conducted
       any required training, but has not yet demonstrated compliance with the
       requirement.

       4a – Implementation - Not Assessed: The City/Department has initiated the
       implementation phase for the requirement, but the Monitoring Team has not yet
       assessed the City/Department’s progress in implementation.

       4b – Implementation - Off Track: The City/Department is not making
       satisfactory progress toward compliance with the requirement.

       4c – Implementation - On Track: The City/Department is making satisfactory
       progress toward compliance with the requirement.

       4d – Implementation - Initial Compliance: The City/Department has
       demonstrated compliance with the requirement but has not yet demonstrated
       compliance with all requirements of the section of the Consent Decree in which it
       is included.



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         5a – Full and Effective Compliance: The City/Department has demonstrated
         compliance with all requirements in a Consent Decree section but has not yet
         sustained compliance for the time period specified in paragraph 504 of the Consent
         Decree. This score applies only to an entire Consent Decree section, not to
         individual requirements within a section.

         5b – Sustained Compliance: The City/Department has demonstrated sustained
         compliance with all requirements in a Consent Decree section by consistently
         adhering to all such requirements for the time period specified in paragraph 504 of
         the Consent Decree.

Of particular significance for this assessment are the rankings within Level “4” of this system. As
the Monitoring Team has previously reported, BPD has previously revised its force policies in
2018 and provided training to all officers on those new policies in 2019 – making them fully
effective in the field in 2020. This means that this present compliance review and outcome
assessment is the first juncture at which Initial Compliance – a certification that the Department
has successfully and systematically translated Decree expectations into practice – is possible.

Consequently, this review is largely focused on whether BPD has, or has not, moved from
working to implement the Decree’s requirements on force to having successfully
implemented those requirements in practice across time, officers, and encounters.89 To make
these determinations about whether BPD is in Initial Compliance with a material requirement of
the Decree, the Monitoring Team weighs the following factors:

         1. The quality of BPD’s performance across a material span of time, number of
            incidents/events, and number of officers. Successfully carrying out a requirement in
            practice requires more than meeting expectations on one day, in one case or event, or
            for one officer. Instead, it requires that BPD adhere to Decree requirements across a
            material span of time, number and/or portion of incidents, and number of officers. In
            this way, isolated compliance does not establish “Initial Compliance” in practice. At
            the same time, however, isolated non-compliance does not, by itself, eliminate the
            possibility of systemic compliance. The issue is whether, across time, events, and
            people, BPD is, in aggregate, sufficiently doing what the Decree requires. For some
            requirements that are applicable only to a relatively small absolute number of incidents
            or circumstances, performance in a single instance may weigh more significantly than
            it would in connection with a more commonly implicated requirement.




89
  See Dkt. 2-2 ¶ 506 (indicating that Initial Compliance with any material requirement of the Consent Decree involves
evaluating whether a given requirement “is being carried out in practice by BPD”).


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         2. The severity or significance of deviations from Consent Decree requirements,
            BPD policy, and/or law. The Monitoring Team considers not simply whether BPD’s
            performance has deviated in some instances from the Decree’s requirements but also
            the severity or significance of that deviation. Several minor or more technical
            deviations from administrative requirements may be different in quality than a single
            significant or gross deviation from core requirements for officer performance in the
            field. Likewise, deficient performance in connection with less foundational
            requirements or issues may be different in quality than deficient performance in
            connection with significant requirements or issues.

         3. The extent to which BPD is identifying and appropriately addressing problematic
            performance. In its focus on accountability, supervision, and mechanisms for
            fostering critical self-analysis within BPD, the Consent Decree expressly contemplates
            that a BPD in compliance with the Decree will have mechanisms in place to engage
            with departmental and officer performance that is deficient in some way. Therefore,
            the Monitoring Team’s compliance reviews consider whether, when BPD personnel
            have deviated from policy, law, or Decree requirements, the Department has identified
            the deviation and, if so, if it has appropriately addressed the issue. With respect to
            Consent Decree implementation and meaningful organizational change, the
            Department is in a different condition if a policy deviation is identified and
            appropriately addressed than if the deviation goes unnoticed and unaddressed.

         4. BPD’s progress over time. Where possible, the Monitoring Team aims to situate its
            evaluation of BPD’s performance in terms of progress over time. Steady improvement
            may suggest positive, meaningful adoption of Consent Decree requirements in a way
            that erratic swings in performance over time may not.

Courts regularly apply multi-factor approaches where the application of determinative, bright-line
rules are impossible, do not adequately incorporate the array of relevant circumstances at issue, or
implicate competing considerations.90 Even as the test articulated above requires different
considerations to be factored together, the test is an “objective” one because the Monitoring Team
“must explain how they derived their conclusions from the verifiable facts.”91



90
   See, e.g., Murr v. Wisconsin, 582 U.S. __ (2017) (adopting a multi-factor test for determining whether governmental
regulations effectuated a decline in the value of private property so as to be considered a government taking under the
Fifth Amendment); EBay v. MercExchange, 547 U.S. 388 (2006) (applying four-factor test to determinations about
permanent injunctive relief in disputes arising under the Patent Act); Mathews v. Eldridge, 424 U.S. 319 (1976)
(articulating three factors for courts to consider when determining whether additional governmental and/or judicial
procedures are necessary to satisfy the Due Process Clause).
91
   James G. Wilson, “Surveying the ‘Forms of Doctrine’ on the Bright Line Balancing Test Continuum,” 27 Ariz. St.
L.J. 773, 802 (1995).


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In applying this multi-factor test for compliance, the first factor – the quality of BPD’s performance
across a material span of time, number of incidents/events, and number of officers – is the initial,
threshold inquiry. If BPD and/or its officers’ performance is not what it should be across a
sufficient number or portion relevant circumstances, then things like progress over time or BPD’s
identification of the issues are unlikely to cure the basic deficiencies with performance. For
example, if BPD meets some Decree requirement in only 25% of cases, the fact that it may have
marked an improvement over time would be unlikely to put the Department into compliance with
the requirement.

Although the multi-factor test for compliance works to ensure that all relevant objective factors
are reasonably weighed, the Monitoring Team seeks to provide guidance to the Department and to
the community about the benchmarks that it expects and how various levels of BPD performance
may shape compliance determinations.

As a working standard, the Monitoring Team considers a compliance rate with any relevant
requirement of 85% or above as possibly, though certainly not conclusively or even presumptively,
consistent with initial compliance. In such instances, the Team weighs the other factors (severity
of deviations, BPD’s identification of noncompliance, and progress over time). Where the Team
determines that BPD has adhered to expectations in 95% or more of relevant circumstances, initial
compliance will be found unless one of the other factors – severity of deviations, Department
identification of noncompliance, and progress over the time – starkly point in the other direction.

On the other hand, where BPD has adhered to expectations less than 85% of the time, initial
compliance will not be certified unless one of the other factors points definitively in a positive
direction. For instance, if BPD complied with requirements in 80% of relevant circumstances but
the Monitoring Team could certify that the significance or severity of instances where
requirements were not followed was relatively minimal, that BPD identified and took appropriate
corrective action in instances where requirements were not followed, and the Department had
made and maintained progress over time, then finding initial compliance with the Decree
requirement may be possible.

Additionally, some important requirements apply to, or are activated by, a relatively more limited
number of encounters, incidents, or circumstances. Where the absolute number of instances where
the requirement applies becomes lower, the application of the percentage-based rules of thumb for
determining compliance becomes less useful.

Finally, it is possible that, the Monitoring Team might assign, pursuant to the weighing of factors
outlined above, a score for an individual decree requirement that is lower than the score given in
a prior report. For instance, the score for a particular requirement might move from “4c”
(implementation—on track) to “4b” (implementation—off track). That has not happened yet.



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In this report, certain scores have moved from “4d” (initial compliance) to “4c” (implementation
on track). To be clear, where this has occurred, it does not represent backsliding or the reversal of
progress. Instead, the simple explanation is that, for a small number of requirements primarily
spelling out requirements for BPD policy, the Monitoring Team gave a score of initial compliance
in prior monitoring team reporting because BPD had indeed finalized policies and conducted
training that satisfied the plain language of these requirements.

However, the Monitoring Team has recognized that these provisions cannot simply be about
policy; they are also about performance—about BPD demonstrating adherence to
policy. Accordingly, to establish initial compliance with these provisions and ultimately to sustain
“full and effective” compliance pursuant to Paragraph 506, BPD not only must show that it has
adopted the pertinent policies, but also must demonstrate through officers’ actions on the
street that, as an agency, it is complying with the policies. Otherwise, the reforms the Consent
Decree requires would be nothing more than “paper” reforms, with no obligation to police
constitutionally in actuality.




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IV. USE OF FORCE DATA: OVERALL ANALYSIS AND TRENDS, 2018–2021 AND
RELATED OUTCOME ASSESSMENTS

This section summarizes BPD’s aggregate data on the use of force from 2018 through 2021.
Therefore, it captures, reflects, and analyzes all reported uses of force by BPD officers during that
period. The overall trends identified are responsive to the Decree’s force-related outcome
assessment requirements in Paragraph 459(d)(i).

A.     Frequency of Force Incidents Overall, by Level, by Type, and by District

Overall data on all BPD force between 2018 and 2021 shows that BPD officers used force
substantially less frequently in 2020 and 2021 compared to 2018. In 2018, before the
Department finalized its new force policies and before officers had received Decree-required force
training, BPD officers were involved in 1,525 incidents involving force. The total number of force
incidents has declined in each year since. In 2020, the number of force incidents declined to 934
incidents overall, a 38.8% decrease from 2018. By 2021, uses of force decreased further to 691
total incidents – a decrease of nearly 54.7%. Thus, BPD officers in 2021 used force less than
half as often as in 2018.

Table 2.       Use of Force Incidents Overall & By Level, 2018–2021

                           Total
                           Force
                           Incidents    Level 1          Level 2          Level 3
             2018          1,525        1,162 76.2%      341 22.4%        22    1.4%
             2019          1,288        908     70.5%    360 28.0%        20    1.6%
             2020          934          691     74.0%    220 23.6%        23    2.5%
             2021          691          460     66.6%    207 30.0%        24    3.5%

In overall numbers, Level 1 force declined most dramatically – with the number of Level 1 force
incidents 60.4% lower in 2021 compared to 2018. Similarly, the number of Level 2 force incidents
declined by 39.3% from 2018 to 2021. The number of serious, Level 3 incidents remained roughly
the same throughout the period of 2018 through 2021.

Importantly, even as some patterns of behavior changed to varying degrees because of the COVID-
19 pandemic in 2020 and 2021, BPD’s reduced use of force does not appear to be explained by
changes in the volume of encounters that BPD officers have with members of the public. For
example, calls for service decreased in 2019, compared to 2018, by 3.4%, but the number of use
of force incidents declined by 15.5% over the same period. In 2020, calls declined by 12.8%
compared to 2019, but uses of force declined by nearly 27.5%. This dynamic continued in 2021,
with calls declining another 3.3% compared to 2020 but use of force declining by a further 26.0%.



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Likewise, compared to 2018, calls for service declined by 18.5% in 2021 while use of force
declined by 54.7%. In this way, even as officers had somewhat fewer encounters, the portion of
those encounters that involved force declined even more rapidly.

Overall, in 2018, 0.29% of all BPD calls for service involved a use of force. In 2021, the portion
of BPD calls for service that involved force declined to 0.16% of all BPD calls.

Figure 1.        BPD Calls for Service, 2018–2021

                         600,000

                         500,000

                         400,000

                         300,000

                         200,000

                         100,000

                                0
                                       2018           2019       2020          2021
            Total Calls For Service   522,358        504,767    440,341       425,967


A sizable amount of force in each year from 2018 through 2021 was low-level, Level 1 force
– amounting to 76.2% of force in 2018 to 66.6% of force in 2021. The vast majority of the
remaining force incidents were intermediate-level, Level 2 force, which accounted for 22.4% of
force in 2018 and 30.0% of force in 2021. Significant and/or deadly force, categorized as Level 3
force, accounted in each of the years 2018 through 2021 for a comparatively small amount of force
deployed.

Table 3 summarizes the way that encounters leading to use of force started – that is, whether
officers arrived pursuant to a call for service, initiated an encounter based on observed behavior
(“on-view”), were serving a warrant, or initiated the encounter for some other reason. Compared
to prior years, a greater portion of uses of force stemmed from encounters that originated with a
resident calling for help than with an officer initiating contact based on observed behavior, with
calls for service serving as the source of 42% of incidents that ultimately involved force in 2018
compared to 48.5% in 2021.




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Table 3.       Use of Force Incidents Overall & By How the Encounter with Law
               Enforcement Started, 2018–2021

                           2018          2019             2020           2021
       Call for Service    640     41.9% 552        42.9% 402      43.0% 335        48.5%
       Off Duty            7       0.5% 3           0.2% 2         0.2% 2           0.3%
       On View             768     50.3% 634        49.2% 466      49.9% 291        42.1%
       Warrant Service     59      3.9% 49          3.8% 30        3.2% 35          5.1%
       Other               33      2.2% 28          2.2% 19        2.0% 16          2.3%
       Missing             18      1.2% 22          1.7% 15        1.6% 12          1.7%

As discussed elsewhere in this report, many force incidents involve multiple applications of force
and/or multiple types of force (including various techniques or instruments). Likely because the
overall number of instances where any force is used has declined from 2018 through 2021, the
total number of applications of various force techniques or instruments also declined. Where force
is used, bodily force (i.e., physical techniques and maneuvers that do not involve an auxiliary
force instrument or device) has remained the most common type of force application used
across 2018 through 2021. CEW (Taser) applications were lower in terms of overall numbers
and accounted for a somewhat lower proportion of force applications in 2021 compared to 2018.
Meanwhile, firearm discharges made up a larger percentage of overall force applications in 2021
even as the overall number of incidents involving firearm discharges in 2021 (21) was close to the
average number of discharges (20) across the period of 2018 through 2021.

Table 4.       Applications of Force Techniques/Instruments Used by All Involved Officers,
               2018–2021

                              2018        2019        2020        2021
   Bodily Force               2,427 77.5% 2,298 81.8% 1,462 76.5% 1,183 79.3%
   Pointing a Firearm         461   14.7% 340   12.1% 297   15.5% 209   14.0%
   Pointing a CEW or
   Displaying Arc            131   4.2% 81          2.9% 76        4.0% 50          3.4%
   CEW Use                   77    2.5% 45          1.6% 27        1.4% 17          1.1%
   Firearm Discharge         16    0.5% 27          1.0% 16        0.8% 21          1.4%
   OC Spray                  14    0.4% 13          0.5% 16        0.8% 9           0.6%
   Less Lethal Launcher      3     0.1% 6           0.2% 17        0.9% 3           0.2%
   Impact Weapon             2     0.1% 0           0.0% 0         0.0% 0           0.0%
Note: Numbers reflect individual applications or types of force applied during an incident.
Because one use of force incident may involve multiple applications of force, and/or multiple
techniques or instruments, the numbers reflected are higher than the number of use of force
incidents described elsewhere.




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B.      Involved Subject Characteristics

The subjects involved in force incidents were most likely to be under the age of 29, with well more
than 50 percent of force subjects in each of 2018, 2019, 2020, and 2021 being 29 or younger. With
use of force down overall across each of these years, fewer subjects were involved in force
incidents across nearly all ages, as well.

Table 5.         Age of Force Subjects, 2018–2021

                                  2018           2019               2020               2021
     < 12                         14       0.9% 4             0.9% 0             –     1            0.1%
     13 – 17                      162      10.4% 141          10.4% 106          10.7% 85           11.9%
     18 – 29                      754      48.5% 620          45.9% 457          46.0% 312          43.8%
     30 – 39                      319      20.5% 290          21.5% 215          21.7% 166          23.3%
     40 – 49                      114      7.3% 116           8.6% 63            6.3% 56            7.9%
     50 – 59                      68       4.4% 55            4.1% 39            3.9% 21            2.9%
     60+                          23       1.5% 16            1.2% 17            1.7% 10            1.4%
     Missing                      101      6.5% 108           8.0% 96            9.7% 61            8.6%
     Total                        1,555          1,350              993                712

Across all force incidents between 2018 and 2021, subjects were disproportionately male
compared to the Baltimore population – constituting about 83 percent of force subjects in each
year.92

Table 6.         Gender of Force Subjects, 2018–2021

                             2018              2019             2020             2021
   Male                      1,286 82.7% 1,132 83.9% 825               83.1% 586          82.3%
   Female                    259      16.7% 210        15.6% 129       13.0% 112          15.7%
   Transgender               2        0.1% 1           0.1% 1          0.1% 0             –
   Unknown/Missing           8        0.5% 8           0.5% 38         3.8% 14            1.9%
   TOTAL                     1,555             1,350            993              712
Note: The categories of genders identified here are those that BPD uses in its existing use of force
database system.

The Monitoring Team also explored whether or not there is a relationship between a subject’s
gender and the Level – that is, the severity or significance – of force that BPD officers used.
Specifically, a binary logistic regression estimating the relationship between subject gender and a
level of force used was run for all four years. If force was comparatively less severe in nature, or

92
  According to the U.S. Census Bureau’s July 2021 population estimates, approximately 53.1% of the Baltimore
population is female and 46.7% is male. United States Census Bureau, QuickFacts, Baltimore City, Maryland,
https://www.census.gov/quickfacts/baltimorecitymaryland (last visited Sept. 14, 2022).


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       a Level 1 force incident, it was coded as a 0. If force was intermediate- or higher-level, Level 2
       or 3 force, the incident was coded as a 1.93

       Table 7, presented with various, technical statistical terms for the sake of comprehensiveness,
       indicates that, on the whole, male subjects were not more likely than female subjects to experience
       different Levels of force. That is, a subject’s gender was not significantly predictive of the
       Level or severity of force that BPD officers applied.

       Table 7.          Relationship Between Gender of Force Subjects and Level of Force, 2018–
                         2021

                              2018                       2019                       2020                       2021
                              Odds                       Odds                       Odds                       Odds
                              Ratio                      Ratio                      Ratio                      Ratio
                              (95% Predicted             (95% Predicted             (95% Predicted             (95% Predicted
                              CI)    Probability         CI)    Probability         CI)    Probability         CI)    Probability
                              1.409                      1.177                      .818                       1.493 35.3%
                              (.999                      (.846                      (.543                      (.951
Male Subjects
                              –                          –                          –                          –
                              1.987) 23.3%               1.636) 30.5%               1.232) 25.5%               2.344)
Female Subjects                      17.8%                      27.1%                      29.5%                      26.8%
Likelihood Ratio Chi-
Square                    4.017                   .953                 .908                 3.148
Number of Subjects        1,545                   1,342                954                  698
       Notes: CI = Confidence Interval. Male subjects were the reference group for this regression. The
       number of individuals identified in BPD data as transgender were insufficient for statistical
       purposes to include in this particular statistical examination.

       The Monitoring Team also considered the race and/or ethnicity of force subjects. Within many
       contexts, including in the analysis of use of force subject demographics, the comparison of the
       race and ethnicity of subjects to overall population data has been the subject of some debate.94
       Even as many other approaches and benchmarks for comparison are advanced, experts and courts


       93
          The overall number of Level 3 force incidents was too small to permit meaningful statistical analysis using standard
       regression techniques. Consequently, a bi-variate variable was created to combine Level 2 and Level 3 incidents, for
       which there were sufficient numbers to use the bivariate regression technique described here. Additionally, because
       there were a very small number of interactions each year involving individuals identified by BPD as transgender, cases
       involving transgender subjects were not included for purposes of this specific analysis.
       94
          See, e.g., Lorie A. Fridell, U.S. Department of Justice, Office of Community Oriented Policing Services, A Guide
       for Analyzing Race Data from Vehicle Stops (2004); Greg Ridgway, RAND Corporation/New York City Police
       Foundation, Analysis of Racial Disparities in the New York City Police Department’s Stop, Question, and Frisk
       Practices xi (2007); Ian Ayres & Jonathan Borowsky, ACLU of Southern California A Study of Racially Disparate
       Outcomes in the Los Angeles Police Department (Oct. 2008); A. Gelman, et al, “An Analysis of the New York City
       Police Department’s “Stop-and-Frisk” Policy in the Context of Claims of Racial Bias,” 102 Journal of the American
       Statistical Association 813 (2007).


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have considered comparisons to general population data to be relevant, even if not singularly
dispositive, evidence of disparity.95

Compared to the overall Baltimore population,96 force subjects were disproportionately more
likely to be Black, with white individuals less represented vis-à-vis their share of the general
Baltimore population.

Table 8.         Race/Ethnicity of Subjects Involved in All Use of Force Incidents, 2018–2021

                                  Total            Level 1         Level 2         Level 3
                           2018 1,350 86.8% 1,048 87.0% 284 85.8% 18 90.0%
                           2019 1,157 85.7% 808            85.6% 328 86.5% 21 77.8%
 Black
                           2020 845       85.1% 628        85.9% 200 85.1% 17 63.0%
                           2021 600       84.3% 393        83.8% 187 87.8% 20 66.7%
                           2018 100       6.4% 74          6.1% 26          7.9% 0        –
                           2019 103       7.6% 77          8.2% 25          6.6% 1        3.7%
 White
                           2020 59        5.9% 42          5.7% 13          5.5% 4        14.8%
                           2021 56        7.9% 42          9.0% 13          6.1% 1        3.3%
                           2018 22        1.4% 18          1.5% 4           1.2% 0        –
                           2019 19        1.4% 15          1.6% 4           1.1% 0        –
 Hispanic/Latino
                           2020 9         0.9% 6           0.8% 3           1.1% 0        –
                           2021 7         1.0% 1           0.2% 4           1.9% 2        6.7%
                           2018 7         0.5% 5           0.4% 1           0.3% 1        5.0%
                           2019 3         0.2% 2           0.2% 1           0.3% 0        –
 Other
                           2020 2         0.2% 2           0.3% 0           –      0      –
                           2021 2         0.3% 2           0.4% 0           –      0      –
                           2018 76        4.9% 59          4.9% 16          4.8% 1        5.0%
                           2019 68        5.1% 42          4.4% 21          5.5% 5        18.5%
 Unknown/Missing
                           2020 78        7.9% 53          7.3% 19          8.1% 6        22.2%
                           2021 47        6.6% 31          6.6% 9           4.2% 7        23.3%
Note: Race and ethnicity are mutually exclusive categories including Hispanic as a separate race
category. Subjects indicated as “other” race include those identified as “American Indian,”
“Asian,” and “East-Indian.” Additionally, in some instances, the various numbers listed reflect
incidents where force was applied to multiple subjects within the same incident. Consequently,
the numbers here do not equal the number of incidents but rather reflect the number of subjects to
whom force was applied.


95
    Floyd v. City of New York, Case No. 1:08-cv-01034 Dkt. 373 (Aug. 12, 2013) 51-54, available at
http://www.sdnyblog.com/files/2013/08/Floyd-v-City-of-NY-liability.pdf.
96
   According to the U.S. Census Bureau’s July 2021 population estimates, 62.3% of the Baltimore population is Black
or African-American, 27.3% is White (not Hispanic or Latino), 5.4% is Hispanic/Latino, and another approximately
5% is of some other race and/or ethnic background. United States Census Bureau, QuickFacts, Baltimore City,
Maryland, https://www.census.gov/quickfacts/baltimorecitymaryland (last visited Sept. 14, 2022).


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       As with gender, described above, the Monitoring Team sought to understand whether or not there
       is a relationship between a subject’s race or ethnicity and the Level – that is, the severity or
       significance – of force that BPD officers used during force encounters. A similar statistical
       methodology was also used, with a binary logistic regression used to estimate the relationship
       between subject race and Level of force used. Here, the dependent/outcome variable was again
       coded as 0 for a Level 1 force and 1 for Level 2 and Level 3 force. Race was coded as 0 for white
       and 1 for Black.97

       Table 9.          Relationship Between Race/Ethnicity of Force Subjects and Level of Force,
                         2018–2021

                              2018                      2019                       2020                      2021
                              Odds                      Odds                       Odds                      Odds
                              Ratio                     Ratio                      Ratio                     Ratio
                              (95% Predicted            (95% Predicted             (95% Predicted            (95% Predicted
                              CI)    Probability        CI)    Probability         CI)    Probability        CI)    Probability
                              .860                      1.282                      .854                      1.580 34.5%
                              (.537                     (.808                      (.476                     (.843
Black Subjects
                              –                         –                          –                         –
                              1.377) 22.5%              2.035) 30.2%               1.531) 25.7%              2.961)
White Subjects                       25.3%                     25.2%                      28.8%                     25.0%
Likelihood Ratio Chi-
Square                   .388                  1.541                 .276                   2.167
Number of Subjects       1,441                 1,258                 904                    656
       Notes: CI = Confidence Interval. Black subjects are the reference group for this regression.

       Table 9 summarizes the results of this analysis for each of the years 2018 through 2021. Although
       the relationships and probabilities that it posits are mixed – with white subjects having a greater
       probability of being involved in Level 2 or Level 3 force than Black subjects in 2018 and 2020,
       while Black subjects maintained a higher probability than white subjects in 2019 and 2021 – the
       results are not statistically significant for any of the years analyzed. This means that whatever
       differences in probabilities there are as far as certain subjects being more or less likely to be subject
       to more significant force may simply be random or “statistical noise.” There is no statistically
       valid indication that any differences in the level of severity of force applied to subjects varies
       systematically by race. Thus, there is no statistically significant evidence of racial disparity
       in terms of the level or severity of force.




       97
          Too few incidents involved subjects of a Hispanic/Latino background or other races in the context of this data set
       to explore in a statistically significant way and were excluded from this particular analysis.


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More generally, then, BPD’s overall outcome data on use of force encounters suggests that Black
subjects are over-represented, compared to the Baltimore population, among subjects of force even
as the severity or significance of force applied is not systematically related to a subject’s race.

C.      Involved Officer Characteristics

Across 2018 through 2021, there was no statistically significant relationship between officer
demographics (including gender and race/ethnicity) and the level of force deployed. In each of
the years between 2018 and 2021, women accounted for between 15.6% and 16.0% of sworn BPD
personnel across ranks. This suggests that female officers were less likely, as compared to their
share of the BPD sworn population, to be involved in a use of force.

Table 10.        Gender of Involved Officers, 2018–2021

                                   2018            2019               2020                2021
     Male                          893       90.7% 849          91.5% 763           90.2% 691          88.0%
     Female                        90        9.1% 77            8.3% 81             9.6% 88            11.2%
     Unknown/Missing               2         0.2% 2             0.2% 2              0.2% 6             0.8%
     Total                         985             928                846                 785

Table 11 provides a breakdown of force incidents according to the race(s) of involved officer(s).
Across each of the years 2018 through 2021, white officers were somewhat over-represented
among officers involved in force incidents compared to their share of all BPD sworn personnel.
Per BPD data, white officers accounted for 42.3% of sworn personnel in 2018, and they accounted
for 56.6% of officers involved in force incidents. In 2019, white officers were 41.5% of sworn
personnel and accounted for 53.2% of officers involved in force incidents. In 2020, white officers
were 40.8% of sworn personnel and were 48.0% of officers involved in force. At this time, the
Monitoring Team does not explore whether any of these trends may or may not be explained by
the racial composition of BPD personnel assigned to administrative, as compared to patrol,
functions.

At first glance, 2021 appears to be somewhat different from prior years, with white officers
accounting for 39.5% of sworn officers and 38.0% of officers involved in force. However, in
2021, the number of “unknown” or “missing” data on the race/ethnicity of involved officers
increased dramatically – from 4.7% in 2020 to 26.3% in 2021.

Because information on officer race/ethnicity is entered into the IAPro system for ease of analysis,
the substantial spike in missing/unknown data is not encouraging.98 Although the Monitoring
Team could use officer information from BPD’s human resources database to fill in some of the

98
  Indeed, in 2020 and 2021, only information on race appeared to be collected by BPD, with information on ethnicity
not immediately available in the aggregate use of force data set.


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missing data, the Department needs to work to ensure that officers are complying systematically
with all data requirements and that, likewise, its IAPro force database is capturing such
information.

Table 11.      Race/Ethnicity of Involved Officers, 2018–2021

                                2018             2019            2020            2021
    Black                       920    29.4% 839        29.9% 635        28.9% 410       24.0%
    White                       1,774 56.6% 1,490 53.2% 1,056 48.0% 649                  38.0%
    Hispanic/Latino             315    10.1% 324        11.6% 200        9.1% 145        8.5%
    Other                       77     2.5% 67          2.4% 104         4.7% 57         3.3%
    Missing                     44     1.4% 82          2.9% 203         9.2%    449     26.2%
    Total                       3,130            2,802           2,198           1,710
Notes: The numbers here do not equal the number of incidents but rather reflect the number of
officers who applied force of some type in force incidents classified according to the various
categories (i.e., levels). Because some officers were involved in more than one force incident, and
some incidents involved more than one officer, the totals in the table are higher than the number
of force incidents in each year.

Most use of force cases involve officers or sergeants. Of personnel involved in a use of force
incident, 71.2% were officers in 2018, 74.1% were officers in 2019, 83.1% were officers in 2020,
and 83.9% were officers in 2021. Sergeants accounted for 13.1% of BPD personnel involved in
force incidents in 2018, in 10.7% of incidents in 2019, in 11.6% of incidents in 2020, and in 12.5%
in 2020.

Somewhat less than two-thirds of officers involved in uses of force incidents in both 2020 (60.7%)
and 2021 (61.7%) had less than 10 years of experience at BPD.

Finally, the Monitoring Team analyzed how frequently officers are involved in use of force
incidents. Most BPD officers who use force in a given year do so just once. For instance, 46.9%
of officers who used force in 2021 did so in one incident. Another one-quarter (25.1%) of officers
using force in 2021 were involved in two force incidents that year. A narrower set of officers –
about 28% of officers using force in 2021 – were involved in a disproportionately large portion
(approximately 55.2%) of force incidents.

D.     Injuries During Force Incidents

Some articulate a concern that Decree-required changes to policies and procedures might
unintentionally place officers at greater risk of injury. This might be true if officers are overly
hesitant to use force when subjects threaten imminent physical harm or if subjects are more likely
to resist arrest or threaten officers knowing that BPD officers may be less inclined to use force.



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To consider whether new policies on use of force are or are not helping to ensure officer safety,
the Monitoring Team considered data on officer injury. First, the Team analyzed BPD’s data on
officers injured during use of encounters. Table 12 summarizes the number of officers injured
during use of force encounters, as well as the percentage of all officers involved in force encounters
who were injured. In absolute terms, the number of involved officer injuries increased in 2019, to
355 officer injuries in 2019 from 305 injuries in 2018. However, injuries decreased in both 2020
and 2021. By 2021, the number of officer injuries occurring during use of force incidents
declined by 39.7% compared to 2019 and 29.8% compared to 2018. At the same time, it is
also true that a somewhat larger portion of officers involved in force incidents were injured in each
of 2019, 2020, and 2021 compared to 2018. However, the portion of officers involved in force
incidents who were injured was the same in 2020, after full implementation of the new force
policies and training, as in 2019, before such implementation was completed. Additionally, the
overall, significant reduction in the total number of use of force incidents may be impacting that
particular statistic in a substantial way.

Table 12.      Number of Officers Involved Injured During Use of Force Incidents &
               Percentage of Involved Officers Who Were Injured During Force Incidents,
               2018–2021, Total & By Force Level

                Total                   Level 1                 Level 2                 Level 3
                           Percentage              Percentage              Percentage              Percentage
                           of All                  of All                  of All                  of All
                Number     Involved     Number     Involved     Number     Involved     Number     Involved
                of         Officers     of         Officers     of         Officers     of         Officers
                Officer    Who Were     Officer    Who Were     Officer    Who Were     Officer    Who Were
                Injuries   Injured      Injuries   Injured      Injuries   Injured      Injuries   Injured
    2018      305      9.2%        161      6.6%         141     17.4%      3       8.6%
    2019      355      11.9%       178      8.9%         168     18.2%      9       20.9%
    2020      254      11.9%       134      9.0%         108     18.2%      12      28.6%
    2021      214      13.2%       94       9.3%         101     18.3%      19      27.9%
Notes: Numbers in this table reflect discrete officer injuries. For example, an individual officer
who was injured in two separate force incidents would be reflected as two officer injuries in the
table.

At the same time, the issue is not solely whether officers are injured in some way during an
encounter where they use force. The issue is also whether officers might be hesitating or avoiding
using force even when it would be lawful, authorized, and necessary under the circumstances and
might be more likely to be injured as a result. Also important is whether some officers are avoiding
being injured because they are managing to resolve more incidents effectively without using force.

Consequently, the Monitoring Team analyzed information on BPD officer injury provided by the
insurance company that oversees BPD’s workers’ compensation. The data file provided somewhat
limited information on officer injury claims. For example, the data does not provide information


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about medical treatment or whether the claimant received any medical treatment. Additionally,
the data does not explicitly state if the injury was due to a use of force.

However, the available data provided 8 categories of information, including a short description of
the event or underlying issue, a coded variable relating to the source of injuries, and a “cause
code.”99 The Monitoring Team synthesized these variables into standardized categories, which
are reflected in Table 13.

Table 13.         Officer Injuries, All Types/Causes, 2018–2021

                                          2018           2019                 2020       2021
 Injuries/Altercations/Assault            127      12.4% 117            11.4% 93   10.7% 79 9.5%
 Vehicle Accidents                        162      15.8% 132            12.9% 131 15.0% 131 15.8%
 Exposure to Hazardous
 Chemicals/Foreign
 Materials/Contagious Disease 78         7.6% 53          5.2% 40         4.6% 131 15.8%
 Occupational-Related
 Illnesses/Diseases*              102    9.9% 66          6.4% 37         4.2% 31 3.7%
 Overexertion**                   146    14.2% 229        22.3% 125 14.4% 171 20.6%
 Other Field/Office Injuries*** 342      33.3% 344        33.5% 295 33.9% 293 35.3%
 Other                            69     6.7% 85          8.3% 150 17.2% 63 7.6%
 Total                            1,026           1,026            871              830
Source: BPD/Compensation Board
Notes:
* Occupational-Related Illnesses/Diseases include psychological stress, hypertension, PTSD,
hearing loss, etc.
** Overexertion refers to continuous trauma to body due to the wearing of gun belts and/or
bulletproof vests, working in weight rooms, working with trainees, helping other officers, etc.
*** Other Field/Office injuries include animal bites, falls/slips in the field and/or the office,
natural disasters, etc.

This broader Compensation Board data set – which encompasses all manner of officer injuries,
whether or not they were incurred during a use of force encounter – shows a 19.1% decline in
officer injuries of any sort from 2018 to 2021. It also shows a 37.8% decline in the category of

99
  Specifically, the variables in the data provided information on: (1) whether the claim was closed or open; (2) the
date of the claim; (3) the type of claim, including (a) whether the claimant missed more than 3 days of work and/or
was represented by an attorney, or (b) the claim was related to a medical reason only and the claimant hadn’t missed
more than 3 days of work and/or was not represented by an attorney; (4) a narrative of the event or underlying claim;
(5) the involved employee’s police district; (6) the part of the body injured or implicated; (7) a source of the injury,
coded into at least 28 different categories (e.g., motor vehicle accident, slip and fall, crime/criminal action, over-
exertion, etc.); (8) a “COB Cause Code,” encompassing at least 20 categories (e.g. over-exertion, psychological stress,
contact with a sharp object, etc.).


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officer injuries – “injuries/altercations/assault (act of crime)” – into which most injuries caused by
a subject during a use of force incident would be categorized.

Separately, the Monitoring Team considered data about injuries to subjects during use of force
encounters. As Table 14 summarizes, 41.2% fewer subjects were injured in force incidents in
2021 compared to 2018. Although a somewhat larger percentage of force incidents involved a
subject injury of some sort in 2021 as compared to prior years, that phenomenon must be
considered within the broader, overall decline in the number of force incidents and force subjects
from 2018 to 2021.

Table 14.      Number & Percentage of Subjects Injured During Use of Force Incidents
               2018–2021

                             Yes            No              Missing          Total
                    2018     357 23.1% 1,092 70.2% 106 6.8% 1,555
                    2019     329 24.4% 937          69.4% 84        6.2% 1,350
                    2020     234 23.6% 759          76.4% 0         –        993
                    2021     210 29.5% 502          70.5% 0         –        712
Note: “Yes” includes all recorded injuries, including minor injuries, pre-existing and self-inflicted
injuries, and injuries that may not have been related to or sustained during the use of force or
encounter involving the force.




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V.     OFFICER USE OF FORCE: COMPLIANCE ASSESSMENT

This section summarizes the Monitoring Team’s evaluations, using the methodology outlined in
Section II, of officer performance during the 545 force total incidents reviewed from 2018, 2019,
and 2020 – with incidents from 2018 generally serving as a pre-reform baseline, 2019 serving as
a snapshot of active implementation of new force policies and training, and 2020 evaluating officer
performance when Decree-required policies were fully effective and initial force training fully
implemented.

The Monitoring Team emphasizes again, at the outset, that findings are reported in a few different
ways in this section. First, in a number of instances, we break down (for each year) our findings
based on the level of force (i.e. Level 1, Level 2, or Level 3). Because the Monitoring Team
reviewed all Level 3 incidents in each year, the Monitoring Team can be certain that no unintended
effects of sampling – that is, looking at some but not all cases – may be affecting results. For
Level 1 and Level 2 incident in each year, the Monitoring Team did look at some but not all cases.
There, the statistical assumptions outlined above mean that the Team can be 95% confident that
the reported results are within a margin of error of 10%. That is, given the sampling approach, the
Team can say that, for Level 1 and Level 2 force in each year, it is 95% confident that even if it
had been able to look at all cases, rather than a sample, the findings would differ by plus or minus
10%.

Second, in a number of instances, we aggregate our findings to say something about BPD’s overall
performance in each year studied across all force, regardless of level. To do this, we present at
least one, and sometimes two, sets of numbers. The first set of numbers are described as our
“unweighted” totals or frequencies. These totals reflect a simple tabulation of the Monitoring
Team’s findings across all cases for each year. That is, the Team’s findings across Level 1, Level
2, and Level 3 cases add up to the “unweighted,” overall findings.

The second set of totals for each year are “weighted” totals. These totals are adjusted, statistically,
to account for the way that the Monitoring Team selected (i.e., sampled) cases to review.
Specifically, as Table 15 illustrates, for each given year, the methodology that the Team adopted
meant that Level 2 cases were somewhat over-represented in each year’s set of cases compared to
how frequently they occur, while Level 1 cases, in particular, were under-represented. For
example, in 2018, 48% of the cases that the Monitoring Team reviewed (91 of 189 total) were
Level 1 cases. However, in 2018, 76% (1,162 of 1,525 force incidents total) were Level 1 cases.
Meanwhile, 38% of reviewed cases were Level 2 cases, but 22% of all BPD force cases were Level
2 cases. To be able to draw conclusions about each year that are not unintentionally skewed by
what the Team reviewed, we have to statistically account for this.




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Table 15.      Comparison of All BPD Force Incidents (Population) to Reviewed Force
               Cases (Sample) & Statistical Weighting Methodology

                                  Population           Sample          Base Weight
                                  Proportion           Proportion      (Statistical Weight
                                  (All BPD Force       (Reviewed       Applied to Each
                                  Incidents)           BPD Force       Incident to Compute
                                                       Cases)          Total Across Levels
                                                                       for Year)
                      Level 1     0.762                0.481           1.583
        2018          Level 2     0.222                0.386           0.574
                      Level 3     0.016                0.132           0.124
                      Level 1     0.706                0.473           1.492
        2019          Level 2     0.279                0.419           0.665
                      Level 3     0.015                0.108           0.143
                      Level 1     0.737                0.518           1.424
        2020          Level 2     0.243                0.371           0.655
                      Level 3     0.020                0.112           0.182

The statistical adjustment, for the yearly totals across all force levels, is simply to “weigh” results
for each Level of force according to the actual numbers regarding how often they occurred in each
year. The Team can do this because, again, the findings for each Level of force in each year are
statistically significant and robust – meaning that, for each Level of force, we reviewed enough to
be able to assume that the findings would hold regardless of how many we reviewed. The
weighting process essentially takes the Team’s findings for each Level of force in each year and
situates them in according to how frequent various types of force actually were, overall, in each
calendar year. It is the weighted results in which the Monitoring Team, as outlined previously,
can be 95% confident are within plus or minus 8% of the actual value even if the Team selected
another sample of cases to review or reviewed all force cases for each level and year.

Statistical weighting is a standard, common, and accepted approach in social science. In the
interest of transparency, the Monitoring Team presents for some of its most significant findings
both its original, “unweighted” results and the statistically “weighted” results. In other instances,
only the “weighted” results are reported. The report specifies what types of results are being
discussed. Typically, when the report summarizes findings for a calendar year in terms of the
“cases” reviewed, or the “unweighted” results, it is describing results from the 545 force incidents
that the team reviewed. When the report summarizes findings for a calendar year in terms of
“incidents,” or “weighted” results, it is describing the statistics that result from statistically




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weighting the findings from those 545 force incidents to account for the relative frequency of force
levels across all BPD incidents.

Again, this weighting methodology is necessary only when computing a total for a calendar year
across all force levels. When the report discusses findings for a particular level of force in a given
year, no weighting applies.

A.       Overall Findings

BPD’s primary use of force policy, which addresses “when a member may use force, and
members’ duties before, during, and after the Use of Force,” is Policy 1115 (Use of Force).100 The
policy articulates a set of fundamental “core principles” and a host of specific requirements that
apply to all officer interactions and use of force decision-making.101 Although all elements of the
policy are critical, the most fundamental requirements governing officer use of force are that force
may be used only when it is – in light of the totality of the circumstances102 – reasonable,
necessary, and proportional to the threat or resistance posed by a subject and when de-
escalation techniques103 are “not possible”104 such that there is “no alternative to using
force.”105 Specifically, any force must be:

         •    Reasonable. BPD’s policy defines “reasonable” force as “no more force than is
              required to perform a lawful purpose.”106 As the United States Supreme Court has
              emphasized, the reasonableness inquiry focuses not on the situation and circumstances
              as subjectively perceived or understood by the involved officer but, instead, on what a
              reasonable officer, under the circumstances, would have perceived or understood.107
              The involved officer’s “underlying intent or motivation” or the “subjective motivations
              of the individual officers . . . ha[ve] no bearing on whether a particular” use of force is
              “unreasonable.”108

         •    Necessary. BPD policy requires that any use of force be necessary under the
              circumstances. “Force is necessary only when no reasonably effective alternative
              exists.”109


100
    Policy 1115 at 1.
101
    Id. at 1–2.
102
    Id. at 4.
103
    Id. at 1.
104
    Id. at 6.
105
    Policy 1115 at 7.
106
    Id. at 4.
107
    Graham v. Connor, 490 U.S. 386, 397 (1989) (“[T]he ‘reasonableness’ inquiry . . . is an objective one: the question
is whether the officer’s actions are ‘objectively reasonable’ in light of the facts and circumstances confronting them.”).
108
    Id.
109
    Policy 1115 at 4.


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        •    Proportional. The policy also requires that any force that is used be proportional to
             the nature of the threat posed, or resistance exhibited, by the subject – that is, “rationally
             related to the level of resistance or aggression confronting” the officer.110

        •    Consistent with the Duty to De-Escalate. BPD policy dictates that officers must,
             “unless it is not possible to do so, avoid the Use of Force by using De-Escalation
             Techniques,” which are tactics, techniques, and strategies for successfully and safely
             resolving incidents with less significant, minimal, or no force.

             Because de-escalation is a duty of BPD officers in all situations, and not just those
             where use of force is used or contemplated, BPD maintains a separate, standalone
             policy, Policy 1107, focusing exclusively on de-escalation.

             It should also be noted, at the outset, that “[t]he term de-escalation can be viewed as a
             both an overarching philosophy” requiring “officers to constantly reassess each
             situation to determine what options are available to effectively respond, as well as the
             grouping of techniques designed to achieve this goal.”111

The determination of whether force is necessary, proportional, reasonable, and consistent with the
duty to de-escalate is an objective inquiry that looks to “all facts and circumstances surrounding”
the event.112 It considers what a reasonable officer would have done under the circumstances that
the involved officer(s) encountered.

All four concepts are closely related. For instance, unnecessary force is very unlikely to be
proportional or reasonable under the circumstances. Indeed, necessity, proportionality, and de-
escalation may be argued to be concepts embedded within the overall scope of objective
reasonableness.

Despite their close relationship, and even as BPD must implement a host of requirements related
to use of force, the application of force in the field, and many of the more specific requirements,
are guided by four primary principles or concepts: necessity, proportionality, objective
reasonableness, and the duty to de-escalate. If any force that a BPD officer uses in a given incident
is unnecessary, disproportionate, not objectively reasonable, or inconsistent with the duty to de-
escalate, then the force is deficient in a significant and foundational way. This section considers
BPD’s overall compliance with each of these foundational force requirements.



110
    Id.
111
    International Association of Chiefs of Police, National Consensus Policy and Discussion Paper on Use of Force 6
(Oct. 2017)).
112
    Policy 1115 at 4.


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            1. Necessity

Under Decree-required BPD policy, “[f]orce is necessary only when no reasonably effective
alternative exists.”113 Practically, this means that force may be used only in the absence of any
alternatives that might address a subject’s threat or resistance. Even “[w]hen force is Necessary,
members shall use force in a manner that avoids unnecessary injury or risk of injury to members
and civilians.”114

Consequently, Monitoring Team reviewers were asked to summarize whether, across all force used
by all officers in the incident, the force was necessary under the circumstances.

Table 16.              Was All Use of Force Necessary?

                                  Yes                    No             Unable to
                                                                        Determine
                   Weighted       156.4     88.8%        12.2   6.9%    7.6         4.3%
                   Frequency
               Unweighted         158†      84.0%        23†    12.2%   7           3.7%
          2018 Frequency
               Level 1            74        90.2%        4      4.9%    4           4.9%
               Level 2            65        86.7%        8      10.7%   2           2.7%
               Level 3            16        59.3%        10     37.0%   1           3.7%
                   Weighted       161.8     88.4%        9.9    5.4%    11.4        6.2%
                   Frequency
               Unweighted         161       87.5%        11     6.0%    12          6.5%
          2019 Frequency
               Level 1            75        87.2%        5      5.8%    6           7.0%
               Level 2            72        92.3%        3      3.8%    3           3.8%
               Level 3            14        70.0%        3      15.0%   3           15.0%
                   Weighted       154.2     93.5%        5.7    3.5%    5           3.0%
                   Frequency
               Unweighted         151       90.4%        10     6.0%    6           3.6%
          2020 Frequency
               Level 1            80        95.2%        2      2.4%    2           2.4%
               Level 2            58        90.6%        3      4.7%    3           4.7%
               Level 3            13        68.4%        5      26.3%   1           5.3%



113
      Dkt. 2-2 at 4.
114
      Id.


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Notes: Six (6) unintentional/accidental firearms discharge cases not involving use of force subjects
are excluded from the reported results for this table.
†
  In 2018, 4 cases were classified by BPD as “non-force” – a designation that, because it is not
used in either the Consent Decree or BPD policy, is not presented as a type or Level of force. Of
these 4 “non-force” incidents, Monitoring Team reviewers determined that all force was necessary
in 3 cases (i.e., “yes”) and that not all force was necessary in 1 case (i.e., “no”). These four cases
were excluded from the weighted frequency.

The portion of force that is appropriately necessary increased over the period of 2018 to 2020,
from 88.8% in 2018 to 93.5% in 2020, per the percentages weighted per the methodology described
previously. For example:

       •   Case No. 405 (Level 2, 2020). Officers responded to a domestic call for service in
           which a wife indicated that her intoxicated husband, who had PTSD, was destroying
           items in their house. When officers arrived and began speaking with the wife, the
           husband began yelling obscenities and threatened to ‘go to war” with officers. One
           responding officer attempted to use strategic communication skills to calm the subject.
           The subject, who exhibited some mood swings during the course of the interaction,
           eventually became aggressive and made threats toward the officers and his wife. The
           subject then began walking toward his wife. Another responding officer grabbed the
           man and took him to the ground. Three BPD officers get the man into handcuffs after
           a brief struggle during which the man sustained an injury to his face and right arm and
           officers received minor abrasions to their arms and legs.

           Given the verbal threats that the subject made and the movement of the subject toward
           his wife, the application of force was necessary to ensure the safety of the woman.

       •   Case No. 426 (Level 2, 2018). An officer observed an argument between two
           individuals. As an officer approached, one of the women turned and walked away from
           the other, who followed the first woman by bicycle. A review of body-worn camera
           footage showed the two women arguing and the officer attempting to intervene. The
           woman following the first woman subsequently threw her bike, which struck the first
           woman in the back. The officer approached the woman to take her into custody for
           assault, but the woman resisted the officer’s attempts to place her into handcuffs. The
           officer used force to take the subject to the ground. After a brief struggle, the woman
           was handcuffed and helped to her feet. The woman complained of an injury to her face
           and leg. She was transported to the hospital, treated, and released. The officer
           sustained a minor injury to his hands.




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    The involved officer witnessed the subject assault another individual with a bicycle.
    Under those circumstances, and given that the subject actively resisted efforts to be
    handcuffed, the force deployed was necessary for the safety of the other involved
    woman.

•   Case No. 17 (Level 2, 2019). A BPD officer, assisting an MTA officer at the scene of
    a bus accident, approached the BPD officer’s vehicle in a strange manner, staring
    intently at the officer and holding his hand behind his back as if holding something.
    The officer exited his vehicle and ordered the subject to show his hands. The subject
    refused, continuing to conceal his hands, which the officer continued to believe was
    consistent with the subject being armed, as the officer’s radio communication during
    the incident confirmed. The officer drew his weapon, again ordering the subject to
    raise his hands. The subject refused. The MTA officer came to assist and also drew
    his weapon. The subject then showed both hands before reaching behind his back again
    as if something was held in his waistband. With the MTA cover maintaining lethal
    cover, the BPD officer holstered his firearm and drew his Taser, quickly deploying it
    against the subject. Both prongs of the Taser hit the subject and delivered a standard
    5-second Taser cycle, incapacitating the subject. The subject fell backward onto an
    area of grass, and officers were able to handcuff him. Once in custody, the subject said
    he was upset with his job situation and had wanted officers to shoot him. The subject
    was transported to the hospital for evaluation. No arrests were made.

    The Monitoring Team’s review identified this as a particular noteworthy example of a
    BPD officer applying a reasonably effective alternative force technique in a serious
    situation involving a non-compliant subject who officers believed to be armed. That
    is, under the circumstances, the use of force was necessary and the use of the Taser,
    because it was a reasonably available opportunity within the context of the MTA officer
    providing lethal cover, meant that lethal force was not deployed.

•   Case No. 457 (Level 2, 2018). Three officers observed a subject with a large bulge on
    his left side, which they believed to be a concealed weapon. As one officer approached
    the subject, the subject fled, keeping his left arm pressed against his body. As he ran,
    the officer in pursuit heard a metal object drop to the ground. The officer saw the
    subject pick up a silver hand gun and resume running, and the officer radioed that the
    subject possessed a firearm. The subject then entered a residence. When officers
    encountered the subject, he was lying on the kitchen floor with his hands beneath him.
    Officers ordered the subject to “drop the gun” multiple times. One of the officers then
    deployed his taser, which incapacitated the subject and allowed officers to handcuff
    him. Officers retrieved a .22 caliber long rifle handgun with 6 live rounds from beneath
    where the subject was positioned.



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These overall statistics are buttressed by sizable majority of Level 1 force determined to be
necessary – including 90.2% of Level 1 force in 2018, 87.2% in 2019, and 95.2% in 2020 – and
Level 2 force – including 90.6% of Level 2 force in 2020 – being necessary. However, too many
Level 3 force incidents involved unnecessary force in each of 2018, 2019, and 2020 – including 5
cases (or more than one out of four (26.3%) Level 3 force incidents) in 2020. For instance:

       •   Case No. 431 (Level 3, 2020). Officers responded to a call for service involving a
           subject refusing to leave a store. When the subject attempted to re-enter the store, he
           was blocked by Officer 1, who was then pushed by the subject. Officers handcuffed
           the subject. The subject spit in Officer 1’s face. Officer 1 punched the subject in the
           back of the head before using his hands to forcibly move the subject’s head and neck.
           Officer 1 only removed his hands after the subject stated that he could not breathe.

           The Monitoring Team’s review found that the force was unnecessary, as well as
           retaliatory. Even as the subject spat at Officer 1, a reasonable officer under the
           circumstances would have identified many other avenues for addressing the restrained
           subject’s behavior not involving force.

       •   Case No. 292 (Level 3, 2020). Two officers observed the subject exiting a car reported
           as stolen. Upon seeing the officers, the subject started toward a sidewalk and then up
           steps to the front landing of a house. Officer 2 advanced on the subject, grabbing him
           around the waist from behind. The subject fell to the ground on the landing, with
           Officer 2 on the subject’s back. Twisting and wriggling to break free, the subject was
           able to stand back up. Officer 2 then wrapped his arms around the subject’s waist from
           behind, lifted him up, and slammed him, front side down, to the ground. A scuffle with
           Officers 1 and 2 ensued. Three additional BPD officers arrived, and the subject was
           eventually handcuffed. During the cuffing process, Officer 2 remained seated on the
           ground behind the subject, with the subject’s head in his lap. As the subject continued
           to wriggle and kick, he begins gasping for air and groaning. Officer 2 pulls back
           underneath the subject’s chain with both hands and says, “I will choke you, I will kill
           you” before letting go of the chin. Additional force by Officer 2, likely retaliatory in
           nature, followed.

           The Monitoring Team review concluded that, among other things, it was not necessary
           to pull up on the subject’s head from underneath the chain, at the top of the neck,
           particularly given the subject was under 18 – a fact Officer 2 apparently knew from
           prior encounters with the same subject. As the officer’s supervisor observed, the
           maneuver in the head and neck region presented a risk of asphyxiation and constituted
           serious force that was not justified by the nature of the restrained subject’s squirming
           in the presence of at least five BPD officers.



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       •   Case No. 531 (Level 2, 2018). Officers responded to a call for service regarding a
           person shot. Upon arriving, officers found no person shot, but witnesses told them that
           a domestic assault had occurred between a man and a woman. The man was placed
           under arrest and placed in a patrol car. A sergeant arrived to the scene and, while being
           briefed by responding officers, the woman approached the vehicle and attempted to
           open the rear passenger door. The sergeant told the woman to back away from the car.
           The woman yelled profanities at the sergeant. The woman started to walk past the
           sergeant when he grabbed her arm and attempted to place her under arrest. After a
           struggle, the woman was handcuffed but was taken to the ground after attempting to
           pull away from officers. A medic treated the woman for a laceration to the forehead.

           Available body-worn camera footage and the investigative narratives indicate that the
           force was unnecessary when it occurred. Although the female subject was loud and
           verbally abusive toward the sergeant, a reasonable officer under the circumstances
           would not have believed that the woman posed a threat.

One critical factor in the Monitoring Team’s compliance determinations, as outlined in Section II,
is whether BPD identifies, for itself, officer performance that is out of policy and whether it takes
appropriate corrective action upon identifying performance inconsistent with policy. Although
post-incident action after an officer has inappropriately applied force does not negate or excuse
poor officer performance, the Department’s overall level of compliance with the Decree is likely
higher or stronger if it is consistently identifying and taking appropriate corrective action whenever
officers engage in problematic force.

The Monitoring Team therefore attempted to consider across force incidents that involved a
foundational deficiency – including when forced used was judged unnecessary – whether BPD’s
final disposition and/or corrective action taken appeared consistent with the nature and scope of
the issues identified during the Team’s review.

The Team worked with BPD to identify two types of data relating to case disposition and corrective
action outcomes. The first data set relates to the “incident disposition” of a force incident. The
Monitoring Team’s understanding is that this is a summary of the overall disposition across all
subjects, officers, and/or force deployed during an incident. Within this data set, the incident
dispositions reflected are “closed within policy,” meaning that BPD found all officer force in the
cases to be consistent with all of the Department’s policies; “closed,” which the Monitoring Team
understands may be used either (a) in instances where involved officers were no longer employed
at the time of disposition, making an adjudication non-operative, or (b) for certain types of Level
3 incidents (such as firearms discharges that are unintentional and do not strike an individual or
involve animals); “closed out of policy,” meaning that BPD identified at least some element of



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performance during the incident that was inconsistent with BPD policy; and “missing,” where
information is not reflected in the system for the incident. This data set comes from the
Department’s IAPro use of force system.

For those force cases in which the Monitoring Team determined that at least some officer force
was unnecessary, BPD found the force out of policy in an exceedingly limited number of instances.
As Table 17 summarizes, of those cases involving unnecessary force, BPD found officer
performance to be out of policy in 6 cases in 2018 (26.1%), 2 cases in 2019 (18.2%), and 1 case
in 2020 (12.5%).

Table 17.      BPD Dispositions of Incidents Identified by Monitoring Team as Involving
               Unnecessary Force, 2018–2020

                      Closed Within       Closed Out of      Closed
                      Policy              Policy
            2018      13        56.5%     6         26.1%    4          17.4%
            2019      8         72.7%     2         18.2%    1          9.1%
            2020      6         75.0%     1         12.5%    1          12.5%
Notes: Reported results for each year are unweighted. Two (2) incidents from 2020 that were
identified as involving unnecessary force by the Monitoring Team did not have dispositions
available and are excluded here.

As outlined in Section II, the Monitoring Team weighs overall performance, the severity or
significance of noncompliant performance, progress over time, and BPD’s identification of and
corrective action taken in association with noncompliant performance. Here, BPD’s overall
performance improved across 2018 through 2020, and aggregate officer performance in 2020 is
close to compliance overall (93.5% weighted). However, (1) the continuing number of cases in
which Level 3 force was unnecessary and (2) BPD’s ongoing challenges with identifying and
taking appropriate corrective action in the limited instances where force is unnecessary mean that
BPD will need to make additional progress to reach compliance with the core requirements
associated with necessity.

BPD therefore has not yet reached initial compliance with the necessity requirement. A sustained
or further reduced use of unnecessary force and a higher, consistent rate of BPD identifying and
taking corrective action regarding unnecessary force would be likely to be consistent with initial
compliance.




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        2. Proportionality

Separately, the Decree-required policy permits only proportional force.115 “Proportionality
requires that any use of force correspond to the risk of harm the officer encounters, as well as to
the seriousness of the legitimate law-enforcement objective that is being served by its use.”116 This
means that an officer’s decision to use force, and the particular type or Level of force employed,
must be consistent with the threat of harm or imminent danger to officers, or bystanders, that the
subject poses. The “requirement of proportionality operates in addition to the requirement of
necessity” and “means that even when force is necessary to achieve a legitimate law-enforcement
end, its use may be impermissible if the harm it would cause is disproportionate to the end that
officers seek to achieve.”117 Under BPD policy, force is proportional when it “is rationally related
to the level of resistance or aggression confronting the member.”118

Table 18.        Was All Use of Force Proportional?

                                 Yes                         No                     Unable to
                                                                                    Determine
               Weighted          163.7        92.9%          8.7       4.9%         3.7          2.1%
               Frequency
           Unweighted            162†         86.2%          23†       12.2%        3            1.6%
      2018 Frequency
           Level 1               79           96.4%          1         1.2%         2            2.4%
           Level 2               64           85.4%          10        13.3%        1            1.3%
           Level 3               16           59.3%          11        40.7%        0            –
           Weighted              167.7        91.6%          8.4       4.6%         6.9          3.8%
           Frequency
           Unweighted            165          89.7%          12        6.5%         7            3.8%
      2019 Frequency
           Level 1               79           91.8%          3         3.5%         4            4.7%
           Level 2               72           92.3%          5         6.4%         1            1.3%
           Level 3               14           70.0%          4         20.0%        2            10.0%
               Weighted          154.9        94.0%          5.1       3.0%         5            3.0%
               Frequency
      2020
               Unweighted        152          91.0%          9         5.4%         6            3.6%
               Frequency


115
    Id. at 4.
116
    Principles of the Law: Policing §5.05 cmt. a (Am. Law. Inst. Revised Tentative Draft No. 1, 2017), available at
https://www.ali.org/media/filer_public/f2/80/f2804962-6431-4535-9649-34c5f872140e/policing-uof-online.pdf.
117
    Id.
118
    Dkt. 2-2 at 4.


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              Level 1        80         95.2%       2          2.4%       2          2.4%
              Level 2        59         92.2%       2          3.1%       3          4.7%
              Level 3        13         58.4%       5          26.3%      1          5.3%
Notes: Six (6) unintentional/accidental firearms discharge cases not involving use of force subjects
are excluded from the reported results for this table and are excluded here.
†
  In 2018, 4 cases were classified by BPD as “non-force” – a designation that, because it is not
used in either the Consent Decree or BPD policy, is not presented as a type or Level of force. Of
these 4 “non-force” incidents, Monitoring Team reviewers determined that all force was
proportional in 3 cases (i.e., “yes”) and that not all force was proportional in 1 case (i.e., “no”).
All 4 cases are excluded from the weighted frequency.

The portion of all BPD force that was proportional to the subject’s level of resistance or aggression
improved in each year from 2018 to 2020 – from 92.9% in 2018 to 91.6% in 2019 and 94.0% in
2020 based on the weighted frequency estimates. For example:

       •   Case No. 389 (Level 1, 2020). An officer responded to a call regarding someone
           walking on and sitting on a car. Upon arrival, the officer encountered a woman sitting
           on a car’s trunk. As the subject walked away from the vehicle, she began rolling around
           in the grass and saying that the devil was telling her to attack the officer. The officer
           urged the woman to stay at a distance from him and talk out the situation. However,
           the woman ran at the officer and started striking the officer in the shoulder with open-
           hand strikes. The officer used a hip throw to take the subject to the ground and handcuff
           her. After other officers arrived to assist, she got up from the ground and lunged at
           one of the officers, attempting to kick him. She was again taken to the ground, with
           officers subsequently putting the subject in flex cuffs to prevent her from kicking again.
           The subject was transported to the hospital for an involuntary mental health committal.
           Neither officers nor the subject were injured. The multiple applications of Level 1
           force here were proportional to the threat and resistance that the subject posed.

       •   Case No. 39 (Level 1, 2018). Upon arrival at a family disturbance call, an officer
           encountered a man being held down by another family member. The man being held
           down appeared to be intoxicated and/or experiencing a behavioral health crisis. The
           officer called for backup. Eventually, the initially responding and backup officers
           witnessed the man attempt to assault his nephew. The officers physically restrained
           the man, who refused to comply with officer commands, and proceeded to place him
           into handcuffs. The officers’ physical maneuvers deployed here were proportional to
           the subject’s threat to others and the level of resistance that he was displaying to
           officers.




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Even as a substantial majority of Level 1 and Level 2 force cases were determined to involve
proportional force in 2019 and 2020, several force applications across each evaluated year
involved at least some application of force that was not proportional under the circumstances. For
example:

       •   Case No. 612 (Level 3, 2019). An officer and police trainee responded to a call for
           service regarding a trespasser. A store owner told officers that a subject, who had been
           banned from the store because of previous incidents, had taken several items without
           paying. After the officers went to look for the man at his nearby home, they returned
           to the store, where the store owner identified a man outside the store as the subject in
           question. The officer asked the subject for identification and grabbed the subject’s arm.
           The subject asked why the officer was holding his arm and tried to pull away. The
           officer grabbed the subject by the neck and pushed him onto the hood of the patrol car.
           The officer took the subject to the ground and a scuffle ensued. A second man
           attempted to intervene but was held back by the police trainee. Several additional BPD
           units arrived to the scene and handcuffed the subject, who informed officers that he
           was having difficulty breathing. The man was transported to the hospital, treated, and
           released. The involved officers had minor injuries that did not require treatment.

           Multiple applications of force were not proportional to the subject’s level of resistance.
           First, the officer’s initial grabbing of the subject’s arm occurred shortly after an initial
           request for identification and was not consistent with the subject’s level of resistance.
           Second, under BPD policy, as discussed in further detail below, a neck hold constitutes
           deadly, Level 3 force. Under the circumstances, the Monitoring Team concluded that
           a reasonable officer would not have believed that lethal force was authorized or
           necessary in light of the resistance.

       •   Case No. 31 (Level 3, 2019). A CitiWatch camera operator advised officers that a
           subject was involved in multiple hand-to-hand drug transactions. The subject went
           inside a market. While standing in line, the officers grabbed and tackled the subject,
           taking him to the floor and placing him under arrest.

           The involved officers grabbed the subject without warning as he stood in line inside
           the market. They did not announce themselves or give the subject an opportunity to
           comply voluntarily. Because officers applied force in the absence of any subject
           resistance or aggression, the force applied was not proportional.

       •   Case No. 402 (Level 2, 2018). Officer 1 responded to a call for service relating to
           possible illegal gambling. Upon making contact with several subjects standing on a
           raised porch area, Officer 1 asked the subjects to meet him below. As the subject



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            approached the officer, the subject turned and fled. Officer 1 fired his Taser at the
            subject without warning.

            The firing of the CEW at a fleeing individual, in addition to being specifically
            inconsistent with BPD policy and training, was not proportional to the threat posed by
            the subject under the circumstances.

Among those incidents where the Monitoring Team identified officers using disproportionate
force, BPD too regularly failed to identify the force as inconsistent with policy.

Table 19.      BPD Incident Dispositions of Incidents Identified by Monitoring Team as
               Involving Disproportionate Force, 2018–2020

                       Closed Within         Closed Out of        Closed
                       Policy                Policy
             2018      11        47.9%       7          30.4%     5           21.7%
             2019      6         50.0%       5          41.7%     1           8.3%
             2020      5         71.4%       1          14.3%     1           14.3%
Notes: Reported results for each year are unweighted. Two (2) incidents from 2020 that were
identified as involving unnecessary force by the Monitoring Team did not have dispositions
available and are excluded here. Within this data set, the incident dispositions reflected are
“closed within policy,” meaning that BPD found all officer force in the cases to be consistent with
all of the Department’s policies; “closed,” which the Monitoring Team understands may be used
either (a) in instances where involved officers were no longer employed at the time of disposition,
making an adjudication non-operative, or (b) for certain types of Level 3 incidents; “closed out of
policy,” meaning that BPD identified at least some element of performance during the incident
that was inconsistent with BPD policy; and “missing,” where information is not reflected in the
system for the incident.

BPD has not yet achieved initial compliance with the proportionality requirement. Overall, BPD
and its officers are using force that is not proportional in progressively fewer incidents from 2018
through 2020. However, where disproportionate force is used, it is more frequently Level 3 force
– and BPD is not regularly identifying instances of disproportionate force as out of policy. BPD
will need to continue to enhance its overall performance with respect to proportionality to reach
initial compliance.




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           3. Objective Reasonableness

BPD policy requires that all officer force be reasonable, which is defined as a “member us[ing] no
more force than required to perform a lawful purpose”119 The concept of “objective
reasonableness” relates to the United States Supreme Court’s guidance on the basic, minimum
standard under the United States Constitution as to when police officers may use force. In Graham
v. Connor, the Court indicated that, under the Fourth Amendment, force is considered according
to what a reasonable officer would do in light of all of the circumstances that the officer who used
force encountered.120

Table 20.          Was All Use of Force Objectively Reasonable?

                                  Yes                       No             Unable to
                                                                           Determine
                 Weighted         160          90.8%        11.9   6.7%    4.3         2.4%
                 Frequency
              Unweighted          159†         84.6%        25†    13.3%   4           2.1%
         2018 Frequency
              Level 1             77           93.9%        3      3.7%    2           2.4%
              Level 2             63           84.0%        10     13.3%   2           2.7%
              Level 3             16           59.3%        11     40.7%   0           –
                 Weighted         167.7        91.6%        7.7    4.2%    7.6         4.1%
                 Frequency
              Unweighted          165          89.7%        11     6.0%    8           4.3%
         2019 Frequency
              Level 1             79           91.9%        3      3.5%    4           4.7%
              Level 2             72           92.3%        4      5.1%    2           2.6%
              Level 3             14           70.0%        4      20.0%   2           10.0%
                 Weighted         154.1        93.4%        5.9    3.6%    5           3.0%
                 Frequency
              Unweighted 150            89.8%      11        6.6%        6          3.6%
      2020 Frequency
              Level 1        80         95.2%      2         2.4%        2          2.4%
              Level 2        58         90.6%      3         4.7%        3          4.7%
              Level 3        12         63.2%      6         31.6%       1          5.3%
Notes: Six (6) unintentional/accidental firearms discharge cases not involving use of force subjects
are excluded from the reported results for this table.


119
      Policy 1115 at 4.
120
      Graham v. Connor, 490 U.S. 386 (1989).


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†
  In 2018, 4 cases were classified by BPD as “non-force” – a designation that, because it is not
used in either the Consent Decree or BPD policy, is not presented as a type or Level of force. Of
these 4 “non-force” incidents, Monitoring Team reviewers determined that all force was
objectively reasonable in 3 cases (i.e., “yes”) and that not all force was objectively reasonable in
1 case (i.e., “no”). These four cases were excluded from the weighted frequency.

The portion of BPD force incidents overall that involved force that was entirely objectively
reasonable increased, in terms of overall weighted frequencies, from 2018 (90.8%) to 2019
(91.6%) and 2020 (93.4%). For instance:

       •   Case No. 45 (Level 1, 2020). Officers responded to a large and disorderly crowd in
           which individuals were fighting. Officers identified a woman as the main instigator,
           and she confronted officers, assaulting the primary responding officer. A back-up
           officer intervened and encouraged the officer to discontinue attempts to arrest the
           female until they had more resources to make the arrest safely. The officers waited for
           more back-up officers to arrive before attempting to place the woman into custody,
           using enough force to get her hands in a position to be handcuffed.

           The Monitoring Team’s review noted a strong performance by the backup officer in
           assessing the situation, threats, and risks and determining a prudent course of action.

       •   Case No. 536 (Level 2, 2018). A woman informed an officer, responding to a call for
           service about a domestic incident, that her ex-boyfriend was stalking and harassing her.
           While speaking with the officer, she receives a phone call from her ex-boyfriend. A
           short time later, body-worn camera footage showed a man, the ex-boyfriend, walking
           toward the officer and the woman at a fast pace and appearing agitated. After
           requesting that additional units be dispatched to the location to assist, the officer
           ordered the man to back away and calm down. The man continued to move toward the
           officer, who again warned the man to back away. When the subject continued to close
           the distance between him and the officer and woman, the officer discharged a burst of
           OC spray into the subject’s face.

           Given the subject’s lack of compliance with officer commands, the subject’s agitated
           state, the presence of the woman, and the underlying nature of the woman’s allegations
           against the subject, the force deployed was objectively reasonable.

       •   Case No. 143 (Level 3, 2018). Officers were called to the federal court house to
           remove an uncooperative homeless female who had a knife in her hand. She refused
           to cooperate and proceeded to leave the court house area. Officers attempted to
           communicate with the subject, providing several warnings, but the subject remained
           highly agitated and uncooperative. As the subject approached an intersection where


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           several bystanders were visible, a BPD officer deployed his taser, which permitted
           officers to take the subject into custody.

           The subject’s ongoing noncompliance, the failure of ongoing communication strategies
           to resolve the situation, possession of a knife, the subject’s state of significant agitation,
           and the subject’s proximity to bystanders at the time that force was applied are all
           factors that point toward the Taser application being reasonable under the
           circumstances.

However, BPD’s improvement with respect to reasonableness was associated with increasing
compliance across Level 1 and Level 2 force. Too many Level 3 force incidents (nearly one-third)
involved force that was not objectively reasonable under the circumstances that the involved
officer encountered – with both 2019 and 2020 involving a lower proportion of Level 3 incidents
where all force was objectively reasonable than 2018. For example:

       •   Case No. 446 (Level 3, 2018). A subject was attempting to enter a school. Officers
           arrived and advised the subject to leave. The subject stayed in the area, and the officer
           continued to order him to disperse. The suspect, who was upset about an issue
           involving his brother, continued to refuse to leave. Officer 1 then discharged his Taser,
           striking the subject and activating for one, five-second cycle. Officers then handcuffed
           the subject.

           Although not yet in effect at the time of the incident, the failure to provide a warning
           and providing the subject with time to comply under the circumstances would currently
           be inconsistent with current BPD policy and training. However, even at the time of the
           incident, the situation involved a subject angry over an issue involving a family
           member – and a reasonable officer under the circumstances would not have concluded
           that the subject was showing any aggression toward responding officers.
           Consequently, the application of force was not objectively reasonable.

       •   Case No. 207 (Level 2, 2020). Two officers responded to a call for service at a
           restaurant, where a manager complained that two individuals were eating inside the
           restaurant in violation of the then-applicable COVID-19 public health orders. The
           subjects, who both appeared to be intoxicated, were slow to respond to officer requests
           to leave but complied after several minutes. One of the individuals complained on their
           way out that officers were too close to him and taunted officers. The other individual
           put himself between the first subject and the officer, saying “Let it be, I got him.” As
           the subject moved toward a trash can in front of the store and started putting his trash
           on top or in the can, Officer 1 suddenly shoved the second man out of the way and onto
           the ground before slamming the subject up against the restaurant door, which cracked



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            the window; twisting the subject’s face down to the ground; forcing the subject’s hands
            behind his back (while saying “put your [expletive] arm behind your back”); and
            handcuffing him. When Officer 2 said that the man should be sat up because he was
            still face down while handcuffed, Officer 1 said, “No, don’t sit up. Leave him just like
            that” – even as, seconds later, Officer 1 rolled the subject to his side, kneeling on the
            subject’s side for about 15 seconds and leading the subject to complain, “You know
            how much weight you were putting on me?”

            In this instance, the officer’s initial applications of force – shoving the second man out
            of the way and slamming the subject against the restaurant door – were, among other
            things, not objectively reasonable given that, beyond speaking to officers, the men did
            not pose an immediate threat of harm to themselves, officers, or others. The kneeling
            on the subject’s side was likely was similarly unreasonable. There were also concerns
            that the force was retaliatory given that the subjects were taunting officers.

Table 21.      BPD Incident Dispositions of Incidents Identified by Monitoring Team as
               Involving Objectively Unreasonable Force, 2018–2020

                       Closed Within         Closed Out of        Closed
                       Policy                Policy
             2018      13        52.0%       7          28.0%     5           20.0%
             2019      5         45.5%       5          45.5%     1           9.0%
             2020      6         75.0%       1          12.5%     1           12.5%
Notes: Reported results for each year are unweighted. Three (3) incidents from 2020 that were
identified as involving unnecessary force by the Monitoring Team did not have dispositions
available and are excluded here. Within this data set, the incident dispositions reflected are
“closed within policy,” meaning that BPD found all officer force in the cases to be consistent with
all of the Department’s policies; “closed,” which the Monitoring Team understands may be used
either (a) in instances where involved officers were no longer employed at the time of disposition,
making an adjudication non-operative, or (b) for certain types of Level 3 incidents; “closed out of
policy,” meaning that BPD identified at least some element of performance during the incident
that was inconsistent with BPD policy; and “missing,” where information is not reflected in the
system for the incident.

Overall, BPD and its officers used force that is not objectively reasonable in progressively fewer
incidents from 2018 through 2020. However, where unreasonable force was used, it has tended
toward more significant, Level 3 force. Especially because BPD failed to identify disproportionate
force as out of policy in too many instances among each of 2018 through 2020, BPD cannot yet
be considered to be in initial compliance with requirements related to objective reasonableness.




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         4. De-Escalation

Many Consent Decree provisions require that officers de-escalate situations whenever possible:

         •   Paragraph 124 requires that BPD ensure that officers: “resolve incidents without
             resorting to the use of force, when possible”121; “[u]se de-escalation techniques and
             tactics to minimize the need to use force and increase the likelihood of voluntary
             compliance with legitimate and lawful orders”122; “[u]se tactics that do not
             unnecessarily escalate an encounter”123; and “[c]ontinually assess the situation and
             changing circumstances, and modulate the use of force appropriately.”124

         •   Paragraph 125 provides that BPD “require officers to use de-escalation techniques . . .
             whenever possible, before resorting to force and to reduce the need for force.”125 Such
             techniques include “verbal persuasion and warnings” and “tactical de-escalation
             techniques such as slowing down the pace of an incident, waiting out subjects, creating
             distance . . . between the officer and the threat, and requesting additional resources.”126

         •   Paragraph 126 requires that BPD officers use “a critical thinking, decision-making
             framework to analyze and respond to incidents through which officers,” among other
             things, “[a]ssess the situation, threats and risks” and “[i]dentify options and determine
             the best course of action” in light of those threats and risks.127

         •   Paragraph 135, “[r]ecognizing that tactics leading up to the use of force can influence
             whether the use of force used was necessary,” requires that BPD “prohibit the use of
             tactics that unnecessarily escalate an encounter and create a need for force.”128

         •   Pursuant to the various de-escalation requirements, the Decree requires BPD to provide
             ongoing training on de-escalation.129

These requirements are codified and explained in BPD Policy 1115, addressing use of force
generally, and Policy 1107, which specifically addresses de-escalation. Additionally, Policy 1107
provides an inventory of specific de-escalation tactics, techniques, and strategies.130

121
    Dkt. 2-2 ¶ 124(a).
122
    Id. ¶ 124(b).
123
    Id. ¶ 124(c).
124
    Id. ¶ 124(d).
125
    Id. ¶ 125.
126
    Dkt. 2-2 ¶ 125.
127
    Id. ¶ 126.
128
    Id. ¶ 135.
129
    Id. ¶ 166.
130
    Policy 1107 at 2–3.


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Accordingly, the Monitoring Team considered in all cases reviewed whether all involved officer(s)
took reasonable efforts to de-escalate prior to using force. In 2018, officers failed to de-escalate
where the duty to do so was implicated in nearly one out of five (18.8% of) incidents. Officers
failed to de-escalate less frequently in 2019 (17.2% of incidents) and 2020 (12.4% of incidents).
This means that, most recently, in 2020, involved officers died take reasonable efforts to de-
escalate across 87% of all force incidents.

Table 22.      Involved Officers Took Reasonable Efforts to De-Escalate, All Force Levels

                            Yes                      No                  Unable to
                                                                         Determine
             Weighted       107.8       69.5%        29.1     18.8%      18.2        11.7%
             Frequency
     2018
             Unweighted     110         72.4%        35       23.0%      7           4.6%
             Frequency
             Weighted       115.7       78.7%        25.4     17.2%      5.9         4.0%
             Frequency
     2019
             Unweighted     116         78.4%        24       16.2%      8           5.4%
             Frequency
             Weighted       119.2       87.0%        16.9     12.4%      1           0.7%
             Frequency
     2020
             Unweighted 112             82.4%     21         15.4%     3          2.2%
             Frequency
Note: Percentages are computed among the total number of instances where the duty to de-
escalate was determined to be applicable (i.e., the total number of “yes,” “no,” and “unable to
determine” responses, and excluding the “not applicable” responses). For this table, “not
applicable” encompasses those situations where the facts indicated that the duty to de-escalate
was not applicable under the facts of the case, including incidents involving
unintentional/accidental firearm discharges. Four cases classified by BPD as “non-force” are
not included in the totals and were excluded from the weighted frequency.

Monitoring Team reviewers identified many instances in which BPD officers appropriately
deployed reasonably available de-escalation tactics. For example:

       •    Case No. 164 (Level 1, 2018). A subject was fighting in public with two other people.
            The officer broke up the fight, and the subject walked away. As the officer approached
            the subject to investigate, the subject bladed his body toward the officer. The subject
            was ordered to place his hands behind his back but refused. The officer pulled a Taser



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           and pointed it at the subject. The subject eventually allowed officers to handcuff him.
           After some minimal resistance, the subject submitted to being transported.

           The Monitoring Team observed that the involved officer provided numerous verbal
           warnings in an attempt to elicit cooperation from the subject and made repeated
           attempts to reason with the subject to gain voluntary compliance. The officer displayed
           but ultimately did not need to deploy the Taser.

       •   Case No. 547 (Level 1, 2018). Officers responded to a residence to serve a court-
           ordered emergency petition. The subject’s mother led officers to her son’s room in her
           residence, cautioning officers that he might resist or “act out” because of his mental
           health condition. Upon encountering the subject, officers described the process
           implicated by the emergency petition and issued several calm commands. The subject
           nonetheless became agitated and uncooperative, and resisted officer attempts to
           handcuff him, which required that officers guide the subject to the ground, deploying
           Level 1 force to get the subject under control.

           Even as officers did reasonably employ low-level force to bring the subject under
           control, the use of various communication strategies across the encounter constituted
           reasonable, appropriate de-escalation under the circumstances.

       •   Case No. 562 (Level 1, 2020). Officers conducting a narcotics investigation observed
           a subject engaging in a potential drug transaction. Upon making contact with the
           subject, the subject fled, holding his waistband. Believing he was armed, officers
           pursued him. Officer 1 tripped the subject, which ended the pursuit and allowed
           officers to control and handcuff the subject. A weapon was not recovered.

           Especially in contrast to other pursuits resulting in more significant or serious force,
           officers here effectively used lower-level force to restrain the subject – an example of
           lower-level force being effective under the circumstances.

However, in a material number of instances across the evaluated years, officers did not take all
reasonable efforts under the circumstances they encountered to de-escalate. For instance:

       •   Case No. 507 (Level 3, 2020). An officer observed a subject assault another person.
           The subject fled upon seeing the officer, with the officer losing sight of the subject near
           an open, abandoned building. The officer entered the building, locating the subject in
           a second-floor bedroom. A struggle ensued during which the officer can be seen on
           body-worn camera with the officer’s arm around the subject’s neck and the subject
           gasping for air. No injuries were reported.



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            The officer in this incident entered an abandoned building looking for a suspect in an
            assault without waiting for backup, which placed him at a substantially elevated risk
            that may have contributed to the need to use force upon encountering the subject one-
            on-one in the building. A reasonable officer would have waited for additional officers
            to be present to assist in finding and arresting the subject.

       •    Case No. 126 (Level 2, 2019). Officers received a license place recognition “hit” on a
            stolen vehicle sitting in a parking lot with the engine running. Officer 1 approached
            the vehicle and found a subject asleep in the car. The officer immediately proceeded
            to physically remove the subject from the car. Additional force was used when the
            subject, who was placed on the curb, stood up and refused to sit down.

            Involved officers went from investigation to force to effectuate an arrest without
            requesting that the subject voluntarily submit. The officers outnumbered the subject at
            the time, making the use of alternative mechanisms to get the subject to comply and be
            taken into custody without the use of force even more tactically feasible under the
            circumstances.

       •    Case No. 31 (Level 3, 2019). In the case previously discussed, a subject believed to
            be involved in drug transactions went inside a market. While standing in line, officers
            grabbed and tackled the subject, taking him to the floor and placing him under arrest.

            The involved officers grabbed the subject without warning as he stood in line inside
            the market. They did not announce themselves or give the subject an opportunity to
            comply voluntarily. The officers therefore failed to use readily available and
            reasonable de-escalation techniques.

Table 23.      Incidents Where All Officers Took All Reasonable Efforts to De-Escalate, By
               Level

 Did the involved officer(s) take                                                   Not
 reasonable efforts to de-                                           Unable      to Applicable
 escalate?                            Yes            No              Determine
                            2018      49    75.4%    13     20.0%    3     4.6%      17     –
 Level 1                    2019      53    79.1%    12     17.9%    2     3.0%      19     –
                            2020      64    91.4%    6      8.6%     0     0.0%      14     –
                            2018      51    78.5%    13     20.0%    1     1.5%      10     –
 Level 2                    2019      53    77.9%    11     16.2%    4     5.9%      10     –
                            2020      41    75.9%    12     22.2%    1     1.9%      10     –




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                             2018     8   40.0% 9           45.0% 3        15.0% 8       –
 Level 3                     2019     10 76.9% 1            7.7% 2         15.4% 9       –
                             2020     7   58.3% 3           25.0% 2        16.7% 10      –
Note: Percentages are computed among the total number of instances where the duty to de-
escalate was determined to be applicable (i.e., the total number of “yes,” “no,” and “unable to
determine” responses, and excluding the “not applicable” responses). For this table, “not
applicable” encompasses those situations where the facts indicated that the duty to de-escalate
was not applicable under the facts of the case, including incidents involving
unintentional/accidental firearms discharges.

Across Level 1 force, reviewers found ongoing improvement across 2018, 2019, and 2020 with
respect to whether officers took reasonable efforts to de-escalate – with officers taking all
reasonable efforts to de-escalate in more than 91% of Level 1 incidents in 2020. At the same time,
however, in Level 2 and Level 3 encounters, reviewers could certify that officers took all
reasonable efforts to de-escalate in only three out of four Level 2 incidents (about 76%) in 2020
and in 7 out of 12 Level 3 incidents (58%) in 2020.

Where officers took reasonable efforts to de-escalate, this most frequently included using tactical
communication techniques (such as regulating tone, attempting to persuade the subject to comply
voluntarily, and the like), providing verbal warnings to the subject, slowing down the pace of the
incident, and waiting out the subject. Reviewers also identified instances where officers used
physical barriers to separate themselves from subjects, creating distance between themselves and
the threat, and requesting that additional BPD resources respond to the scene. A number of
incident-specific techniques were also identified (e.g., having a subject sit on a curb, allowing a
subject to try and sit on her own, waiting for other units to arrive before handcuffing a subject,
etc.).

Separately, in all instances – and whether officers used some de-escalation tactics or did not
employ any – Monitoring Team members considered whether there were additional de-escalation
tactics that the involved officer(s) could or should have used under the circumstances but did not.
Across the evaluated years, BPD officers were increasingly exhausting reasonably available de-
escalation tactics – with officers across reviewed cases exhausting reasonably available de-
escalation tactics, after weighting findings to account for differences between the sample and
overall populations as described at the start of this section, in 77.6% of incidents in 2018, in nearly
76.8% incidents in 2019, and in 85.0% of incidents in 2020.




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Table 24.      Incidents In Which Reasonably Available, Additional De-Escalation Tactics
               Could or Should Have Been Used Under The Circumstances But Were Not
               (All Force Levels)

                            Yes (officers failed        No (officers used     Unable to
                            to use reasonably           all reasonably        Determine
                            available,                  available de-
                            additional de-              escalation tactics)
                            escalation tactics)
             Weighted       32.3        19.4%           128.9      77.6%      5       3.0%
             Frequency
     2018
             Unweighted     42          22.8%           128        69.6%      5       7.6%
             Frequency
             Weighted       29.4        16.5%           136.8      76.8%      11.9    6.8%
             Frequency
     2019
             Unweighted     31          17.8%           132        75.9%      12      6.3%
             Frequency
             Weighted       21.6        13.5%           136.1      85.0%      2.4     1.5%
             Frequency
     2020
             Unweighted 26           15.7%        131        78.9%     4           5.4%
             Frequency
Note: Percentages are computed among the total number of instances where the duty to de-
escalate was determined to be applicable (i.e., the total number of “yes,” “no,” and “unable to
determine” responses, and excluding the “not applicable” responses). For this table, “not
applicable” encompasses situations where the facts indicated that the duty to de-escalate was not
applicable under the facts of the case, including incidents involving unintentional/accidental
firearms discharges.

The most commonly identified de-escalation technique that reviewers indicated that a reasonable
officer might have also taken under the circumstances, but did not, were communication
techniques, verbal warnings, and slowing down the pace of the incident.

Next, the Monitoring Team’s evaluation considered whether the involved officer(s) took actions
that may have unnecessarily escalated the encounter. As Table 25 indicates, the Monitoring Team
found both more and less encouraging trends in officer performance in this regard. Specifically,
year over year, there were progressively fewer cases involving officers taking affirmative solo
action without request additional resources (from 12.0% of all force incidents in 2018 per weighted
results to 5.3% in 2020) and a lower rate of incidents overall in which poor officer communication
skills appeared to escalate rather than de-escalate the situation (from 10.5% of all force incidents
in 2018 per weighted results to 8.6% of all force incidents in 2020). On the other hand, after



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weighting results to account for the frequency of various force types overall, the monitoring team’s
findings show officers improperly closing the reactionary gap more often in 2020 (in 34.1% of all
force incidents) than in 2018 (where officers did so in 23.5% of all incidents). Similarly, a greater
portion of force instances in 2020 involved officers using tactics or techniques that unreasonably
sped up the pace of the incident (from 6.9% of all incidents per weighted results in 2018 to 9.4%
of incidents in 2020).

Table 25.      Officer Performance That May Have Escalated the Incident (All Force Levels)

  Did the involved                                                                  Unable    to
  officer(s) . . .                               Yes             No                 Determine
                                  Weighted       6.3    3.7%     159.8 93.4%        5     2.9%
                                  Frequency
                                  Unweighted
                          2018    Frequency      14     7.4%     163      86.2%     5      2.7%
                                  Level 1        1      1.3%     75       94.9%     3      3.8%
                                  Level 2        7      9.3%     68       90.7%     0      0.0%
                                  Level 3        6      24.0%    17       68.0%     2      8.0%
                                  Weighted       8.1    4.5%     168.4    92.6%     5.2    2.9%
                                  Frequency
  Approach a person
                                  Unweighted
  too quickly without
                          2019    Frequency      8      4.3%     166      89.2%     5      2.7%
  reasonable
                                  Level 1        4      4.7%     79       91.9%     3      3.5%
  evaluation?
                                  Level 2        3      3.9%     73       94.8%     1      1.3%
                                  Level 3        1      6.3%     14       87.5%     1      6.3%
                                  Weighted       6.3    3.9%     153.5    94.0%     3.5    2.1%
                                  Frequency
                                  Unweighted
                          2020    Frequency      8      4.7%     148      87.1%     7      4.1%
                                  Level 1        2      2.4%     81       96.4%     1      1.2%
                                  Level 2        5      8.1%     55       88.7%     2      3.2%
                                  Level 3        1      5.9%     12       70.6%     4      23.5%
                                  Weighted       13.7   8.5%     140.0    87.0%     7.2    4.4%
                                  Frequency
                                  Unweighted
                          2018    Frequency      19     10.1%    146      77.2%     7      3.7%
  Leave insufficient              Level 1        5      6.8%     65       87.8%     4      5.4%
  space between the               Level 2        9      12.7%    61       85.9%     1      1.4%
  officer and the                 Level 3        5      20.8%    17       70.8%     2      8.3%
  person?                         Weighted       24.0   14.1%    143.1    83.9%     3.5    2.0%
                                  Frequency
                          2019    Unweighted
                                  Frequency      20     10.7% 142         76.3%     4      2.2%
                                  Level 1        13     15.7% 69          83.1%     1      1.2%


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                              Level 2      7      10.4% 57   85.1% 3            4.5%
                              Level 3      0      0.0% 16    100.0% 0           0.0%
                              Weighted     11.3   7.4% 138.7 89.9% 4.2          2.7%
                              Frequency
                              Unweighted
                       2020   Frequency    11      6.5%   136     80.0%   7     4.1%
                              Level 1      6      7.5%    72      90.0%   2     2.5%
                              Level 2      4      7.0%    52      91.2%   1     1.8%
                              Level 3      1      5.9%    12      70.6%   4     23.5%
                              Weighted     35.1   23.5%   104.8   70.2%   9.3   6.2%
                              Frequency
                              Unweighted
                       2018   Frequency    37     19.5%   112     59.3%   9     4.8%
                              Level 1      16     23.2%   48      69.6%   5     7.2%
                              Level 2      16     24.6%   47      73.2%   2     3.1%
                              Level 3      5      22.7%   15      68.2%   2     9.1%
                              Weighted     47.1   32.3%   94.4    64.8%   4.3   2.9%
                              Frequency
                              Unweighted
Close the
                       2019   Frequency    45     24.2%   93      50.0%   4     2.2%
reactionary gap?
                              Level 1      22     31.0%   47      66.2%   2     2.8%
                              Level 2      21     36.8%   34      59.6%   2     3.5%
                              Level 3      2      14.3%   12      85.7%   0     0.0%
                              Weighted     43.3   34.1%   80.4    63.2%   3.5   2.7%
                              Frequency
                              Unweighted
                       2020   Frequency    46     27.1%   76      44.7%   7     4.1%
                              Level 1      19     28.8%   46      69.7%   1     1.5%
                              Level 2      24     52.2%   20      43.5%   2     4.3%
                              Level 3      3      17.6%   10      58.8%   4     23.5%
                              Weighted     11.8   6.9%    152.3   89.0%   7.2   4.1%
                              Frequency
                              Unweighted
                       2018   Frequency    19     10.1%   157     83.1%   7     3.6%
                              Level 1      4      5.1%    71      89.9%   4     5.1%
                              Level 2      8      10.7%   66      88.0%   1     1.3%
Speed up the pace of          Level 3      7      26.9%   17      65.4%   2     7.7%
the incident?                 Weighted     16.9   9.3%    160.4   88.2%   4.6   2.5%
                              Frequency
                              Unweighted
                       2019   Frequency    17     9.1%    159     85.5%   4     2.2%
                              Level 1      8      9.3%    75      87.2%   3     3.5%
                              Level 2      7      9.1%    70      90.9%   0     0.0%
                              Level 3      2      11.8%   14      82.4%   1     5.9%



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                               Weighted     13.4   8.2%    146.0 89.9%     3.1   1.9%
                               Frequency
                               Unweighted
                        2020   Frequency    16     9.4%    142     83.5%   5     2.9%
                               Level 1      5      6.0%    77      92.8%   1     1.2%
                               Level 2      9      14.3%   52      82.5%   2     3.2%
                               Level 3      2      11.8%   13      76.5%   2     11.8%
                               Weighted     20.8   12.0%   148.1   85.2%   5.0   2.8%
                               Frequency
                               Unweighted
                        2018   Frequency    21     11.2%   158     83.6%   5     2.6%
                               Level 1      11     13.6%   67      82.7%   3     3.7%
                               Level 2      5      6.8%    69      93.2%   0     0.0%
                               Level 3      4      15.4%   20      76.9%   2     7.7%
                               Weighted     12.6   7.0%    164.2   91.0%   3.6   2.0%
                               Frequency
                               Unweighted
                        2019   Frequency    13     7.0%    163     87.6%   3     1.6%
                               Level 1      6      7.1%    77      90.6%   2     2.4%
Take affirmative               Level 2      5      6.5%    71      92.2%   1     1.3%
solo action without            Level 3      2      11.8%   15      88.2%   0     0.0%
requesting additional          Weighted     9.6    5.9%    151.3   92.6%   2.4   1.5%
resources?                     Frequency
                               Unweighted
                        2020   Frequency    9      5.3%    150     88.2%   4     2.4%
                               Level 1      6      7.1%    77      91.7%   1     1.2%
                               Level 2      1      1.6%    60      96.8%   1     1.6%
                               Level 3      2      11.8%   13      76.5%   2     11.8%
                               Weighted     18.1   10.5%   144.8   84.1%   9.3   5.4%
                               Frequency
                               Unweighted
                        2018   Frequency    24     12.6%   150     79.4%   9     4.8%
                               Level 1      7      8.8%    68      85.0%   5     6.3%
Use poor                       Level 2      11     14.9%   61      82.4%   2     2.7%
communication                  Level 3      6      23.1%   18      69.2%   2     7.7%
skills that escalated          Weighted     13.7   7.6%    160.1   88.0%   8.1   4.4%
rather than de-                Frequency
escalated the                  Unweighted
situation?              2019   Frequency    14     7.5%    160     86.1%   6     3.2%
                               Level 1      6      7.0%    75      87.2%   5     5.8%
                               Level 2      7      9.1%    69      89.6%   1     1.3%
                               Level 3      1      5.9%    16      94.1%   0     0.0%
                               Weighted     14.1   8.6%    148.0   90.0%   2.3   1.3%
                        2020
                               Frequency




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                                 Unweighted
                                 Frequency      16    9.4% 145        85.3% 3          1.8%
                                 Level 1        6     7.1% 77         91.7% 1          1.2%
                                 Level 2        8     12.5% 55        85.9% 1          1.6%
                                 Level 3        2     12.5% 13        81.3% 1          6.3%
Notes: For this table, “not applicable” encompasses those situations where the facts indicated
that the duty to de-escalate was not applicable under the facts of the case, including incidents
involving unintentional/accidental firearms discharges.

It should be noted that three of the noted behaviors in Table 25 that might escalate a situation –
namely, (1) approaching a person too quickly without reasonable evaluation, (2) leaving
insufficient space between the officer and the subject, and (3) closing the reactionary gap –
implicate similar but not automatically overlapping considerations. Approaching a subject too
quickly refers to those instances where an officer, upon initially arriving at a scene or contacting
the subject, proceeds close to the individual at the outset in the absence of a reasonable evaluation.
Leaving insufficient space refers to those situations where an officer, while interacting with a
subject, positions themselves in a temporarily fixed position that is unreasonably close to the
subject under the circumstances. Closing the reactionary gap refers to those instances where an
officer, during the course of an interaction, affirmatively reduces the amount of space between
themselves and a subject. Examples identified by the Monitoring Team included:

       •   Case No. 53 (Level 3, 2019). BPD officers were instructed to canvass an area for a
           vehicle used in an armed robbery earlier in the month. Officer 1 located the car in a
           parking lot. As the only officer on the scene, and being apprised that a second BPD
           car was en route, the officer approached the driver’s side of the vehicle alone. The
           subject attempted to get out of the car, and Officer 1 attempted to keep the subject in
           the car. The subject in the vehicle grew agitated, pushed the first officer, and attempted
           to flee. Officer 1 grabbed the subject, who was in possession of a firearm, and began
           to struggle with the subject as Officer 2 arrived. Officers 1 and 2 both pulled and fired
           their firearm, striking the subject in the chest.

           Although it is unknowable as to whether the presence of more than one BPD officer
           initially might led the subject to comply without or with less resistance, Officer 1 placed
           themselves at elevated risk by approaching the vehicle alone, abandoning the tactically
           superior position of the patrol vehicle at a distance.

       •   Case No. 395 (Level 3, 2018). Officer 1 was dispatched alone to a trespassing in
           progress. The officer arrived and confronted a subject who had barricaded herself in a
           lunchroom. Officer 1 placed the subject under arrest, and the subject resisted
           handcuffing, with a struggle ensuing. The subject purportedly attempted to control
           Officer 1’s firearm during the struggle.


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           The decision to engage in a one-on-one confrontation of a subject in an enclosed
           environment is another example of an officer, potentially even out of good-faith desire
           to address or solve the situation, closing the amount of space between themselves and
           a subject, without adequate support resources available – potentially making the use of
           force more likely.

       •   Case No. 453 (Level 1, 2020). An officer on patrol saw an altercation between a
           teenage boy and girl. The officer exited her vehicle, quickly approached and grabbed
           the boy with both hands by the front of his jacket, saying, “Calm down, chill out.” The
           boy responded by saying, “What are you doing? What are you grabbing me for?” The
           girl immediately grabbed the boy’s coat, asking the officer, “What are you grabbing
           him for?” as she tried to push the officer away from the boy. An extended tussle ensued
           as a crowd gathered. Additional BPD officers arrived, one of whom pushed the boy
           over the hood of the car and slammed him to the ground. Officers attempted to
           handcuff the girl. The girl was booked for assault on police and common assault on
           the boy. It was determined that the boy had not been the aggressor in the altercation
           with the girl.

           The initially involved officer walked up to the boy and grabbed him by the coat even
           though the boy and girl had already separated and were away from each other – such
           that there was no immediate threat of physical injury implicated. The officer initiated
           physical force without trying to talk to the boy or girl at a distance and without using
           reasonable verbal techniques to defuse the situation. Subsequently arriving BPD
           personnel also failed to use reasonably available de-escalation techniques when they
           suddenly pushed the boy to the car and on the ground.

Weighing the compliance factors, BPD’s overall performance still leaves too many incidents in
which Monitoring Team members could not certify that officers used all reasonable available de-
escalation techniques or tactics – with more than 13% of cases in 2020 not able to be certified as
affirmatively consistent with the duty to de-escalate. Even as there has been some noteworthy
improvement in officer performance in the field over time, the Department has not similarly
improved with respect to identifying and taking corrective action with respect to officers failing to
de-escalate, as Table 26 summarizes. Accordingly, BPD will need to make additional progress
and improvements in the use of de-escalation techniques and tactics to reach initial
compliance with the Decree’s requirements associated with de-escalation during an incident
before force is deployed.




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Table 26.           BPD Incident Dispositions of Incidents Identified by Monitoring Team as
                    Involving A Failure to De-Escalate, 2018–2020

                       Closed Within         Closed Out of           Closed
                       Policy                Policy
             2018      32         71.1%      7          15.6%        6          13.3%
             2019      23         76.7%      5          16.7%        2          6.7%
             2020      19         90.5%      1          4.8%         1          4.8%
Notes: Results in this table are unweighted. Within this data set, the incident dispositions reflected
are “closed within policy,” meaning that BPD found all officer force in the cases to be consistent
with all of the Department’s policies; “closed,” which the Monitoring Team understands may be
used either (a) in instances where involved officers were no longer employed at the time of
disposition, making an adjudication non-operative, or (b) for certain types of Level 3 incidents;
“closed out of policy,” meaning that BPD identified at least some element of performance during
the incident that was inconsistent with BPD policy; and “missing,” where information is not
reflected in the system for the incident.

Separately, the Monitoring Team assessed whether, overall, the actions of involved officer(s) were
consistent with BPD’s critical thinking and decision-making framework in which members must:

           (1)   Assess the situation, threats, and risks;
           (2)   Gather relevant facts about the incident;
           (3)   Consider police powers and BPD policy;
           (4)   Identify options and determine the best course of action; and
           (5)   Act, review, and re-assess the situation.131

BPD officers are performing more consistently with the critical thinking model over time, with
78.3% of all force incidents (per weighted results) consistent with that model in 2018, 79.2% of
all force incidents consistent in 2019, and 91.3% of incidents consistent in 2020. The overall
improvement, across force levels, over the evaluated years is encouraging. Although BPD’s
overall performance for 2020, weighted to account for the actual occurrence of force incidents by
level, is in the range (above 85%) where the performance could be consistent with compliance,
depending on the other factors discussed in Section III. Here, the Monitoring Team observes that
a failure to utilize the critical thinking and decision-making framework in instances where more
serious force has been deployed is an especially significant deviation from decree requirements.
In 2020, 78% of intermediate, Level 2 force incidents involved performance consistent with the
critical decision-making model, while the Monitoring Team could certify consistency with the
model in 12 out of 17 of the year’s total Level 3 incidents.



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      Policy 1115 at 7; accord Dkt. 2-2 ¶¶ 126, 166(a).


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Table 27.         Force Incidents in Which Officer Performance Was Consistent with the Use
                  of BPD’s Critical Thinking and Decision-Making Model

                                 Yes                       No                         Unable to
                                                                                      Determine
            Weighted   135.8                  78.3%        20.0         11.5%         17.6      10.1%
            Frequency
            Unweighted 134                    71.3%        32           17.0%         18           9.6%
       2018 Frequency
            Level 1    65                     79.3%        7            8.5%          9            11.0%
                Level 2          55           73.3%        13           17.3%         5            6.7%
                Level 3          11           40.7%        12           44.4%         4            14.8%
            Weighted   143.2                  79.2%        23.8         13.2%         13.9         7.7%
            Frequency
            Unweighted 143                    76.9%        24           12.9          15           8.1%
       2019 Frequency
            Level 1    67                     7.9%         12           14.0%         6            7.0%
                Level 2          62           79.5%        8            10.3%         7            9.0%
                Level 3          14           63.6%        4            18.2%         2            9.1%
            Weighted             150.2        91.3%        11.8         7.2%          2.5          1.5%
            Frequency
            Unweighted           143          84.1%        16           9.4%          6            3.5%
       2020 Frequency
            Level 1              81           96.4%        3            3.6%          0            0
            Level 2              50           78.1%        11           17.2%         3            4.7%
            Level 3              12           70.6%        2            11.8%         3            17.6%

Although BPD and its officers have made positive and encouraging progress, the aggregate
performance in 2020 still points toward BPD needing to make improvements in the adoption
and deployment of the critical thinking model.

Another element of the duty to de-escalate is to discontinue the application of force as the subject’s
force, resistance, or threat decreases. The Monitoring Team found consistently high rates of
officers appropriately de-escalating force as the subject’s force decreased (in 95.5% of
incidents (weighted) where the duty to de-escalate was applicable under the circumstances in 2018,
97.1% in 2019, and 97.7% in 2020) and few instances where force was not appropriately
discontinued.132



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   In the remaining instances where the issue was implicated by the circumstances, reviewers indicated that they were
“unable to determine” based on the available evidence.


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       5. BPD Adjudication & Corrective Action of Foundationally Deficient Cases

The above sections address whether, for each of four foundational areas, BPD’s final disposition
and corrective action for force incidents was consistent with the Monitoring Team’s findings
regarding deficiencies. Because some problematic incidents had more than one foundational
deficiency, this section considers, in aggregate, how BPD has responded to every case with one or
more foundational issues.

Across cases in which the Monitoring Team identified some force as unnecessary,
disproportionate, not objectively reasonable, and/or inconsistent with the duty to de-escalate,
BPD overwhelmingly – across each of 2018, 2019, and 2020 – closed the investigation as
“within policy.” In fact, troublingly, even as fewer cases in 2020 involved a deficiency across
these core areas, a higher percentage of cases involving problematic force were inappropriately
“closed within policy” in 2020 (79.2% of cases identified by the Monitoring Team as deficient)
than in 2018 before any of the Decree’s policy changes or training became effective (66.7% of
cases identified by the Team as deficient). Indeed, in 2020, only a single case (of 24 total) reviewed
by the Monitoring Team and determined to be deficient across one of these foundational
dimensions was “closed out of policy.”

Table 28.      Incident Dispositions of Incidents Identified by Monitoring Team as
               Involving Force that Was Unnecessary, Disproportionate, Not Objectively
               Reasonable, or Inconsistent with the Duty to De-Escalate, 2018–2020

            Closed Within        Closed Out of          Closed                 Missing
            Policy               Policy
2018        32        71.1%      7         15.6%        6           13.3%      0           –
2019        23        76.7%      5         16.7%        2           6.6%       0           –
2020        19        79.2%      1         4.2%         1           4.2%       3           12.5%

The second type of data logs not simply overall incident information (i.e., whether any officer
involved was found to be out of policy) but the outcomes with respect to each officer involved in
each incident. This is also logged in IAPro, but the information about corrective action is
maintained in the area of the system related to officer misconduct, not force.

Table 29.      Individual Officer Dispositions of Incidents Identified by Monitoring Team
               as Involving Force that Was Unnecessary, Disproportionate, Not Objectively
               Reasonable, or Inconsistent with the Duty to De-Escalate, 2018–2020




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                                                                       Policy Failure
                                                                           to Be
                                                                         Addressed/
                                                                       Within Policy
                             Not Within                Not Yet         but Secondary
              Within Policy    Policy                  Entered          Policy Issue            Missing
      2018    17    18.1% 2      2.1%               69     73.4%       5      5.3%    2            2.1%
      2019    1     1.6%    4    6.3%               58     92.1%       0      –       0            –
      2020    26    40.6% 10     15.6%              26     40.6%       2      3.1%    0            –

The Monitoring Team understands from BPD that, because the majority of officer conduct was
found to be in policy, the instances of “not yet entered” – which are the majorities in 2018 and
2019 and still a sizeable portion of officer dispositions in 2020 – are likely to be functionally
equivalent to “within policy.” However, comparing the numbers from incident data to officer
disposition data for each year, there is some confusion – with the numbers of “not within policy”
officers in 2020 standing at 10 despite 1 overall case being reflected in IAPro as “closed out of
policy.” Unless that one case involved 10 officers, which is unlikely, data issues would appear to
limit the utility of the officer disposition data.

Because, as of 2020, BPD was, across a sizable number and proportion of cases, identifying force
with core deficiencies as nonetheless consistent with BPD policy, the Department cannot yet be
considered to be in compliance with core elements of the Consent Decree relating to necessity,
proportionality, reasonableness, and de-escalation; to be adhering meaningfully to the Decree-
required, revised use of force policies; or to be complying with other provisions of the Consent
Decree relating to force review and supervision.

B.       Subject Characteristics133

         1. Comparison of Demographic Characteristics of Subjects in Qualitative Sample with
            Overall Population of Force Subjects

It should be noted, at the outset, that the demographics of force subjects in the subset of force
incidents from 2018, 2019, and 2020 that the Monitoring Team reviewed closely matched the
demographics of all force subjects per BPD’s overall, aggregate data on force. For instance, with
respect to subject gender, in 2018, 80.1% of subjects in reviewed cases were male (or 85.3% when
applying statistical weights), compared to 82.7% across all force incidents in 2018. In 2019, 80.7%
of subjects in reviewed cases were male (or 83.1% when applying statistical weights), compared


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   In this and following sections, instances of unintentional/accidental discharges are typically reflected in the
aggregate results for the “not applicable” category.


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to 83.9% in all 2019 incidents. In 2020, 83.4% were male in reviewed cases (or 83.5% when
applying statistical weights), compared to 83.1% in all 2020 force incidents.

Similarly, with respect to subject race, 88.3% of subjects in qualitatively reviewed cases from 2018
were Black (or 90.1% when applying statistical weights), with Black subjects accounting for
86.8% of all force subjects in 2018. In 2019, 84.8% of subjects in reviewed incidents were Black
(or 87.4% when applying weighting) compared to 85.7% of all force subjects. In 2020, 85.0% of
subjects in incidents that the Monitoring Team reviewed were Black (or 88.6% when applying
weighting) while Black subjects accounted for 85.1% of force subjects across all BPD incidents in
2020.

       2. Subject Race in Foundationally Deficient Cases

The Monitoring Team considered whether a subject’s race relates to the likelihood that they may
be the recipient of foundationally deficient force (i.e., force that is unnecessary, disproportionate,
not reasonable, and inconsistent with the duty to de-escalate). Even as a subject’s treatment during
a force incident does not mitigate potential disparities, discussed in Section IV, in who becomes
involved in a force incident in the first instance, it would be especially problematic if subjects of
a particular race were disproportionately subjected to out-of-policy or inappropriate force. To this
end, Table 28 compares the demographic breakdown of force subjects in incidents that the
Monitoring Team concluded to be foundationally deficient with the overall population of force
subjects across all BPD incidents in each year.

Table 30.      Subject Race, Foundationally Deficient Force Cases vs. All BPD Force
               Incidents, 2018–2020

                                                All BPD Force Incidents        86.8%
                                                Weighted Frequency             91.1% (36.6)
                                                Unweighted Frequency           87.5 (42*)
                                      2018
                                                Level 1                        17
                                                Level 2                        15
                                                Level 3                        9
                                                All BPD Force Incidents        85.7%
                                                Weighted Frequency             90.2% (24)
       Black
                                                Unweighted Frequency           86.7% (26)
                                      2019
                                                Level 1                        12
                                                Level 2                        9
                                                Level 3                        5
                                                All BPD Force Incidents        85.1%
                                                Weighted Frequency             87.5 (18.8)
                                      2020
                                                Unweighted Frequency           75.9% (22)
                                                Level 1                        7


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                               Level 2                   13
                               Level 3                   2
                               All BPD Force Incidents   6.4%
                               Weighted Frequency        1.7% (0.7)
                               Unweighted Frequency      4.2% (2)
                        2018
                               Level 1                   0
                               Level 2                   1
                               Level 3                   1
                               All BPD Force Incidents   7.6%
                               Weighted Frequency        7.3% (2.0)
White                          Unweighted Frequency      10.0% (3)
                        2019
                               Level 1                   0
                               Level 2                   3
                               Level 3                   0
                               All BPD Force Incidents   5.9%
                               Weighted Frequency        11.7% (2.5)
                               Unweighted Frequency      20.7% (6)
                        2020
                               Level 1                   0
                               Level 2                   3
                               Level 3                   3
                               All BPD Force Incidents   1.9%
                        2018
                               Unweighted Frequency      0
                               All BPD Force Incidents   1.6%
Hispanic/Latino/Other   2019
                               Unweighted Frequency      0
                               All BPD Force Incidents   1.1%
                        2020
                               Unweighted Frequency      0
                               All BPD Force Incidents   4.9%
                               Weighted Frequency        7.1% (2.9)
                               Unweighted Frequency      8.3% (4)
                        2018
                               Level 1                   1
                               Level 2                   2
                               Level 3                   1
                               All BPD Force Incidents   5.1%
                               Weighted Frequency        2.4% (0.7)
                               Unweighted Frequency      3.3% (1)
Missing/Unknown         2019
                               Level 1                   0
                               Level 2                   1
                               Level 3                   0
                               All BPD Force Incidents   7.9%
                               Weighted Frequency        0.8% (0.2)
                               Unweighted Frequency      3.4% (1)
                        2020
                               Level 1                   0
                               Level 2                   0
                               Level 3                   1


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Notes: The differences between weighted and unweighted proportions presented in this table might
be related to many factors. Due to the small numbers for some categories (white and
missing/unknown categories), small changes in one year for one force level can cause a big
statistical change for the whole proportion, and the monitoring team cannot determine anything
definitive about how well the weighted proportions predict the whole population when it comes to
race.

For each of 2018, 2019, and 2020, Black individuals were the subjects in force incidents where
monitoring team monitors found that force was foundationally deficient at a higher rate than their
representation in the population of force incidents overall. In 2018, subjects were Black in 91.1%
(weighted) of foundationally deficient force cases, while subjects were Black in 86.8% of all BPD
force incidents. Similarly, subjects were Black in 90.2% (weighted) of deficient cases in 2019 and
85.7% of BPD force incidents overall. In 2020, the difference was reduced – with subjects being
Black in 87.5% (weighted) of deficient cases compared to 85.1% of all BPD force incidents.
Meanwhile, although white subjects were involved in 1.7% (weighted) of foundationally deficient
cases compared to 6.4% of force incidents overall in 2018, white subjects were involved in 11.7%
of foundationally deficient cases in 2020 compared to 5.9% of force incidents overall that year.

It therefore appears that, while Black subjects were somewhat disproportionately represented
among foundationally deficient incidents compared to their representation in force cases overall
in all three years, the magnitude of this difference decreased in 2020. Meanwhile, in 2020, white
subjects were somewhat disproportionately represented among foundationally deficient incidents
compared to BPD force incidents overall. The Monitoring Team cautions that, given the numbers
of cases qualitatively reviewed and the number of cases flagged as foundationally deficient, further
tests assessing statistical significance are not feasible. Indeed, these numbers, and this comparison,
cannot say anything based on whether a Black, white, or subject of another race is more or less
likely to be the subject of force that is foundationally deficient – the numbers are only descriptive
and a comparison of the population of subjects in deficient cases to the population of subjects
across all BPD force incidents.

           3. Subjects Experiencing Mental Health & Behavioral Health Crisis

The Consent Decree includes a number of requirements related to BPD’s response to and
interactions with behavioral health disabilities or who are experiencing a mental or behavioral
health crisis.134 A separate, forthcoming assessment will evaluate the Department’s compliance
across those general requirements.




134
      See generally Dkt. 2-2 ¶¶ 96–122.


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The “Behavioral Health Disability or crisis status of individuals subject to law enforcement
actions” is highly relevant within the context of use of force incidents,135 with numerous policy
and training requirements geared toward officers “avoid[ing] escalating an interaction with
individual with these disabilities” and “us[ing] de-escalation techniques to increase safety and to
avoid using force unnecessarily” against individuals whose behavior, noncompliance, or resistance
may be related to their underlying behavioral health status or condition.136 BPD’s Policy 1115
includes “[w]hether the person is exhibiting signs of mental illness or is experiencing a behavioral
health crisis” and “[w]hether a person suffers from a medical or behavioral health disability,
physical or hearing impairment, [or] is impaired by alcohol or drug use . . . ” as “facts and
circumstances” that are part of the “Totality of the Circumstances” that factor into the core analysis
of whether officer force is reasonable, necessary, and proportional.137

To this end, the Consent Decree requires, and BPD officers have received, eight hours of annual
in-service training on crisis intervention.138 Among many topics, this training has focused on
“[h]ow non-medically trained law enforcement personnel can recognize common characteristics
and behaviors associated with Behavioral Health Disabilities or Intellectual and Developmental
Disabilities” and how to “interact with” and “make reasonable modifications for” such individuals
through their response strategies.139

Monitoring Team reviewers of force incidents therefore considered, first and foremost, whether a
reasonable officer under the circumstances evaluated would have concluded that the subject was
likely to be experiencing a behavioral health crisis (i.e., mental health, substance abuse, or other
behavioral health issue or condition). Predicted values, after adjusting for the probability of
selection as described previously in this report, suggest that a reasonable officer would have
concluded that the involved subject was experiencing a mental health, substance abuse, or other
behavioral health issues in 14.8% of all 2018 force incidents, 18.4% of all 2019 incidents and
19.6% of all 2020 incidents

Of those cases where a reasonable officer would have concluded that the subject was in crisis,
Monitoring Team reviewers found that the involved officer(s) successfully identified this fact in
most instances – in 23 out of 26 cases in 2018, 23 of 28 cases in 2019, and 29 of 31 cases in 2020
(all unweighted). It therefore appears that, at least in encounters that result in the use of force,
BPD officers are regularly and appropriately identifying individuals in crisis. The Monitoring
Team is currently conducting an assessment focusing on BPD’s interactions with individuals
experiencing mental and behavioral health challenges across all encounters and will report these
findings in a separate, forthcoming report.

135
    Id. ¶ 121.
136
    Id. ¶ 112(a)(viii).
137
    Policy 115 at 5, 4.
138
    Dkt. 2-2 ¶ 112(a).
139
    Id.


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Reviewers also inventoried whether the use of force encounter, upon its conclusion, resulted in
either (a) an emergency petition, or (b) a voluntary hospital evaluation based on the condition of
the subject. With respect to an emergency petition, 10.6% of reviewed cases resulted in an
emergency petition in 2018, 8.6% resulted in a petition in 2019, and 14.67% resulted in a petition
in 2020. In those reviewed cases where officers identified that a subject was experiencing a
behavioral or mental health crisis, an emergency petition resulted in 66.7% of such encounters in
2018 cases, in 65.2% of such encounters in 2019 cases, and in 82.8% of such encounters in 2020
cases. A voluntary hospital evaluation resulted in 10.1% of 2018 cases reviewed, 4.3% of cases
in 2019, and 5.9% of cases in 2020. Of cases where officers identified that the subject was
experiencing a crisis, a voluntary hospital evaluation occurred in 8.3% of applicable cases (2 of 24
instances) in 2018, 13% of cases (3 out of 23 instances) in 2019, and 10.3% of cases (3 of 29
instances) in 2020.

Finally, among those reviewed cases where a reasonable officer would have determined that the
subject was experiencing a behavioral health crisis, relatively few encounters involved force that
the Monitoring Team determined to be deficient in one of the foundational dimensions discussed
elsewhere in this report (i.e. was unnecessary, disproportionate, not objectively reasonable, and/or
inconsistent with the duty to de-escalate). In 2018, 3 of 26 cases involving subjects in crisis were
foundationally deficient (11.5%); in 2019, 4 of 28 cases were foundationally deficient (14.3%);
and in 2020, 1 of 31 cases (6.5%) were deficient in this way. Overall, BPD’s performance in this
regard is encouraging. The Monitoring Team will hold a determination of initial compliance in
abeyance in this regard pending completion of its in-progress, formalized assessment of the
Decree’s many requirements relating to crisis intervention.

           4. Children/Youth

Paragraph 131 includes several requirements addressing the use of force, and use of force decision-
making, when the subjects are youth, which the Consent Decree defines as “[a]n individual who
is younger than 18 years old.”140 Based on the Monitoring Team’s review, 10 incidents (5.3% of
cases reviewed, 5.7% of all incidents as weighted) in 2018 involved subjects who were youth, 13
incidents (7.0% of cases reviewed, 6.2% weighted) involved youth in 2019, and 14 incidents (8.2%
of cases reviewed, 9.9% weighted) involved youth in 2020.

The Monitoring Team’s review found BPD officers increasingly and appropriately taking
into account specific policy provisions relating to interactions with youth. The Decree and
BPD policy requires that officers “[w]hen feasible . . . employ developmentally appropriate and
trauma-informed de-escalation tactics.”141 In an increasing majority of cases across 2018, 2019,



140
      Id. ¶ 511(vvvv).
141
      Id. ¶ 131(a).


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and 2020, BPD officers were deploying developmentally appropriate and trauma-informed
approaches, including:

           •    Displaying a calm and natural demeanor;
           •    Avoiding threatening or intimidating language;
           •    Accounting for fear-based reactions (such as aggression, defensiveness, defiance, or
                flight);
           •    Using simple, direct language;
           •    Using repetition to reinforce instructions;
           •    Explaining the officer’s actions in clear, concrete language;
           •    Allowing time for the subject to comply with instructions; and
           •    Allowing a caregiver or family member an opportunity to speak to the youth to calm
                the youth down, when safe and appropriate.

In 2018, officers used at least one of these techniques in 6 out of 10 (60.0%) of the cases reviewed
that involved youth subjects. In 2019, officers used at least one technique in nearly 9 of 13 (69.2%)
incidents in the cases reviewed. In 2020, officers used at least one such technique in 12 of 14
(85.7%) cases evaluated.

The Consent Decree, and BPD policy,142 require that officers reasonably “take into account
individualized factors of the Youth including[] apparent age, body size, and relative strength of
the officer relative to the Youth; and risk posed by the Youth.”143 In 2018, Monitoring Team
reviewers were able to certify that officers reasonably considered these factors in fewer than half
(3 out of 7) of the reviewed cases where the requirement was applicable. In 2019, this increased
to 4 out of 7 cases. In 2020, 8 out of 10 cases where the requirement was applicable involved
officers appropriately taking individualized factors of youth subjects into account. It should also
be noted that, in 2022, BPD officers have received youth-specific training.

Reviewers concluded that BPD officers used pain compliance or pressure point control techniques
on a child or young person in 1 instance across the 2018 cases reviewed. Per BPD policy, the use
of such techniques on a child is only permitted if deadly force was justified at the time of
application. In the single application in 2018, this condition was not met. In 2019 and 2020,
reviewers identified no instances of BPD officers applying pain compliance or pressure point
control to young subjects.

Separately, Monitoring Team reviewers identified some instances across years where BPD officers
used force while a young subject was restrained – including 1 instance (out of 9 applicable cases)


142
      Policy 1115 at 10.
143
      Dkt. 2-2 ¶ 131(b).


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in 2018, 1 instance (out of 13 applicable cases) in 2019, and 3 instances (out of 13 applicable cases)
in 2020.

If a Youth is injured, BPD must also “take immediate steps to provide medical attention to the
Youth and will notify the Youth’s parent, guardian, or other responsible adult.”144 In 4 out of 10
cases in 2018, in 7 out of 13 cases in 2019, and in 3 out of 14 cases in 2020, a youth or child was
injured. These injuries resulted from the use of force in 2 cases in 2018, 4 cases in 2019, and 3
cases in 2020. In most but not all (5 out of 9) cases reviewed, a BPD member not involved with
the use of force notified the child or young person’s parent, guardian, or other responsible adult of
the child’s injury.

C.         Specific Requirements Relating to Officer Equipment

Consent Decree Paragraph 139 requires that “officers who carry a firearm also carry on their
person at least one less-lethal weapon which they are trained and certified to use, at all times on
while on duty . . . . ”145 BPD policy addresses this requirement by requiring that BPD officers
carry OC spray.

Across all reviewed cases, the Monitoring Team considered whether all officers who carried a
firearm also carried OC spray or another less-lethal weapon. On this account, Monitoring Team
reviewers were largely unable to certify, one way or another, from available information whether
all officers were equipped with a firearm and a less-lethal weapon (unable to determine for 66%
of reviewed 2018 cases, 75% of reviewed 2019 cases, and 71% of reviewed 2020 cases). Although
video footage shows the incident, that footage rarely permitted reviewers to reach definitive
conclusions about what force instruments involved officers carried. Thus, although the
Monitoring Team does not have reason to believe that BPD officers are not appropriately
equipped with less-lethal instruments, it cannot yet certify initial compliance with Paragraph
139 and its requirement that officers carry at least one less-lethal instrument.

Because body-worn camera footage typically depicts what officers are encountering and not what
is on their duty belt, that method of auditing compliance simply is unlikely to be realistic going
forward. To this end, enhanced documentation in force investigations about the weapons that
officers carried at the time of the incident will be necessary.

D.         Classification of the Force Incident




144
      Id. ¶ 131(d); accord Policy 1115 at 10.
145
      Dkt. 2-2 ¶ 139.


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As described previously, the Decree requires BPD to classify force “into levels for the purposes of
reporting and reviewing each use of force.”146 Policy 1115 incorporates the requirements of
Consent Decree Paragraph 140 into BPD policy.147

Monitoring Team reviewers considered, based on the totality of the materials available for review,
the Level of force for which each incident should have been properly classified – specifically, as
either a Level 1, Level 2, Level 3, or as an incident that did not constitute reportable force under
Policy 1115. In analyzing the results of these force incident audits, the Team compared its
assessments of force classification to BPD’s classifications.

Reviewers found that, in 2018, 13 reviewed cases were inappropriately classified as at a lower
level of force than they should have been – with 8 cases that should have been classified as a Level
2 incident classified instead as a Level 1 incident and 3 other cases classified as a Level 2 that
should have been classified as Level 3 force. Meanwhile, in 2018, 3 cases were classified at higher
levels than they should have been. In this way, about 8.5% of the cases that the monitoring team
reviewed were mis-classified.

By comparison, in 2019, 8 reviewed cases were classified at a lower level than they should have
been, while 5 cases were classified at a higher level than they should have been – making about
7.0% of all cases reviewed that inappropriately classified. Similarly, in 2020, 9 cases were
classified at a lower level than they should have been, while 2 cases were classified at a higher
level, making 6.5% of cases reviewed inappropriately classified.

Therefore, with respect to use of force classification, BPD’s performance is very close to reaching
initial compliance. However, (a) the volume of force cases that were misclassified without
personnel correcting the misclassification and (b) the fact that most of the misclassifications placed
the force incident into a lower level of force than they should be together lead the Monitoring
Team to want to see continued improvements on force level classification before it can certify
initial compliance with Paragraphs 139 and 140.

E.         Body Camera Footage of Force Incidents

Although the Department’s performance with respect to body-worn cameras (“BWC”s) is not
directly the subject of this assessment, capturing officer use of force is one of the many vital
functions that BWCs perform. BPD’s policy on BWCs, Policy 824, mandates that BPD members
whose “duties involve interactions with citizens and/or enforcement related activities . . . shall




146
      Id. ¶ 140.
147
      Policy 1115 at 5–6.


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wear the BWC at all times while on-duty.”148 The policy requires that officers activate their
cameras in a number of expressly defined circumstances, including:

       •   “[I]mmediately upon receipt of or response to any in-progress call, or activity likely to
           require immediate enforcement action”;
       •   “[U]pon arrival for routine, non-emergency calls for service”;
       •   “During any encounter with the public that becomes confrontational”; and
       •   “[I]mmediately upon obtaining probable cause or reasonable suspicion for” a stop.149

Other provisions that, for privacy reasons, generally restrict body-worn camera use in health care
facilities and in court proceedings specifically do not apply “in an anticipated use of force
instance.”150

Consequently, absent exceedingly rare and exceptional circumstances, body-camera footage of all
use of force incidents should be available. If an officer indicates that an incident was not
successfully captured due to a “BWC malfunction,” they must complete an Administrative Form
95 that explains the reason that no BWC footage was available.151

Separately, various policies and procedures – discussed in greater detail below – require that BPD
investigators seek available video footage from other sources, including other video footage from
BPD (such as video in a transport vehicle) or City of Baltimore cameras (such as CCTV cameras),
private business or surveillance footage, or civilian-captured footage.

Across the force incidents that the Monitoring Team reviewed, BPD force investigation files
contained video of the incident in a vast majority of incidents – including 97.4% of reviewed cases
in 2018, 96.8% of reviewed cases in 2019, and 95.9% of reviewed cases in 2020. Monitoring
Team reviewers found only a small number of cases in each of the years reviewed for which there
was no video recording of the incident available (5 cases (or 2.6% of cases reviewed) in 2018, 6
cases (3.2% of cases reviewed) in 2019, and 7 incidents (4.1% of cases reviewed) in 2020.

In the cases that Monitoring Team members reviewed, body-worn camera footage was available
in 85.8% of total 2018 cases, 86.7% of 2019 cases, and 98.2% of cases in 2020. When weighting
those results in the manner described at the outset of this section, this translates to body-worn
camera footage being available in 96.8% of all force incidents in 2018, 94.7% of incidents in 2019,
and 96.5% of incidents in 2020.


148
     Baltimore Police Department Policy 824, “Body Worn Camera” at 2 (last rev. Jan. 1, 2018),
https://www.baltimorepolice.org/sites/default/files/Policies/824_Body_Worn_Cameras.pdf.
149
    Id. at 4-5.
150
    Id. at 6.
151
    Id. at 3–4.


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 Among those cases where there was no captured footage whatsoever (whether body-worn camera
 or otherwise), most force investigation files included the required Administrative Form 95 form
 explaining why no body-worn camera footage was available (3 of the 5 cases in 2018, 4 of the 6
 cases in 2019, and 5 of the 7 cases in 2020). The improvement across time in body-worn
 camera compliance during force incidents and the high portion of incidents where video was
 captured in 2020 are generally consistent with initial compliance with BPD’s policy
 requirements relating to the use of body cameras during force incidents.

 Across all use of force incidents during 2018 through 2021, BPD’s own data on the availability of
 body-worn camera is generally consistent with the Monitoring Team’s findings – although a large
 number of data that BPD classified as “missing” data and that stretches into recent years will need
 to be addressed going forward, especially given that the presence or absence of camera footage is
 relatively easy to confirm during a review of a force incident. To this end, the Monitoring Team
 understands from BPD that a “video footage” data field in the electronic use of force reporting
 system was made a mandatory field in 2022, which has purportedly led to a dramatic reduction in
 missing data. Additionally, changes in the cross-linking capacities between Evidence.com, which
 stores body camera footage, and BPD incident reports promise to better integrated video footage
 across core electronics systems – which should also reduce the incidence of “missing” data going
 forward.

 Table 31.      BPD Data on Body-Worn Camera Recording of All Use of Force Incidents, by
                Involved Officers, 2018–2021

                                   Total      Level 1           Level 2             Level 3
                        2018       1,594      1,167 73.2%       409       25.7%     18     1.1%
Camera Recorded         2019       1,741      1,167 67.0%       515       29.6%     59     3.4%
Incident                2020       1,195      851     71.2%     334       27.9%     10     0.8%
                        2021       871        537     61.7%     297       34.1%     37     4.2%
                        2018       232        156     67.2%     74        31.9%     2      0.9%
Camera Partially        2019       282        181     64.2%     96        34.0%     5      1.8
Recorded Incident       2020       185        131     70.8%     53        28.6%     1      0.5%
                        2021       182        112     61.5%     70        38.5%     0      0.0%
                        2018       12         9       75.0%     2         16.7%     1      8.3%
Camera Activated but    2019       22         14      63.6%     8         36.4%     0      0.0%
Did Not Record Incident 2020       15         11      73.3%     4         26.7%     0.     0.0%
                        2021       10         8       80.0%     2         20.0%     0      0.0%
                        2018       28         21      75.0%     7         25.0%     0      0.0%
Camera Worn But Not     2019       23         16      69.6%     7         30.4%     0      0.0%
Activated               2020       21         15      71.4%     5         23.8%     1      4.8%
                        2021       14         7       50.0%     5         35.7%     2      14.3%
Camera Not Worn         2018       31         17      54.8%     13        41.9%     1      3.2%



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                                2019      24           17        70.8%       6         25.0%         1       4.2
                                2020      12           4         33.3%       8         66.7%         0       0.0%
                                2021      17           7         41.2%       3         17.6%         7       41.2%
                                2018      1,222        959       78.5%       260       21.3%         3       0.2%
                                2019      710          475       66.9%       225       31.7%         10      1.4%
Missing Data
                                2020      771          515       66.8%       219       28.4%         37      4.8%
                                2021      616          400       64.9%       205       33.3%         11      1.8%
                                2018      3,119        2,329     74.7%       765       24.5%         25      0.8%
                                2019      2,802        1,870     66.7%       857       30.6%         75      2.7%
Total
                                2020      2,199        1,527     69.4%       623       28.3%         49      2.2%
                                2021      1,710        1,071     62.6%       582       34.0%         57      3.3%
 Source: BPD (IAPro)
 Note: The unit of analysis is involved officers, not force incidents.

 A June 2022 report by the Office of Legislative Audits of the Maryland General Assembly
 independently identified some issues with BPD’s implementation and auditing of body-worn
 cameras and reported on BPD’s internal findings that “approximately ten percent of . . . officers
 audited were not in full compliance with the BWC policy” between 2017 and 2020.152

 The Monitoring Team notes that BPD’s various audits, and the Office of Legislative Audits
 review, focused on a broader universe of officer interactions and situations than simply use of
 force. Thus, the Monitoring Team’s findings here regarding the use of body-worn cameras in
 situations involving force have a narrower scope.

 F.       Application of Force

          1. Verbal Warning

 BPD policy requires that officers “announce that force will be utilized prior to the application of
 such force.”153 The Consent Decree notes that verbal warnings may serve as a de-escalation
 technique.154

 Monitoring Team evaluators therefore considered in each instance whether, where it was practical
 to do so, all involved officers announced that force would be utilized prior to the application of the
 force. In those cases where reviewers assessed that it was practical and reasonable under the
 circumstances to provide a warning before force was used – which were majorities in across all

 152
     Office of Legislative Audits, Department of Legislative Services, Maryland General Assembly, Performance Audit
 Report: Baltimore Police Department, Surveillance Equipment 2 (June 2022), available at
 https://www.scribd.com/document/579509219/BPD-Surveillance22-4#download&from_embed.
 153
     Policy 1115 at 6.
 154
     Dkt. 2-2 ¶ 511(y); accord id. ¶ 155 (specifically mandating that officers “issue a verbal warning . . . and allow a
 reasonable amount of time to allow the subject to comply with the warning” before applying OC spray).


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   years evaluated – the Monitoring Team found that officers are too frequently failing to issue
   warnings when they should. In both 2019 and 2020, officers were failing to warn in well more
   than half of the cases where they could. BPD performance with respect to giving verbal warnings
   when practical and reasonable under the circumstances will need to improve going forward.

   Table 32.      Force Incidents Where Officers Announced That Force Would be Utilized
                  Prior to the Application of Force

                    Yes                  No                   Unable to            Not Applicable
                                                              Determine
     Weighted
                    68.7      57.5%      47.2         39.5%   3.5         3.0      56.8       -
     Frequency
     Unweighted
                    75        55.1%      56           41.2%   5           3.7%     52         -
2018 Frequency
     Level 1        30        58.8%      19           37.3%   2           3.9%     31         -
     Level 2        35        55.6%      28           44.4%   0           0.0%     12         -
     Level 3        9         45.0%      8            40.0%   3           15.0%    7          -
     Weighted
                    33.7      28.5%      79.4         67.1%   5.1         4.3%     65.0       -
     Frequency
     Unweighted
                    34        30.1%      73           64.6%   6           5.3%     73         -
2019 Frequency
     Level 1        16        28.6%      38           67.9%   2           3.6%     30         -
     Level 2        14        27.5%      34           66.7%   3           5.9%     27         -
     Level 3        4         66.7%      1            16.7%   1           16.7%    16         -
     Weighted
                    45.9      43.3%      58           54.7%   2.1         2.0%     59.5       -
     Frequency
     Unweighted
                    46        43.4%      56           52.8%   4           3.8%     64         -
2020 Frequency
     Level 1        23        41.8%      32           58.2%   0           0.0%     29         -
     Level 2        19        48.7%      17           43.6%   3           7.7%     25         -
     Level 3        4         33.3%      7            58.3%   1           8.3%     10         -

   For example:

          •    Case No. 92 (Level 2, 2018). Officers drove up on a subject who was walking. They
               exited the car and immediately tackled the subject, without providing any verbal
               warnings or instructions. The subject was taken down to the ground as his arms
               appeared to be highly torqued and twisted behind his back to permit handcuffing.




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                  •    Case No. 446 (Level 2, 2018). An officer applied a Taser to a subject, who was
                       refusing to leave the area of a school, without providing a warning – despite there being
                       sufficient time to do so and the fact that, at the time of the Taser application, the subject
                       was non-compliant but not aggressive toward the officer or others.

                  •    Case No. 538 (Level 2, 2019). A CitiWatch camera operator observed the subject
                       involved in a drug transaction. Officers arrived, exited their vehicle, and approached
                       the subject on foot. Officer 1 had initial contact with the subject, grabbing him by the
                       left wrist and trying to place the subject’s hands behind his back in an attempt to
                       handcuff him. Even as the initial placing of hands on the subject is low-level force, it
                       was feasible under the circumstances for the involved officer to have first warned the
                       subject that he was under arrest and that force would be used if the subject did not
                       comply before going “hands on” with the subject.

                  2. Use of Prohibited Force

       Pursuant to the Consent Decree, BPD policy prohibits a number of specific types of force in most
       situations unless certain, expressly defined exceptions are met. This section considers each of
       these requirements, and BPD’s adherence to them, in turn.

                           a. Force Against Handcuffed or Otherwise Restrained Subjects

       BPD policy prohibits the use of force “against persons who are handcuffed or otherwise
       restrained.”155 The only exception is “where the Totality of Circumstances makes it Reasonable
       and Necessary to prevent injury or escape,” although “if the person’s actions only present a risk of
       property damage,” then force against a restrained subject is nonetheless prohibited.156

       Table 33.           Percentage of Force Incidents where Officers Used Force Against Subject(s)
                           Handcuffed or Otherwise Restrained

                              Yes                       No                      Unable to           Not Applicable
                                                                                Determine
             Weighted         11.4         6.5%         164             93.2%   0.6         0.3%    0.2         -
             Frequency
             Unweighted       11           5.9%         173             93.5%   1           0.5%    3           -
2018
             Frequency
             Level 1          5            6.1%         77              93.9%   0           0.0%    0           -
             Level 2          6            8.0%         68              90.7%   1           1.3%    0           -

       155
             Policy 1115 at 7; accord Dkt. 2-2 ¶¶ 132, 152, 157, 166(j).
       156
             Policy 1115 at 7.


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             Level 3          0           0.0%     25            100.0%   0          0.0%   2
             Weighted         16.6        9.0%     166.3         91.0%    0          0.0%   0.4         -
             Frequency
     Unweighted               19          10.4%    164           89.6%    0          0.0%   3           -
2019 Frequency
     Level 1                  6           7.0%     80            93.0%    0          0.0%   0           -
     Level 2                  11          14.1%    67            85.9%    0          0.0%   0           -
     Level 3                  2           10.5%    17            89.5%    0          0.0%   3           -
             Weighted         8.2         5.0%     155.2         95.0%    0          0.0%   2.2         -
             Frequency
             All Force        10          6.1%     155           93.9%    0          0.0%   5           -
2020
             Level 1          4           4.8%     79            95.2%    0          0.0%   1           -
             Level 2          3           4.7%     61            95.3%    0          0.0%   0           -
             Level 3          3           16.7%    15            83.3%    0          0.0%   4           -

       As Table 33 details, there was an increase in 2019 in officers inappropriately using force against
       already restrained subjects. Although the rate of compliance with this requirement (i.e., the
       percentage of instances in which officers complied with requirements by not using force against
       handcuffed or restrained subjects) returned to levels equivalent to 2018 in 2020, the significance
       of this requirement combined with the inconsistent trends over the years studied leads the
       Monitoring Team to conclude that continued progress across incidents in the future would
       likely be consistent with initial compliance.

                           b. Types of Force Prohibited Unless Deadly/Lethal Force is Justified and No
                              Reasonable Alternatives Exist

                                     i.    Application of Force to Sensitive Areas

       The Consent Decree defines “lethal force” as any “force likely to cause death or serious physical
       injury,” which includes “strike[s] to the head, neck, or throat with a hard object.”157 Consequently,
       BPD’s Use of Force policy includes “[s]trikes with any hard object . . . to the person’s head, neck,
       sternum, spin, groin, or kidneys” as among those types of force that “are prohibited unless the use
       of Deadly Force/Lethal Force is authorized and no reasonable alternatives exist.”158 The elevated
       sensitivity of these areas of the body and the elevated risk of force applied to them mean that the
       force is considered a deadly force option that may be applied only when officers would be
       authorized to apply any other type of lethal force (i.e., using a firearm).



       157
             Dkt. 2-2 ¶ 511(yy).
       158
             Policy 1115 at 8.


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Across most of the various force provisions limiting the application of certain types of force to
certain sensitive areas of the body, BPD has reached appears initial compliance. With respect to
holds involving a subject’s neck or head, even as the technique is not widely used – occurring in
3.0% of reviewed cases in 2020, for example – the significance of the force maneuver points
toward the need for BPD to advise officers further about the use of such techniques.

The Monitoring Team found that strikes to a person’s sensitive areas with a hard object were
exceedingly rare in the cases reviewed – surfacing in 3 evaluated cases in 2018 (1.6% of cases
reviewed, 0.2% of all incidents weighted), no cases in 2019, and 1 case in 2020 (0.6% of cases
reviewed, 0.1% of all incidents weighted).

BPD similarly prohibits “[i]ntentional strikes of a persons’ head against a hard, fixed object
including . . . a roadway, concrete floor, wall, or iron bars” unless deadly force would be justified
and no reasonable alternatives exist.159 Strikes of a person’s head against a hard object were also
rare in the cases evaluated, occurring in 2 instances in 2018 (1.1% of cases reviewed, 0.4% of all
incidents weighted) and in no cases in either 2019 or 2020.

Policy also prohibits officers from “kneeing,” “kicking,” or otherwise striking “a person’s head,
neck, back, or torso.”160 BPD officers complied with this policy, as well, with just 2 cases from
2018 (1.1% of cases reviewed, 0.7% of all incidents weighted) reviewed by the Monitoring Team,
2 cases in 2019 (1.1% of cases, 0.4% of all incidents weighted), and 1 case in 2020 (0.6%, 0.1%
of all incidents weighted) involving kneeing, kicking, or striking sensitive areas.

Separately, Policy 1115 prohibits “[i]ntentionally deploying a CEW to the neck, chest, groin or
face of a person” unless deadly force would be authorized and no reasonable alternatives exist.161
Officers are generally not applying CEWs inappropriately to sensitive areas, with this occurring
in 3 instances in cases reviewed from 2018 (1.6% of cases reviewed, 0.5% of all incidents
weighted), in 1 2019 incident (0.5% of cases reviewed, 0.4% of all incidents weighted), and in no
cases in 2020.

BPD prohibits “chokeholds” and “neck holds,” which are defined in policy as “any hold or contact
with the neck that may inhibit breathing by compression of the airway in the neck[;] may inhibit
blood flow by compression of the blood vessels in the neck[;] or that applies pressure to the front,
side, or back of the neck.”162 The only exception is for instances where deadly/lethal force would
be justified.163 As Table 34 summarizes, officers across most evaluated incidents are not generally
applying chokeholds or neck holds. Indeed, in some situations where contact with a subject’s head

159
    Id.
160
    Id.
161
    Id. at 9.
162
    Id. at 2, 9.
163
    Policy 1115 at 2, 9.


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   or neck was noted, reviewers observed that the contact with the neck appeared to be unintentional
   or the byproduct of a physical struggle with the subject. For example:

           •   Case No. 481 (Level 3, 2020). Officers responded to serve an arrest warrant. They
               found the person named in the warrant asleep in a chair on the front porch of a
               residence. As a responding sergeant placed a handcuff on one of the subject’s wrists,
               the subject became actively aggressive and tried to pull away from the sergeant.

               During the physical struggle that ensued, for a brief moment, the sergeant’s arm went
               around the subject’s neck as he tried to take him to the ground. It did not appear from
               available video that there was any choking of the subject as a result of the arm
               placement or that the subject was deprived of blood or oxygen to the brain. However,
               the location of the arm appears to fit the definition of a neck hold under BPD policy.
               The circumstances surrounding the application, the brief length of time it was applied,
               and the lack of injury to the subject all point to the neck hold being a byproduct of the
               struggle.

   Across most force cases, BPD officers appropriately did not deploy neck holds or chokeholds.
   However, because chokeholds or neck holds are lethal force, and reviewers found that the holds
   were used even though not warranted by the totality of the circumstances, BPD must continue to
   advise officers regarding the general prohibition on chokehold or neck holds.

   Table 34.       Force Incidents Where Involved Officers Used a Chokehold or Neck Hold

                    Yes                   No                     Unable to              Not Applicable
                                                                 Determine
       Weighted 2.1            1.2%       173.1       98.4%      0.7         0.4%       0.2        -
       Frequency
       All Force    6          3.2%       177         95.7%      2           1.1%       3          -
2018
       Level 1      0          0.0%       82          100.0%     0           0.0%       0          -
       Level 2      3          4.0%       71          94.7%      1           1.3%       0          -
       Level 3      3          12.0%      21          84.0%      1           4.0%       2          -
       Weighted 3.1            1.7%       175.5       96.0%      4.3         2.3%       0.4        -
       Frequency
       All Force    5          2.7%       174         95.1%      4           2.2%       3          -
2019
       Level 1      1          1.2%       83          96.5%      2           2.3%       0          -
       Level 2      2          2.6%       74          94.9%      2           2.6%       0          -
       Level 3      2          10.5%      17          89.5%      0           0.0%       3          -
       Weighted 0.9            0.6%       162.9       98.8%      1           0.6%       0.7        -
2020
       Frequency


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      All Force    5                3.0%       158       95.2%      3         1.8%      4         -
      Level 1      0                0.0%       84        100.0%     0         0.0%      0         -
      Level 2      0                0.0%       63        98.4%      1         1.6%      0         -
      Level 3      5                27.8%      11        61.1%      2         11.1%     4         -

BPD policy prohibits the “[d]ischarge of a Less-Lethal Launcher to the chest, neck, or head at
close range.”164 Monitoring Team auditors identified no cases in any of 2018, 2019, or 2020 where
a Less-Lethal Launcher was discharged to the chest, neck, or head at close range.

                              ii.       Application of Force to Person Whose Health, Age, Condition, or
                                        Circumstances Makes it Likely that Death or Serious Physical
                                        Injury Will Result

Policy 1115 also prohibits, except where deadly or lethal force would be justified and no
reasonable alternative exists, the application of force to individuals “whose health, age, condition,
or circumstances make it likely that death or Serious Physical Injury will result.”165 Because no
instances were identified in any of 2018, 2019, or 2020 where force was applied to individuals
whose specific health, age, condition, or circumstances would have been identified by a
reasonable officer as making it likely that death or Serious Physical Injury would result, the
Monitoring Team finds BPD’s performance consistent with initial compliance.

                             iii.       Firing a Weapon in Particular Circumstances

BPD’s Use of Force Policy prohibits “[f]iring into crowds” in all circumstances. 166 Across all
cases reviewed, there were no identified instances in which a BPD officer fired into a crowd.

BPD policy similarly prohibits the firing of “warning shots” in all circumstances. 167 This report
considers this requirement in its discussion of additional firearms-specific requirements, below.

Policy 1115 also generally prohibits “fir[ing] any weapon from or at a moving vehicle.”168 Across
cases that the Monitoring Team reviewed, instances where officers fired a weapon from or at a
moving vehicle were rare, occurring twice in 2018 (1.1% of cases reviewed, 0.1% of all incidents
weighted), twice in 2019 (1.1% of cases reviewed, 0.2% of all incidents weighted), and 3 times in
2020 (1.8% of cases reviewed, 0.4% of all incidents weighted).



164
    Id. at 9.
165
    Id.
166
    Id.
167
    Id.
168
    Policy 1115 at 9; Dkt. 2-2 ¶ 165.


                                                        92
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Two exceptions to the general prohibition against firing at or from moving vehicles may apply.
First, a member could fire a weapon at or from a moving vehicle “[t]o counter an immediate threat
of death or Serious Physical Injury” to an officer or another person that is posed “by a person in
[a] vehicles using means other than the vehicle.”169 This applied in 2 of the 3 reviewed cases in
2020. Second, a member could fire a weapon at or from a moving vehicle “[t]o counter a situation
where the member or another person is unavoidably in the path of the vehicle and cannot move to
safety,” though officers cannot “position themselves in the path of a moving vehicle” such that
“they have no option but to use Deadly Force/Lethal Force.”170 This applied in the remaining 1 of
the 3 reviewed instances in 2020.

Consequently, the Monitoring Team finds BPD to be in initial compliance with requirements
relating to prohibitions against the firing of weapons into crowds, as warning shots, and from
or at moving vehicles.

                        iv.    Force Against Individuals Engaging in First Amendment Activity

Consistent with Paragraph 133 of the Decree, BPD officers “are prohibited from using force” to
retaliate against “persons engaged in First Amendment protected activities.”171 The Monitoring
Team’s review identified no cases of force against individuals engaged in First Amendment
activities in 2018, one case in 2019 (0.5% of cases reviewed, 1.9% of all incidents weighted), and
three cases in 2020 (1.8% of cases reviewed, 2.9% of all incidents weighted). In one instance, in
2020, the force reasonably appeared as though it may have been directly in retaliation against an
individual engaged in First Amendment activities.

A standalone policy, Policy 804, specifically addresses First Amendment-protected activity, and
the Department’s adherence to various requirements relating to the First Amendment will be the
subject of a separate, forthcoming Monitoring Team compliance review and outcome assessment.
Nevertheless, with respect to Paragraph 133, the consistently low number of cases in which
force appeared to be retaliatory against persons exercising their First Amendment rights is
consistent with initial compliance.

                         v.    Force Used to Punish a Subject

Consistent with Paragraph 134 of the Decree, BPD Policy 1115 prohibits officers from using force
“to punish persons for fleeing, resisting arrest or assaulting a member, or for any other reason.”172
Overall, BPD officers are by and large not using force to punish in this way, complying with


169
    Policy 1115 at 9.
170
    Id.
171
    Id. at 2.
172
    Id.


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Decree and Policy requirements in 98.1% of all incidents (weighted) where applicable in 2018,
98.1% of all incidents (weighted) in 2019, and 98.4% of all incidents (weighted) in 2020.

Reviewers identified 5 cases in 2018 in which force appeared to be used to punish the subject for
fleeing, resisting arrest, or assaulting an officer. When weighted to account for the overall
frequency of force levels in the manner described previously, this amounted to 1.7% of 2018 force
incidents overall. Force was used to punish the subject in 4 cases (1.6% of overall incidents
weighted) in 2019, and 4 cases (1.2% of overall incidents weighted) in 2020.

Table 35.      Force Incidents Where Force Was Used to Punish the Subject for Fleeing,
               Resisting Arrest, or Assaulting an Officer

                             Yes                      No                   Not Applicable
             Weighted        3.0        1.7%          172.9    98.1%       0.2        0.1%
             Frequency
           Unweighted        5          2.7%          180      95.7%       3          1.6%
      2018 Frequency
           Level 1           1          1.2%          81       98.8%       0          0.0%
           Level 2           2          2.7%          73       97.3%       0          0.0%
           Level 3           2          7.4%          23       85.2%       2          7.4%
             Weighted        3.0        1.6%          179.9    98.1%       0.4        0.2%
             Frequency
           Unweighted        4          2.2%          179      96.2%       3          1.6
      2019 Frequency
           Level 1           1          1.2%          85       98.8%       0          0.0%
           Level 2           2          2.6%          76       97.4%       0          0.0%
           Level 3           1          4.5%          18       81.8%       3          13.6%
             Weighted        2.0        1.2%          162.8    98.4%       0.7        0.4%
             Frequency
           Unweighted        4          2.4           162      95.3%       4          2.4
      2020 Frequency
           Level 1           1          1.2%          83       98.8%       0          0.0%
           Level 2           0          0.0%          64       100.0%      0          0.0%
           Level 3           3          13.6%         15       68.2%       4          18.2%

BPD identified some, but not all, of the incidents in which officers appeared to use force to punish
the subject for fleeing, resisting arrest, or assault the officer. In 2018, BPD found as out of policy
2 of the 5 incidents that the Monitoring Team identified as implicating the issues. In 2019, BPD
determined 2 of 3 incidents to be out of policy. In 2020, BPD closed 1 of 3 cases as out of policy,



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   with one case, being handled by SIRT, still open, though the involved member has resigned. An
   additional two cases from 2020 lacked disposition data.

   The rate of compliance in 2020 – 98.4% across all 2020 force incidents, per weighted statistics –
   establishes a presumption of compliance. However, other factors weigh against a certification of
   compliance. Specifically, BPD appropriately identified some, but not all instances of retaliation
   in each year from 2018 through 2020. Further, the severity of the force used, the propensity for
   such retaliatory force incidents to undermine community confidence, and the abdication of
   professional responsibility and restraint inherent in incidents implicating concerns about retaliation
   are significant. Consequently, even as it does not appear that retaliatory force is very common,
   BPD will need to demonstrate that it identifies those limited instances where it occurs and takes
   appropriate corrective action with respect to officers who impermissibly use force to punish.
   Although the Department is close to compliance, the Monitoring Team will look to see that
   the Department improves at identifying and addressing instances where retaliatory force
   occurs before being able to find initial compliance with respect to Paragraph 134’s provision
   prohibiting punitive force.

                               vi.     Use of Weapons/Techniques Not Allowed or Not Trained

   BPD policy provides that an officer “may only use weapons and/or force techniques that are
   allowed by policy and on which the member is trained, unless warranted by the Totality of the
   Circumstances.”173 The incidence of unapproved weapons and force techniques declined
   between 2018 and 2020, with officers very infrequently using weapons or force techniques
   not allowed by policy or on which officers were not trained – which is consistent with initial
   compliance.

   Table 36.           Did Members Use Any Weapons and/or Force Techniques Not Allowed by
                       Policy and/or On Which the Member Was Not Trained?

                         Yes                  No                  Unable to             Not Applicable
                                                                  Determine
         Weighted 4                  2.3%     170.8     97.4%     0.6         0.3%      0.7         -
         Frequency
         All Force       10          5.3%     174       92.1%     1           0.5%      3           -
2018
         Level 1         1           1.2%     81        98.8%     0           0.0%      0           -
         Level 2         3           4.1%     70        94.6%     1           1.4%      1           -
         Level 3         6           23.1%    20        76.9%     0           0.0%      1           -
         Weighted 1.6                0.9%     179.9     98.3%     1.4         0.8%      0.3         -
2019
         Frequency

   173
         Policy 1115 at 6.


                                                      95
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         All Force    4       2.2%       177        95.2%      3          1.6%       2          -
         Level 1      0       0.0%       86         100.0%     0          0.0%       0          -
         Level 2      2       2.6%       74         94.9%      2          2.6%       0          -
         Level 3      2       10.0%      17         85.0%      1          5.0%       2          -
         Weighted 0.7         0.4%       164.1      99.1%      0.7        0.4%       0.7        -
         Frequency
         All Force    4       2.4%       162        95.3%      0          0%         4          -
2020
         Level 1      0       0.0%       84         100.0%     0          0.0%       0          -
         Level 2      0       0.0%       64         100.0%     0          0.0%       0          -
         Level 3      4       18.2%      14         63.6%      4          18.2%      4          -

   Still, of those instances where an officer used unapproved weapons or techniques, very few were
   justified by the totality of the circumstances. Specifically, of the 10 cases involving use of an
   unapproved weapon or techniques that the Monitoring Team reviewed from 2018, 7 were not
   warranted by the totality of the circumstances; in 2019, 3 of the 4 cases were not warranted; and
   in 2020, 3 of the 4 incidents cases not warranted. Of the 3 cases where the force was inconsistent
   with the core necessity, proportionality, reasonableness, or de-escalation requirements, BPD found
   one case “out of policy,” while the other case remains open and does not currently have a recorded
   disposition.

   The Monitoring Team observes that, across the audited years, multiple cases involved the
   application of various types of force to an individual’s neck or mouth area that ostensibly were
   intended to prevent a subject from swallowing drugs or other potentially dangerous subjects. The
   intent of preventing a subject from harming themselves is certainly principled, but the potential
   risk of such force under those circumstances must be adequately weighed. The Monitoring Team
   advises BPD to provide follow-up guidance and training to officers on how to address subjects
   who may be attempting to ingest harmful substances.

   Although the Monitoring Team will want to see continuing evidence of BPD identifying and
   correcting any instances of force that uses weapons or techniques not a part of BPD training or
   specific policy mandates, the sustained, low frequency of instances where officers used
   unauthorized weapons or techniques that were not justified establishes initial compliance
   with implicated policy provisions.

   G.          Deadly Force

   BPD policy defines Deadly Force/Lethal Force as “[a]ny force likely to cause death or Serious
   Physical Injury, whether the member intended to cause death or Serious Physical Injury or not.”174

   174
         Id. at 3.


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Serious Physical Injury is defined, in turn, as “a disfigurement or substantial disruption or harm to
one or more body parts, organs, or systems.”175 Expressly identified examples of Deadly
Force/Lethal Force include:

         •    The discharge of a firearm at a person;
         •    Strikes with any hard object such as a baton, flashlight, radio, weapon stock/handle, or
              Improvised
         •    Impact Weapon to the head, neck, sternum, spine, groin, or kidneys;
         •    Intentionally striking a person’s head against a hard, fixed object such as a roadway,
              concrete floor, wall, or iron bars;
         •    Knee strikes or kicks to a person’s head;
         •    Any strikes to a person’s throat;
         •    “Knee drops” against a prone or supine person’s head, neck, or torso;
         •    Chokeholds/Neck Holds;
         •    Shooting someone in the head, neck, chest, or back, with a Less-Lethal Launcher at
              close range.
         •    The use of any force on a person whose health, age, condition, or circumstances make
              it likely death or Serious Physical Injury will result.176

In this way, Deadly Force includes more than solely an officer using a firearm. It may include
force that does in fact cause death, where the risk of death is reasonably foreseeable, as well as
any force of a type that, because of its nature and the risk of significant physical harm, is likely to
cause serious injury regardless of whether such physical harm did or did not occur in the particular
incident. Thus, an officer has used Deadly Force when, for instance, they have discharged a
weapon that does not strike an individual, delivered a knee strike to the head that did not cause a
subject injury, or applied a physical maneuver that “applie[d] pressure to the front, side, or back
of the neck” consistent with the Department’s definition of a Chokehold/Neck Hold.177

The Monitoring Team reviewed, as described previously, all Level 3 force – and, therefore, all
instances of deadly/lethal force. In some instances, the Team also encountered incidents that were
classified as another Level but should have been classified as a Level 3.

BPD policy provides that “[t]he use of Deadly Force/Lethal Force shall always be the last
resort.”178 Consistent with this charge, officers “shall not use Deadly Force/Lethal Force unless




175
    Id. at 4.
176
    Id. at 3.
177
    Id. at 2.
178
    Policy 1115 at 7.


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they have exhausted de-escalation and Less-Lethal Force options have been tried and failed, or are
not safe based on the Totality of the Circumstances.”179

The Monitoring Team evaluated whether involved officer(s) tried all Less-Lethal Force options
that were safe based on the Totality of the Circumstances and whether those options failed before
they employed deadly force. Of the 12 deadly/lethal force applications in 2018, in 4 circumstances
(or one-third of all deadly/lethal force applications that year), not all less-lethal force options safe
under the totality of circumstances were tried and failed. In 2019, the prevalence and proportion
of deadly force where all other options were not tried and failed were much lower. Of the 16
deadly/lethal force applications, only 2 involved a failure to exhaust less-lethal force options. In
2020, of the 11 deadly/lethal force applications, 2 incidents involved a failure to exhaust less-lethal
options. The decline of cases in 2019 and 2020 in which officers deployed deadly/lethal force
options before exhausting other reasonably available, less-lethal options is a positive
development for which BPD and officers should be commended.

BPD policy further provides that Deadly Force/Lethal Force may be used only when officers
“reasonably believe” that such force “is immediately necessary to protect a member or another
person from an Imminent Threat of death or Serious Physical Injury.”180 The Monitoring Team
therefore evaluated whether a reasonable officer, in the circumstances of the involved officer(s),
would have believed that Deadly Force/Lethal Force was necessary to protect from an imminent
threat.

In 2018, 4 of 12 deadly/lethal force applications were instances where reviewers determined that
a reasonable officer would not have believed that deadly/lethal force was immediately necessary
to protect against an imminent threat. In 2019, the incidence declined to 2 of 16 deadly/lethal force
applications. In 2020, the incidence was 3 out of 11 deadly/lethal force applications. Across the
9 total instances where deadly/lethal force was used when not necessary to protect against an
imminent threat, subjects received injuries of some type in 6 cases. No subject injuries in those 9
cases were fatal.

BPD policy prohibits the use of Deadly Force/Lethal Force in some circumstances. First, Deadly
Force/Lethal Force may “not be used to subdue persons whose conduct is a threat only to
property.”181 Generally, BPD officers are complying with this requirement. In 2018, 1 case
implicated the use of deadly force to subdue a subject whose conduct was solely a threat to
property. In both 2019 and 2020, no deadly force incidents involved the application to individuals
who only posed a threat to property.



179
    Id. at 7–8.
180
    Id. at 3.
181
    Id. at 8.


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Second, Deadly Force/Lethal Force may “not be used against persons whose conduct is a threat
only to themselves.”182 BPD officers appropriately did not use deadly/lethal force in this way in
any of 2018, 2019, or 2020.

Finally, officers may use Deadly Force/Lethal Force “to prevent the escape of a fleeing person”
only if several conditions are met.183 BPD officers used deadly/lethal force against fleeing subjects
3 times in 2018, 3 times in 2019, and in 1 instance in 2020. That force may be justified under BPD
policy if, first, “no Reasonable force alternative exists.”184 Across the 7 instances in 2018, 2019,
and 2020, the Monitoring Team could not identify another reasonably available force option.
However, the absence of an alternative to deadly/lethal force under the circumstances does not
automatically authorize the use of such force under BPD policy. Instead, force may be used only
when there is probable cause to believe three specific things. First, officers must have probable
cause that “[t]he person has committed or is in the process of committing a felony involving the
infliction or threatened infliction of Serious Physical Injury or death.”185 In 2018, reviewers
concluded that this applied to 1 of the 3 incidents at issue. In 2019, this applied to all 3 of the 3
relevant incidents. In 2020, this applied to the 1 relevant incident. Second, officers must also have
probable cause that “[t]he escape of the person would pose an Imminent Threat of death or Serious
Physical Injury to the member or another unless the person is apprehended without delay.”186 This
requirement was met in 2 of 3 incidents in 2018, in all 3 incidents in 2019, and in the 1 incident in
2020. Finally, officers must have identified themselves, warned the subject of the intention to use
deadly/lethal force, and provide “a reasonable opportunity to comply voluntarily” as “time, safety,
and the circumstances permit.”187 This requirement was met in 1 of 3 incidents in 2018, in 2 of 3
incidents in 2019, and was judged “not applicable” under the circumstances in the 2020 case.

Regardless of whether the subject is fleeing, officers applying deadly/lethal force must also,
“[w]here safety permits,” identify themselves “as a law enforcement officer and state” their
“intention to use Deadly Force/Lethal Force before using a firearm or employing Deadly
Force/Lethal force.”188 Officers failed to do so where Monitoring Team reviewers indicated that
it was feasible under the circumstances in 3 of 12 deadly/lethal force incidents in 2018, in 2 of 16
incidents in 2019, and in 3 of 11 incidents in 2020.

“Prior to the decision to employ Deadly Force/Lethal Force,” officers “shall consider
environmental considerations such as field of fire, backdrop, bystanders, potential for ricochet,
possibility of over-penetration, and other risks to life” beyond only those posed to the subject.189

182
    Id.
183
    Policy 1115 at 8.
184
    Id.
185
    Id.
186
    Id.
187
    Id.
188
    Policy 1115 at 8; Dkt. 2-2 ¶ 163.
189
    Policy 1115 at 8.


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Monitoring Team reviewers indicated that officers did not reasonably account for such
environmental considerations in 3 of 12 deadly/lethal force incidents in 2018, in 4 of 16 incidents
in 2019, and in 1 of 11 incidents in 2020. In only a limited number of these instances implicating
environmental considerations did Monitoring Team reviewers conclude that a reasonable officer
under the circumstances would have considered the environmental factors – in 1 of the 3 cases in
2018, 2 of the 4 cases in 2019, and not in the 2020 case. This means that, although issues related
to backdrop, bystanders, and the like were implicated in some deadly/lethal force incidents, a
reasonable officer under the circumstances may not have been able to actively evaluate them in at
least some instances.

Overall, three of the 11 deadly/lethal force incidents in 2020 were evaluated by the Monitoring
Team as inconsistent with the Decree and BPD policy’s core requirements regarding necessity,
proportionality, reasonableness, and de-escalation. Considering this in light of BPD’s compliance
with other requirements discussed above, the Monitoring Team can conclude that BPD is making
continuing, sustained improvements with respect to the application of deadly/lethal force – with
such force increasingly being used as a last resort and consistent with BPD policy. However, the
gravity of the force implicated points toward BPD needing to demonstrate further
improvement in connection to the deployment of such force.

H.     Force Instrument-Specific Considerations

In addition to general and overall requirements that apply to all uses of force, regardless of the
type, instrument, or technique used, the Consent Decree – and therefore BPD policy – includes
many specific and detailed requirements that relate to specific force instruments. These policies
on specific instruments outline specific considerations and additional requirements that allow BPD
officers to adhere to the general requirements and principles of BPD’s general Use of Force Policy
and the Consent Decree. The following sections evaluate BPD’s adherence to the Decree’s various
requirements on the use of firearms, CEWs (Tasers), batons and Impact Weapons, and OC spray
(pepper spray).

       1. Firearms

The discharge of a firearm is always classified as Deadly Force/Lethal Force under BPD policy,
and the requirements governing Deadly Force/Lethal Force apply. This report analyzes BPD’s
adherence to these requirements elsewhere (see “Deadly Force,” above).

Overall BPD data across all uses of force show that BPD officers discharged firearms during a
relatively steady number of incidents across 2018 through 2021 (16 incidents in 2018, 27 in 2019,




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16 in 2020, and 21 in 2021). It appeared that all officers who used firearms were appropriately
qualified to carry a firearm.190

Additional requirements apply to officers exhibiting or pointing a firearm at a person, regardless
of whether it is discharged. BPD’s Policy 409, Firearms Regulations, specifically addresses the
un-holstering, exhibiting, and pointing of a firearm.191 That policy prohibits officers from
“point[ing] a firearm at a person unless they reasonably believe that the person poses a present or
imminent threat of death or serious physical injury to the member or another person.”192

Across all BPD uses of force, the number of instances in which officers pointed a firearm at a
subject decreased notably – from 461 incidents in 2018 to 209 incidents in 2021. Focusing on
the subset of force cases that were the subject of the Monitoring Team’s structured qualitative
review, across the 21 identified cases in 2018 where officers pointed a firearm at a person, 30 cases
in 2019, and another 30 cases in 2020, Monitoring Team evaluators determined that in only 1 2018
case would a reasonable officer under the circumstances not have believed that the situation might
escalate to create an imminent threat of serious bodily injury to an officer or another person. Thus,
nearly all instances where officers pointed firearms at subjects were consistent with BPD
policy and the Decree.

Finally, officers may not fire warning shots.193 The assessment identified no instances in any of
2018, 2019, or 2020 where the discharge of a firearm was a warning shot.

Thus, with respect to un-holstering, exhibiting, and pointing a firearm at subjects and
avoiding the firing of warning shots, the Monitoring Team concludes that BPD officer
performance appears to have been superior during the time period evaluated and consistent
with initial compliance.

         2. CEWs (Tasers)

BPD officers may be equipped, and may use, several types of less-lethal force instruments. Less-
Lethal Force, per BPD policy, is “[f]orce that, when employed as designed, intended, and
consistent with policy and training, is not likely to cause death or Serious Physical Injury.”194

One such less-lethal tool is a CEW, or Taser. A Taser has two “modes”: probe mode and drive-
stun mode. In probe mode, the Taser fires two “darts” or “probes” at a subject that are attached to


190
    Dkt. 2-2 ¶ 161.
191
    Policy 409 at 4; Dkt. 2-2 ¶ 160.
192
    Policy 409 at 4.
193
    Policy 1115 at 9; Dkt. 2-2 ¶ 164.
194
    Policy 1115 at 3.


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electricity-conducting wires.195 “If both darts make contact, a circuit is completed and a[n] . . .
electrical charge cycle is initiated.”196 This electrical charge delivers rapid, non-continuous
electrical pulses that “overwhelm[] the normal nerve traffic, causing involuntary muscle
contractions[,] . . . impairment of motor skills,”197 and temporary neuro-muscular incapacitation.
The second mode, drive-stun mode, “is not designed to cause incapacitation.”198 Instead, the Taser
acts “as a traditional stun gun-type” instrument as “a pain compliance option.”199

According to BPD’s overall statistics on all uses of force, CEW use declined over the period of
2018, from 77 incidents in 2018 to 17 incidents in 2021 – a 77.9% drop. The pointing of a CEW,
or displaying the electrical arc to a subject to get the subject to comply, also fell, from 131 instances
in 2018 to 50 instances in 2021 – a 61.8% drop overall.

In the subset of incidents that the Monitoring Team evaluated qualitatively, the Taser was almost
always deployed in “probe mode.” In 2 reviewed deployments (of 23) in 2018, 2 (of 9) in 2019,
and 3 (of 10) in 2020, the Taser was used during the incident at some juncture in both “probe” and
“drive stun” modes. In 1 reviewed case in 2018, the Taser was used in “drive stun” mode only.

The Consent Decree prohibits the use of “drive-stun mode as a pain compliance technique.”200
Instead, drive-stun mode is only acceptable either (a) “to supplement the probe deployment to
complete the incapacitation circuit” of the Taser in probe mode, or (b) “as a countermeasure to
gain separation between the officer and the subject so that officers can consider another force
option.”201 Across the 8 reviewed Taser applications (3 in 2018, 2 in 2019, and 3 in 2020) that
involved “drive stun” mode in some manner, at least one of these required conditions was met in
only one instance (in 2019, where the CEW was used in “drive stun” mode to supplement the
probe deployment to complete the incapacitation circuit). In all other instances, the requirements
for use in “drive stun” mode were not satisfied. BPD will likely need to provide additional training
to officers on the narrow circumstances in which using the Taser in “drive stun” mode is
appropriate.




195
    Beaver v. City of Federal Way, 507 F. Supp. 2d 1137, 1142–43 (W.D. Wash. 2007).
196
    Id.
197
            “How         the        Taser        Works,”        Boston.com       (Feb.     23,    2013),
https://www.boston.com/uncategorized/noprimarytagmatch/2013/02/23/how-the-taser-works/;    accord  Axon
Enterprise,         Taser        X2         CEW          User       Manual         4     (Mar.    2020),
https://f.hubspotusercontent20.net/hubfs/3481471/Manuals/X2%20Manuals/X2%20Product%20Manual%20MMU0
037_LE.pdf.
198
          Axon      Enterprise,     Taser      X2      CEW       User     Manual      40   (Mar.  2020),
https://f.hubspotusercontent20.net/hubfs/3481471/Manuals/X2%20Manuals/X2%20Product%20Manual%20MMU0
037_LE.pdf.
199
    Id.
200
    Dkt. 2-2 ¶ 146(a).
201
    Id.


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In drive stun mode, “[u]nless the use of lethal force is justified,” officers may “not apply CEWs .
. . to a subject’s head, neck, chest[,] or groin.”202 No applications to these sensitive areas were
apparent in any of the reviewed cases from 2018, 2019, or 2020.

The Consent Decree and BPD policy outline a number of circumstances in which, and
characteristics of subjects against whom, Taser application is inappropriate and generally
prohibited, unless lethal force would be justified, including when a subject is:

         •    Pregnant;
         •    Elderly;
         •    A preteen or younger;
         •    Visibly frail;
         •    Of low body mass;
         •    In danger of falling from a significant height;
         •    In physical control of a vehicle in motion;
         •    Exposed to the MK-9 Pepper Fogger;
         •    Exposed to a flammable material (such as gasoline or an alcohol-based pepper spray);
              and
         •    Fleeing from officers.203

Ultimately, the Consent Decree requires that officers “[d]etermine the objective reasonableness of
CEW use based on relevant circumstances, including the subject’s apparent age, size, physical and
mental condition, and the feasibility of lesser force options.”204

With respect to applying the Taser to individual whose physical condition or location might make
deployment especially dangerous or sensitive, BPD officers generally complied with a number of
the specific factors outlined above. In just one reviewed instance, in 2019, the Taser was applied
to a subject that a reasonable officer would have identified as elderly. Otherwise, no Taser
applications in any of 2018, 2019, or 2020 reviewed by the Monitoring Team involved pregnant,
elderly, preteen/younger, visibly frail, low-body-mass subjects – or subjects whose physical
position put them in danger of falling from a significant height, in physical control of a vehicle in
motion, exposed to a pepper fogger, or exposed to flammable material.

In 2018, Monitoring Team auditors found several instances where BPD officers deployed Tasers
while a subject was running away or fleeing from officers. Specifically, the Taser was applied to
fleeing subjects in 7 incidents. In 2 of those instances, reviewers concluded that the subject did
not pose an imminent threat, making the Taser applications presumptively contrary to BPD policy

202
    Id. ¶ 146(f).
203
    Id. ¶ 146(c); see Policy 719 at 6–7.
204
    Dkt. 2-2 ¶ 146(b).


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in this regard. However, in 2019 and 2020, there was just 1 Taser applied to a fleeing subject in
each year. In 2019, the Monitoring Team’s review was unable to determine, based on available
evidence, whether the subject posed an imminent threat at the time of the Taser deployment. In
2020, the review confirmed that the subject did pose an imminent threat at the time of the
deployment, making the deployment consistent with BPD policy in this regard.

BPD policy, per the Consent Decree, “require[s] that officers not employ more than three cycles
or 15 seconds of a CEW against a subject during a single incident,” with a standard Taser cycle
lasting for 5 seconds.205 Only if “lethal force is justified” could more than three cycles or 15
seconds be justified, depending on the circumstances.206 The Monitoring Team’s review found
that, in each of the years 2018, 2019, and 2020, Tasers were most commonly cycled once during
an encounter (14 of 19 cases in 2018, 4 of 8 cases in 2019, and 4 of 8 cases in 2020). Tasers were
applied for more than 3 cycles in 1 instance in 2018 and in 2 instances in 2020. For the 2 incidents
in 2020, officers applied 4 Taser cycles in each case, and Monitoring Team reviewers did not
identify, beyond the number of cycles applied, significant issues with the basis or justification for
the use of force in either instance. Nevertheless, the Monitoring Team does recommend that the
Department give officers continuing guidance about the importance of discontinuing Taser use
after 3 applications – to prevent injury to the subject and to the officer, to the extent that Taser is
not successfully eliminating noncompliance, resistance, and/or aggression.

More than one CEW may not be activated “at a time against a subject.” 207 This was not an issue
in any cases review for 2018, 2019, or 2020.

After each CEW application, the subject must have the ability and be given a reasonable
opportunity to comply prior to a subsequent cycle of the CEW.208 Officers must generally
discontinue use of the CEW as soon as the circumstances no longer require it.209 In most cases
involving the Taser, officers did give the subject, who had the ability to comply, a reasonable
opportunity to comply prior to a subsequent cycle – in 9 of 12 applicable instances in 2018, in 3
of 4 applicable instances in 2019, and in 4 of 6 instances in 2020. With the exception of one
incident in 2018, no Taser applications involved officers continuing to use the CEW after the
circumstances no longer required it.

This report elsewhere details BPD compliance with the general requirement to render medical aid
following the application of force. For CEW applications, BPD policy requires that officers also



205
    Id. ¶ 145; Policy 719 at 7.
206
    Dkt. 2-2 ¶ 145. Policy 719 at 7.
207
    Dkt. 2-2 ¶ 146(h); Policy 719 at 7.
208
    Dkt. 2-2 ¶ 144.
209
     See Policy 719 at 5 (“After the first CEW application, members shall assess whether subsequent cycles are
necessary . . . . Each deployment [of the CEW] must be justifiable.”).


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“summon EMS” to the scene.210 BPD appropriately summoned medical aid in all instances where
the Taser was deployed in 2018, 2019, and 2020.

Overall, and across the specific provisions related to CEW deployment, BPD officer use of Tasers
was consistent with initial compliance across most force incidents where they were used, with
positive, encouraging performance trends generally identified across 2018 through 2020.

         3. Baton/Impact Weapons

The Decree and BPD policy include a set of requirements relating to batons and Impact Weapons,
a term that “[r]efers collectively to batons (including crowd control straight batons and expandable
batons) and espantoons,” a type of wooden baton that originated in Baltimore.211

Within the cases that the Monitoring Team audited, only 3 incidents – one in each of 2018, 2019,
and 2020 – involved the application of batons or Impact Weapons.212 In no cases was the Impact
Weapon an Improvised Impact Weapon (“IIW”), defined in BPD policy as “a device or object that
is not a department approved weapon, but is nonetheless used as an impact weapon (e.g., flashlight,
radio, or stick).”213 Generally, “[t]he use of an IIW as a weapon for the purpose of striking or
jabbing is prohibited, except in the rarest of situations where no other reasonable alternative
exists.”214 Regardless, “[a]ny member who uses an IIW must transition . . . to an approved weapon
or force technique as soon as possible.”215 Even as IIW use might be authorized in limited
circumstances where no other reasonable alternative exists, the absence of any use of an IIW is
consistent with compliance with the various policy provisions governing their use.

BPD policy prohibits officers from using an Impact Weapon “to strike a person who is compliant
or who is exhibiting Passive Resistance or Active Resistance.”216 A “jab, block, or strike” with
such a weapon may be justified only “In response to Active Aggression or Aggravated
Aggression,”217 which is “when a person attacks or attempts to attack” an officer or another person
or “when a person presents an Imminent Threat of death or serious physical injury to the member



210
    Policy 719 at 5; see Dkt. 2-2 ¶ 147.
211
    Baltimore Police Museum, Espantoon (last visited Mar. 20, 2022), https://baltimorepolicemuseum.com/en/bpd-
history/espantoon.html.
212
     The Monitoring Team notes that BPD’s overall force statistics from IAPro capture 2 uses of an Impact
Weapon/baton in 2018 and then no instances in 2019, 2020, and 2021. The discrepancy between the Monitoring
Team’s identification of 3 applications in the subset of cases that were subject to in-depth qualitative review, including
incidents in 2019 and 2020, suggest some quality control challenges with respect to that category of force, which the
Department will need to work to address.
213
    Policy 1111 at 3.
214
    Id. at 6.
215
    Id.
216
    Id. at 5.
217
    Id.


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or another person,” respectively.218 The Monitoring Team identified no instances where a baton
or other Impact Weapon was used to strike a compliant subject or a subject exhibitive passive or
active resistance.

Paragraph 152 provides that officers may “not use Impact Weapons on individuals who are
restrained or under control, even if they are non-compliant, unless they present an imminent threat
to the officer or others.”219 BPD Policy 1111 clarifies that the use of any Impact Weapon is “only
permitted in the rare and exceptional circumstances where”:

         5.1      The person is displaying combative and/or violent behavior,
         5.2      Presents an Imminent Threat to the safety of the member or other persons, and
         5.3      Lesser means or attempts to resolve the incident such as hands-on arrest or control
                  techniques have failed.220

This additional guidance in BPD policy assists officers in ensuring that the use of force against
restrained persons is proportional and consistent with general de-escalation principles, as well as
with Paragraph 152 of the Decree, which mandates that before using Impact Weapons on restrained
subjects, “officers must first attempt to exercise additional control over the individual by using
hands-on control measures or arrest control techniques . . . . ”221

The Monitoring Team identified no instances in which a baton or Impact Weapon was applied to
a subject who was already restrained or under control in any of 2018, 2019, or 2020.

A strike to a subject’s “head, neck, sternum, spine, groin, or kidneys” constitutes Deadly
Force/Lethal Force.222 This was implicated in one 2018 case, even as deadly/lethal force was not
justified at the time of the strike. The two other baton/Impact Weapon applications in 2019 and
2020 avoided the subject’s head, neck, sternum, spine, groin, and kidneys.

Unless Deadly Force Lethal Force would be justified, an officer may not strike a person with a
baton or IIW if that person is “obviously pregnant,” “apparently elderly,” “apparently a small
child,” “is visibly frail or has a low body mass,” “is under the effects of a medical or behavioral
health crisis,” or “is in danger of falling from a significant height.” The Monitoring Team did not
identify any baton incidents that involved individuals whose physical condition or position put the
subject at elevated risk due to a baton strike.




218
    Policy 1111 at 2.
219
    Dkt. 2-2 ¶ 152.
220
    Policy 1111 at 6.
221
    Dkt. 2-2 ¶ 152.
222
    Policy 1111 at 5.


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Consistent with the principles of proportionality and de-escalation, “[o]nce a person is no longer a
threat,” an officer “shall stop striking the person.”223 Officers appropriately discontinued baton
application in all 3 incidents in 2018, 2019, and 2020.

BPD policy emphasizes that, as with all other types of force, each application – in this case, “each
strike” – must be independently justified and justifiable.224 In 1 of the 3 cases, in 2020, it appeared
that not every strike was separately justified. For the 2019 incident, the review could not
specifically determine the justification of each strike based on the nature of available evidence.
For the 2018 incident, it appeared that each strike could be separately justified.

Overall, the Decree requires that BPD ensure that “Impact Weapon use will be limited to situations
in which such force is objectively reasonable, consistent with” the Consent Decree’s general
principles on use of force, “and BPD’s training. . . . ”225 Two of the three baton applications were
necessary, proportional, and objectively reasonable. However, only one of the three was consistent
with the duty to de-escalate.

BPD officers appear to use batons very infrequently. To the extent that the specific requirements
related to baton usage are therefore rarely activated, BPD officers are adhering to requirements.
Even as the Monitoring Team was troubled a 2020 baton incident, the Team is mindful that
instances of noncompliance do not alone negate otherwise sustained compliance across many other
officers and incidents. At the same time, the Monitoring Team sees insufficient evidence of BPD
identifying problematic baton performance and taking corrective action in the limited overall
number of instances where warranted. The Monitoring Team will need to see additional
evidence going forward before it can certify initial compliance with requirements relating to
the use of batons.

         4. OC Spray

“OC spray is a less-lethal force alternative” that may be “used to gain compliance” of subjects.226
Because specific physical and psychological effects may result from OC spray deployment,227 the
Decree outlines specific provisions governing the use of OC spray, and BPD maintains a specific
policy on using it.228

BPD’s overall, aggregate data on all force incidents shows that OC spray is not widely used by
BPD officers, with officers applying it in 14 incidents in 2018, 13 in 2019, 16 in 2020, and 9 in

223
    Id. at 6.
224
    Id. at 7 (“Members are required to justify each strike with a Baton or IIW on their Force Report . . . . ”).
225
    Dkt. 2-2 ¶ 149.
226
    Policy 1118 at 1.
227
    Id. at 3.
228
    See generally Policy 1118.


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2021. Across the subset of incidents that were subject to the Monitoring Team’s qualitative
review, officers applied OC spray on 3 occasions in 2018, twice in 2019, and on another 3
occasions in 2020.

Paragraph 155 of the Consent Decree requires that officers, “whenever practical and reasonable,
issue a verbal warning to the subject and allow a reasonable amount of time” for the subject to
comply before using OC spray.229 BPD’s Policy 1118 provides additional guidance about the
mandatory issuance of a verbal warning “whenever practical.”230 Across the limited OC spray
deployments evaluated, BPD officers issued a warning when practical and reasonable under the
circumstances in all but one incident, which occurred in 2018.

The Consent Decree prohibits the use of OC spray on individuals who are handcuffed or
restrained.231 The only exception is for those circumstances where a subject (1) “is still combative
or violent,” (2) “presents an imminent threat to the safety of the officer or others,” and (3) officers
have “first attempt[ed] to exercise additional control over the individual by using hands-on control
measures or arrest control techniques” before using OC spray.232 Monitoring Team reviewers
found no instance in which BPD officers applied OC spray to a subject who was handcuffed or
otherwise restrained.

The Decree also prohibits the use of “OC spray to disperse crowds unless individuals within those
crowds are committing acts that endanger officer or public safety and security, property, and
participants refuse to obey lawful orders to disperse.”233 One reviewed OC spray application, in
2019, was used to disperse a crowd, with a review of the incident concluding that the policy’s
exception to the general prohibition on use in crowds applied and that the application was
consistent with the Decree’s requirements in that respect.

The Consent Decree requires that “after the initial application of OC spray, each subsequent spray
must also be objectively reasonable and consistent with” the Department’s general “use of force
principles.”234 In all but one instance – a 2019 force incident – each individual application of OC
spray was reasonable, necessary, proportional, and consistent with BPD’s general use of force
principles.

Officers must, as with other types of force, discontinue application of the OC spray when the
circumstances no longer require it, which BPD officers did across all OC spray applications
reviewed.

229
    Dkt. 2-2 ¶ 155.
230
    Policy 1118 at 4.
231
    Dkt. 2-2 ¶ 157.
232
    Id. ¶ 157.
233
    Id. ¶ 154.
234
    Id. ¶ 156.


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BPD officers must work to “minimize[e] exposure of non-targeted persons” to OC spray.235 The
review of OC spray applications found one instance, occurring in 2019, where the exposure to
non-targeted individuals was not reasonably minimized.

After using OC spray, BPD officers must decontaminate exposed subjects according to BPD
policy.236 In 4 cases – including 1 from 2019 and all 3 OC spray deployments in 2020 – reviewers
could not determine one way or another, based on the available information and evidence, whether
involved BPD officer(s) did or did not decontaminate subjects who were exposed to OC spray.
Going forward, BPD supervisors will need to ensure that steps taken to decontaminate subjects per
the Decree and BPD policy are more systematically documented – so that compliance with these
requirements is always clear.

Officers must also seek medical treatment for individuals to whom OC spray has been applied if
(1) they “complain of or exhibit continued effects after having flushed the affected areas”; (2) they
“indicate they have a pre-existing medical condition” or “complain of difficulty breathing,” “chest
pain[,] or if the member observes the person to be having difficulty breathing”; or they “display[]
a reaction not consistent with the expected reaction to aerosol OC spray,’ such as “difficulty
breathing or loss of consciousness.”237 Across the 3 OC spray applications in 2020, reviewers
could not determine, one way or another, whether the subject complained of or exhibited ongoing
physical effects after decontamination. In the 1 instance otherwise where a subject did complain,
in 2018, the officer appropriately arranged for immediate transport to a hospital for medical
treatment. In another instance, in 2019, the subject to whom OC spray was applied indicated that
they had a pre-existing medical condition that might be aggravated by chemical spray. BPD
personnel appropriately arranged for immediate transport to a hospital for medical treatment.

Across OC spray applications, BPD officer performance appeared consistent with initial
compliance. Going forward, BPD will need to ensure improved documentation of post-
application actions so that it, and the Monitoring Team, can more readily ensure that subjects have
been appropriately decontaminated and received post-incident medical attention when appropriate.

I.       Duty to Intervene

BPD officers have a duty to intervene to stop or prevent conduct contrary to BPD policy and law.
Paragraph 141 of the Consent Decree requires that BPD officers “intervene in incidents in which
another officer uses excessive force.”238 The Department’s Use of Force Policy provides that
“[m]embers shall prevent or stop the illegal, inappropriate, or excessive Use of Force by other

235
    Policy 1118 at 7.
236
    Id. at 5, 7.
237
    Id. at 5.
238
    Dkt. 2-2 ¶ 141.


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members,” with the failure to do so “subject[ing] a member to disciplinary action.”239 The
Department’s related Duty to Intervene Policy (Policy 319) “set[s] forth the legal, ethical, and
affirmative duty . . . to Intervene to prevent or stop Misconduct and/or other problematic
behavior.”240 Thus, the duty on BPD officers is to identify and prevent performance that “violates
law or policy,” which expressly includes “[e]xcessive force, including intentionally escalating an
encounter . . . . ”241

Indeed, BPD policy clarifies that the duty to intervene attaches not simply when another officer’s
conduct is clearly or egregiously counter to policy or law but also when officers “see unsafe
behavior and/or bad tactics, corner-cutting, and signs of a fellow member’s stress and/or mental
health issues that are affecting their performance.”242

As summarized elsewhere in this report, and discussed in prior Monitoring Team reports, all BPD
officers completed Ethical Policing is Courageous (“EPIC”) training as of 2021 that focused on
the Duty to Intervene and seeks to provide officers with skills and techniques to effectively
intervene where necessary. It must also be noted that BPD policy observes that “intervention”
may mean verbal or physical interaction “so as to prevent or alter a result or course of events.”243

The Monitoring Team considered whether, at any point during the incident, an involved officer
might have, under the circumstances, reasonably taken affirmative steps to prevent or stop illegal,
out-of-policy, inappropriate, and/or excessive force by other members. In 2018, reviewers
identified 9 instances (4.8% of the total 2018 cases reviewed, 3.6% of all incidents weighted)
where an officer should have intervened. In 2019, reviewers identified 7 such instances (3.8% of
2019 cases reviewed, 3.6% of weighted total). In 2020, reviewers identified 6 such instances
(3.5% of the total 2020 incidents, 2.0% of weighted total). The Team observes that these numbers
are, by necessity, different than the overall number of force incidents identified as implicating
deficient or out-of-policy force simply because not all incidents allow time for intervention. For
instance, an officer who suddenly and without warning strikes a subject in retaliation for verbal
comments could not reasonably have been the subject of intervention even though the use of force
itself is inconsistent with policy.

In some of these instances where an officer, or officers, should have intervened, they did. In 3 out
of the 9 instances in 2018, in 1 of the 7 instances in 2019, and in 4 of the 6 incidents in 2020, at
least one officer did take affirmative steps to prevent or stop illegal, inappropriate, and/or excessive
use of force by other members where they should have. Intervention was physical, verbal, or some

239
    Policy 1115 at 6.
240
      Baltimore Police Department, Policy 319, “Duty to Intervene”        (last   rev.   May   25,   2021),
https://public.powerdms.com/BALTIMOREMD/documents/886939.
241
    Id. at 2.
242
    Id.
243
    Id. at 1.


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combination of both. Across the 8 instances where officers did intervene, the intervention was
effective in stopping and/or preventing further illegal, out-of-policy, inappropriate, and/or
excessive force in 6 instances.

Even as the Monitoring Team identified 2 incidents where intervention was warranted but did not
occur, it is noteworthy that, in 2020, reviewers identified the fewest number of instances
where officers might reasonably have intervened under the circumstances to prevent or stop
illegal, out-of-policy, inappropriate, and/or excessive force across the three years studied,
and, at the same time, reviewers identified the highest number and rate of officers
intervening and successfully intervening (to the extent that it stopped the problematic force).

The Monitoring Team concludes that BPD is on track toward compliance with respect to officer
intervention in problematic force encounters. However, the relatively low rate of intervention in
2019 and the relative recency of officer training on intervention mean that the Monitoring Team
will want to see continuing, sustained progress with respect to officer intervention before
finding initial compliance in the area.

J.       Performance Following the Application of Force

The general duty to de-escalate includes the requirement that officers “reduce the level of force as
the threat diminishes” and/or the subject’s resistance decreases.244 In a vast majority of all force
incidents, BPD officers appropriately reduced the level of force or discontinued the
application of force as a subject’s resistance decreased – in 98.4% (weighted) of all incidents
where applicable in 2018, in 99.0% (weighted) of incidents in 2019, and in 99.0% (weighted) of
2020 incidents.

As noted previously, one lawful reason that force may be applied is to gain the compliance of a
subject who poses a threat to individuals. Consequently, force encounters often involve and/or
conclude with subjects being restrained. In 2018, 89.3% (weighted) of subjects in incidents
involving force were restrained at some point. In 2019, 82.5% (weighted) of subjects were
restrained. In 2020, the percentage was 58.6%.

When subjects are restrained, they “are not to be positioned facedown as it may cause positional
asphyxia” or “on their back,” which “may lead to radial nerve damage to the wrists and
forearms.”245 Instead, “[r]estrained persons are to be placed in a seated position or on their
sides.”246



244
    Dkt. 2-2 ¶ 127.
245
    Policy 1115 at 2.
246
    Id.


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Consequently, the Monitoring Team’s assessment instrument asked reviewers, “Was the subject
positioned face-down while restrained?” That question parallels language from BPD Policy
1115.247 In response to a draft of this assessment report, BPD wondered whether the Monitoring
Team’s findings using this question ensured that officers temporarily placing a subject face-down
while getting the subject into handcuffs was not being classified as an inappropriate, out-of-
compliance instance of officers putting subjects face-down while restrained. The Department
noted that positioning a subject face-down for the purposes of getting the subjects into handcuffs
is consistent with typical tactics and training.

The Monitoring Team agrees that the temporary positioning for the purpose of getting a subject
into handcuffs is not by itself problematic and should not be considered as inconsistent with the
Consent Decree. The Team does note that the Parties will need to adjust Policy 1115 to account
more precisely for this situation.

Upon a review of data collected from reviewers, and comparing “yes/no” determinations on the
question of whether subjects were positioned face-down while restrained with narrative
descriptions of the ratings, the Monitoring Team does not have the necessary confidence that
responses to the question exclude instances where the subject was placed face-down temporarily
in order for officers to apply handcuffs. Consequently, the Monitoring Team must defer evaluation
on this requirement and modify the assessment instrument for the next, follow-up force
assessment.

If “there is a visible injury, complaint of injury, signs of medical distress, or when medical attention
is requested by any person,”248 BPD officers must “provide emergency first aid consistent with
their training and experience until professional medical care providers are on the scene,”249 which
officers must request.250 Table 37 summarizes the Monitoring Team’s evaluation of subject injury
and medical distress.

Table 37.           Subject Injuries, Complaints of Injuries, Medical Distress, and Requests for
                    Medical Attention

      With respect to the                                                             Unable    to
      applied force . . . . ?                      Yes              No                Determine
                                       Weighted
                                       Frequency  30.9     17.9%    138.2 79.9% 3.9           2.3%
      Was the subject
                                2018   Unweighted
      visibly injured?
                                       Frequency  58       32.2%    118      65.6% 4          2.2%
                                       Level 1    3        3.8%     76       95.0% 1          1.3%

247
    Id.
248
    Id. at 9.
249
    Dkt. 2-2 ¶ 185.
250
    Policy 1115 at 2.


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                            Level 2       43     57.3%   29    38.7% 3     4.0%
                            Level 3       12     44.4%   10    37.0% 5     18.5%
                            Weighted
                            Frequency     34     18.7%   145.5 80.1% 2.1   1.2%
                            Unweighted
                    2019    Frequency     56     31.5%   118   66.3%   4   2.2%
                            Level 1       3      3.5%    83    96.5%   0   0.0%
                            Level 2       42     54.5%   32    41.6%   3   3.9%
                            Level 3       11     73.3%   3     20.0%   1   6.7%
                            Weighted
                            Frequency     34     20.6%   129.1 78.4% 1.7   1.0%
                            Unweighted
                    2020    Frequency     49     29.5%   113   68.1%   4   2.4%
                            Level 1       8      9.5%    76    90.5%   0   0.0%
                            Level 2       32     50.0%   30    46.9%   2   3.1%
                            Level 3       9      50.0%   7     38.9%   2   11.1%
                            Weighted
                            Frequency     36     21.0%   128   74.8% 7.2   4.2%
                            Unweighted
                    2018    Frequency     61     35.1%   105   60.3%   8   4.6%
                            Level 1       6      7.5%    71    88.8%   3   3.8%
                            Level 2       44     59.5%   26    35.1%   4   5.4%
                            Level 3       10     58.8%   6     35.3%   1   5.9%
                            Weighted
                            Frequency     44.2   24.4%   133.9 74.0% 2.9   1.6%
Did the subject             Unweighted
complain of an      2019    Frequency     58     33.3%   110   63.2%   6   3.4%
injury?                     Level 1       10     11.6%   76    88.4%   0   0.0%
                            Level 2       43     55.8%   30    39.0%   4   5.2%
                            Level 3       5      45.5%   4     36.4%   2   18.2%
                            Weighted
                            Frequency     38.5   23.6%   121.4 74.6% 2.9   1.8%
                            Unweighted
                    2020    Frequency     53     32.7%   105   64.8%   4   2.5%
                            Level 1       8      9.6%    74    89.2%   1   1.2%
                            Level 2       40     62.5%   22    34.4%   2   3.1%
                            Level 3       5      33.3%   9     60.0%   1   6.7%
                            Weighted
                            Frequency     22.1   12.7%   149   85.7% 2.7   1.6%
Did the subject show        Unweighted
signs of medical     2018   Frequency     35     19.4%   142   78.9%   3   1.7%
distress?                   Level 1       6      7.4%    74    91.4%   1   1.2%
                            Level 2       20     26.7%   53    70.7%   2   2.7%
                            Level 3       9      42.9%   12    57.1%   0   0.0%


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                                Weighted
                                Frequency     17.9   9.9%     161   88.8% 2.3          1.3%
                                Unweighted
                        2019    Frequency     25     14.3%    147   84.0%   3          1.7%
                                Level 1       6      7.0%     79    91.9%   1          1.2%
                                Level 2       12     15.6%    64    83.1%   1          1.3%
                                Level 3       7      58.3%    4     33.3%   1          8.3%
                                Weighted
                                Frequency     28.5   17.5%    131.6 81.0% 2.4          1.5%
                                Unweighted
                        2020    Frequency     38     23.3%    121   74.2%   4          2.5%
                                Level 1       9      10.8%    73    88.0%   1          1.2%
                                Level 2       22     34.9%    40    63.5%   1          1.6%
                                Level 3       7      41.2%    8     47.1%   2          11.8%

Monitoring Team reviewers concluded that officers usually, but not necessarily uniformly,
either rendered aid consistent with training and requested an emergency medical response
or transported the person directly to the nearest emergency room when there was a visible
injury, complaint of injury, request for medical attention, or signs of medical distress.

Table 38.    Incidents Where Officers Rendered Aid & Requested Emergency Medical
             Response or Transported Subject Directly to Emergency Room Where
             Subject Was Visibly Injured, Complained of an Injury, Showed Signs of
             Medical Distress, or Medical Attention Was Requested

                         Yes                   No                   Unable to
                                                                    Determine
            Weighted     46.6       81.0%      8.6          15.0%   2.3         4.0%
            Frequency
          Unweighted     76         82.6%      13           14.1%   3           3.3%
     2018 Frequency
          Level 1        9          75.0%      2            16.7%   1           8.3%
          Level 2        53         84.1%      9            14.3%   1           1.6%
          Level 3        14         82.4%      2            11.8%   1           5.9%
            Weighted     62.3       84.5%      9.9          13.5%   1.5         2.0%
            Frequency
          Unweighted     87         87.0%      12           12.0%   1           5.6%
     2019 Frequency
          Level 1        13         76.5%      3            17.6%   1           5.9%
          Level 2        62         88.6%      8            11.4%   0           0.0%
          Level 3        12         92.3%      1            7.7%    0           0.0%



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                  Weighted    58.4      90.4%      6           9.3%       0.2        0.3%
                  Frequency
               Unweighted     77        89.5%      8           9.3%       1          1.2%
          2020 Frequency
               Level 1        19        95.0%      1           5.0%       0          0.0%
               Level 2        44        86.3%      7           13.7%      0          0.0%
               Level 3        14        93.3%      0           0.0%       1          6.7%

If a subject “has been subjected to impact by any type of Less-Lethal Force including impact
weapons or impact projectile,” the subject must be provided with medical attention regardless of
whether there is actual or purported injury.251 It appears that subjects in less-lethal force
applications are receiving aid from the officer at the scene, when appropriate, and being transported
to the nearest hospital as necessary, with Monitoring Team reviewers not identifying any instance
where these requirements were not met in any of 2018, 2019, or 2020.

Use of force typically, but does not always, occur in incidents in which the subject of the force is
ultimately arrested. In 2018, 77.8% (weighted) of subjects of force were arrested. In 2019, 74.0%
(weighted) were arrested. In 2020, the percentage was 74.9%.

Considering the post-force application performance of officers at the scene overall, BPD still
has some distance to travel before being fully compliant with Decree and policy
requirements. Even as BPD’s officers are appropriately discontinuing or reducing the level of
force used as a subject’s resistance decreases, the lack of uniformly documented and/or provided
medical aid when necessary are issues that the Department will need to address.

K.          On-Scene Supervision

In some cases, one or more BPD supervisors was present or involved in the force incident itself.
In about one-third of all force incidents in each year evaluated (33.1% (weighted) of incidents in
2018, 30.8% (weighted) in 2019, and 36.2% (weighted) in 2020), an on-scene supervisor was
present during the application of force. Where supervisors were present, the supervisor was
overwhelmingly likely to be an officer’s first-line supervisor, a sergeant. A noteworthy trend is a
decline in 2020 of supervisors further up the chain of command than sergeant being present when
force was deployed. Personnel at the rank of lieutenant or higher were the on-scene supervisor in
19.3% (weighted) of instances where a supervisor was on the scene in 2018 and in 14.4%
(weighted) of similar instances in 2019 – but in 4.6% (weighted) of instances in 2020.




251
      Id. at 9.


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The expectation, with a supervisor on the scene, is that the supervisor will provide appropriate
tactical guidance, oversight, and direction during the incident. Monitoring Team reviewers
identified improvement over time with respect to on-scene supervisors providing appropriate
tactical guidance, oversight, and direction during the incident – from 60.8% of reviewed cases
where a supervisor was present in 2018 to 68.8% in 2019 and 79.2% in 2020. Even as this
improvement over time is notable and appears sustained, the incidence across years, through
2020, of on-scene supervisors failing to provide appropriate tactical guidance has remained
too frequent to be consistent with initial compliance. BPD supervisors will need to continue to
assert enhanced and appropriate command and control of force situations going forward for the
Department to be considered in compliance with requirements related to on-scene supervision.

L.         Officer Use of Force Reporting

The Consent Decree requires that BPD “officers notify a permanent-rank supervisor immediately,
or as soon as practicable, following a Reportable Force.”252 BPD officers are largely complying
with the requirement to report force, as Table 39 illustrates – which is consistent with initial
compliance.

Table 39.           Incidents In Which Involved Officer(s) Notified a Permanent-Rank
                    Supervisor Immediately

                                    Yes               No              Unable to
                                                                      Determine
                  Weighted          158.2   91.6%     4.9   2.8%      9.6         5.6%
                  Frequency
              Unweighted            171     93.4%     4     2.2%      8           4.4%
         2018 Frequency
              Level 1               72      90.0%     3     3.8%      5           6.3%
              Level 2               72      96.0%     0     0.0%      3           4.0%
              Level 3               24      96.0%     1     4.0%      0
                  Weighted          169.2   92.7%     3     1.6%      10.4        5.7%
                  Frequency
              Unweighted            174     94.1%     2     1.1%      9           4.9%
         2019 Frequency
              Level 1               78      90.7%     2     2.3%      6           7.0%
              Level 2               75      97.4%     0     0.0%      2           2.6%
              Level 3               21      95.5%     0     0.0%      1           4.5%



252
      Dkt. 2-2 ¶ 170; Policy 1115 at 10.


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                Weighted          159.3        97.2%         4.2          2.6%         0.4           0.2%
                Frequency
            Unweighted            160          95.2%         6            3.6%         2             1.2%
       2020 Frequency
            Level 1               82           98.8%         1            1.2%         0             0.0%
            Level 2               60           93.8%         4            6.3%         0             0.0%
            Level 3               18           85.7%         1            4.8%         2             9.5%

Although a supervisor typically becomes aware of force being used as a result of the involved
officers reporting it, “[a]ny member with knowledge that another member used force must also
immediately report that Use of Force to a permanent-rank supervisor.”253 Across 2018, 2019, and
2020, 6 reviewed cases did not appear to be reported immediately by either the involved officer or
any other BPD personnel.

The Monitoring Team intends, in the future, to conduct a more comprehensive audit of both
civilian complaints and general body-worn camera footage to determine whether there are
instances of force occurring that are going entirely unreported, and therefore unlogged, by BPD.
Nevertheless, with respect to the many force cases that were reported across 2018, 2019, and
2020, officers complied with Decree and policy requirements in all but a small number of
instances.

“Any officer that discharged their firearm” during an incident must “provide a Public Safety
Statement to their supervisor when the[ supervisor] arrive[s] on the scene.”254 BPD cannot
establish compliance at this time, with reviewers being able to verify that a public safety
statement was given in 58.3% of reviewed cases involving a firearm discharge in 2018, in
53.3% of such cases in 2019, and in only 33.3% of these cases in 2020.

The Decree lists a number of elements that the Public Safety Statement must include. 255 In those
instances where the provision of a Public Safety Statement could be verified, many of the Decree-
required elements of the Public Safety Statement were appropriately present. In 71.4% of cases
from 2018 where there the provision of a Public Safety Statement could be verified, the public
safety statement either included everything required by the Decree or included just one of the listed
elements. In 2019, 87.5% of public safety statements reached this level. In 2020, this percentage


253
    Policy 1115 at 10.
254
    Dkt. 2-2 ¶ 172.
255
    Id. The public safety must include a description of the type of force used by the officer; the threat presented by
other involved parties; the direction and approximate number of shots fired by the involved officer(s) and suspect(s);
the location of any unsecured weapons; the location of injured persons; outstanding suspect(s); the subject’s direction
of travel; the time elapsed since the suspect was last seen; any weapon(s) that were available to the suspect; known
victims or witnesses, including their location; any known evidence, including the location of such evidence; and other
information necessary to ensure officer and public safety, and assist in the apprehension of outstanding suspects. Id.


                                                         117
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was down to 66.7% – but this was at least partially due to the fact that the year saw fewer firearms
discharge situations (3 cases) where the requirements involving Public Safety Statements were
applicable than in 2018 (7 cases) or 2019 (8 cases).

Any BPD officer “who uses or observes a use of Reportable Force” must provide a written Use of
Force report “by the end of their tour duty.”256 Officers are documenting the force in a written
report by the end of their tour of duty in many instances, and the proportion of cases where
reviewers could confirm timely reporting increased year over year during the period studied.
However, the proportion of cases where reviewers could conclude that officers did not submit a
timely report also increased – because the proportion of cases where reviewers could not reach a
definitive conclusion, one way or another, decreased substantially over the period evaluated.

Table 40.            Incidents In Which Officers Using or Observing Force Provided a Written
                     Use of Force Report By the End of Their Tour of Duty

                                     Yes               No                Unable to
                                                                         Determine
                   Weighted
                                     144.4   82.7%     9      5.2%       21.1        12.1%
                   Frequency
               Unweighted
                                     145     78.8%     11     6.0%       28          15.2%
          2018 Frequency
               Level 1               68      84.0%     4      4.9%       9           11.1%
               Level 2               61      68.9%     4      8.9%       10          22.2%
               Level 3               14      53.8%     3      11.5%      9           34.6%
                   Weighted
                                     148.2   80.8%     10.9   5.9%       24.3        13.3%
                   Frequency
               Unweighted
                                     148     79.6%     12     6.5%       26          13.9%
          2019 Frequency
               Level 1               69      80.2%     6      7.0%       11          12.8%
               Level 2               65      83.3%     2      2.6%       11          14.1%
               Level 3               14                4                 4
                   Weighted
                                     152.8   92.4%     9.9    6.0%       2.6         1.6%
                   Frequency
               Unweighted
                                     149     88.2%     15     8.9%       5           2.9%
          2020 Frequency
               Level 1               81      96.4%     2      2.4%       1           1.2%
               Level 2               53      82.8%     10     15.6%      1           1.6%
               Level 3               15      71.4%     3      14.3%      3           14.3%

256
      Dkt. 2-2 ¶ 173; Policy 725 at 4.


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The specific requirements for use of force reports vary according to the Level of force for which
the incident is classified. For lower-level, Level 1 force, nearly all officer reports in 2020 satisfied
basic requirements as to content and comprehensiveness, as Table 41 illustrates. 257

Table 41.           Officer Use of Force Reports, Level 1 Force

                                                                       Unable to
 Did the officer report . . . . ?    Yes              No               Determine          N/A
 The reason for the         2018     81    89.0%      0      0.0%      10    11.0%        0
 initial police             2019     78    88.6%      10     11.4%     0     0.0%         0
 presence?                  2020     87    100.0%     0      0.0%      0     0.0%         0
 A specific description 2018         78    88.6%      0      0.0%      10    11.4%        2
 of the acts that led to    2019     77    98.7%      1      1.3%      0     0.0%         1
 the Reportable Force? 2020          86    98.9%      1      1.1%      0     0.0%         0
                            2018     78    88.6%      0      0.0%      10    11.4%        2
 The level of resistance 2019
                                     73    86.9%      1      1.2%      10    11.9%        4
 encountered?
                            2020     84    100.0%     0      0.0%      0     0.0%         2
 A description of every 2018         74    85.1%      4      4.6%      9     10.3%        2
 type of Reportable         2019     76    86.4%      1      1.1%      11    12.5%        0
 Force used?                2020     85    97.7%      2      2.3%      0     0.0%         0

For higher-level force, or Level 2 and Level 3 force incidents, the Consent Decree requires that
reports cover all of the bases required for Level 1 force and additional elements.258 In comparison
with most Level 1 reports, which covered the required areas, Level 2 and Level 3 reports were
incomplete, and across several dimensions. Specifically, in too many instances, officers are failing
to inventory the force options available to the officer under the circumstances (not addressing this
in nearly three-quarters (74.2%) of Level 2 and Level 3 reports in 2020), recounting the presence
and location of witnesses at the scene of the incident (not addressing this in 43.1% of force reports
in 2020), and not detailing the de-escalation techniques that they employed (not inventorying such
techniques in well more than one-quarter (28.6%) of Level 2 and Level 3 incidents in 2020).
Although BPD has seen improvement over time with respect to the coverage of de-escalation in
Level 2 and Level 3 force reports, there have been no sustained improvements with respect to the
presence of witnesses and other force options.

For four other requirements – (1) a detailed description of the suspect, (2) the level of resistance
encountered, (3) the threat that the subject posed, and (4) a description of every reportable force
used – BPD’s performance improved steadily over time, with officers reaching their highest rate
of compliance along each of these dimensions in 2020. Still, given the importance of these

257
      See Dkt. 2-2 ¶ 173(a).
258
      Id. ¶ 173(b).


                                                    119
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reporting requirements, the Monitoring Team will need to see some continued improvement and
sustained performance in these areas before the Department can be considered in compliance.

At the same time, BPD officers are almost uniformly and appropriately addressing the reason for
the initial police presence, the severity of the crime at issue, and a specific description of the
subject’s actions that led to the use of Reportable Force. Consequently, BPD’s performance in
these areas is generally consistent with compliance.

Table 42.      Officer Use of Force Reports, Level 2 and Level 3 Force

                                                                     Unable to
   Did the officer report . . . . ?   Yes            No              Determine        N/A
                               2018   81    83.5%    3    3.1%       13 13.4%         1
   The reason for the
                               2019   83    86.5%    4    4.2%       9 9.4%           2
   initial police presence?
                               2020   76    97.4%    2    2.6%       0 0.0%           4
                               2018   76    80.9%    6    6.4%       12 12.8%         2
   A detailed description 2019
                                      75    83.3%    6    6.7%       9 10.0%          8
   of the subject?
                               2020   69    90.8%    5    6.6%       2 2.6%           6
                               2018   77    83.7%    2    2.2%       13 14.1%         6
   The severity of the         2019   76    87.4%    2    2.3%       9 10.3%          11
   crime at issue?
                               2020   71    97.3%    2    2.7%       0 0.0%           9
   The presence and            2018   51    58.0%    22   25.0%      15 17.0%         10
   location of witnesses       2019   52    65.8%    15   19.0%      12 15.2%         17
   at the scene?               2020   36    55.4%    28   43.1%      1 1.5%           17
   A specific description of 2018     80    83.3%    4    4.2%       12 12.5%         2
   the acts that led to the    2019   81    86.2%    4    4.3%       9 9.6%           3
   use of Reportable Force? 2020      78    98.7%    1    1.3%       0 0.0%           3
                               2018   74    83.1%    3    3.4%       12 13.5%         9
   The level of resistance 2019       76    84.4%    3    3.3%       11 12.2%         8
   encountered?
                               2020   68    90.7%    7    9.3%       0 0.0%           7
                               2018   68    78.2%    7    8.0%       12 13.8%         10
   The threat the subject      2019   62    76.5%    9    11.1%      10 12.3%         17
   posed?
                               2020   66    90.4%    7    9.6%       0 0.0%           9
   The force options           2018   21    24.7%    50   58.8%      14 16.5%         13
   available to the            2019   16    21.6%    45   60.8%      13 17.6%         22
   officer?                    2020   16    25.8%    46   74.2%      0 0.0%           20
                               2018   49    54.4%    29   32.2%      12 13.3%         8
   Any de-escalation           2019   58    69.0%    16   19.0%      10 11.9%         14
   techniques used?
                               2020   47    67.1%    20   28.6%      3 4.3%           11




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              A description of every   2018 71        75.5%    11     11.7%    12 12.8%           3
              type of Reportable       2019 78        83.0%    6      6.4%     10 10.6%           3
              Force used?              2020 68        87.2%    9      11.5%    1 1.3%             4

       Across reports for all levels of force, the Decree requires that officer use of force statements “not
       use conclusory statements, boilerplate, or canned language” but, instead, provide “incident-
       specific detail.”259 Officers appropriately avoided using conclusory statements in 90.4% of all
       reports in 2020 – which represented improved performance compared to 2018 (76.5%) and 2019
       (80.3%). Similarly, officers appropriately avoided the use of “boilerplate” or “canned” language
       in 87.9% of reports in 2020 – improvements over 2018 (72.2%) and 2019 (77.6%). In those
       instances where officer reports included conclusory, boilerplate, or canned language, officers
       supported these statements with sufficiently specific incident details in 57.7% of such reports in
       2018, in 27.8% of reports in 2019, and in 52.9% of reports in 2020. Thus, even as officer reports
       are improving along these various dimensions, the importance of these requirements also means
       that, for these requirements, the Monitoring Team will need to see enhanced, sustained
       performance going forward.

       The Decree also requires that, if any force reports contain “material omissions or inaccuracies,”
       BPD “take corrective action,” including officer discipline as appropriate and “thoroughly
       review[ing] the entire incident . . . to determine the truth of the incident.”260 For purposes of this
       inquiry, an omission or inaccuracy is “material” if it could reasonably lead subsequent reviewers
       to an erroneous conclusion or determination. In this way, not every deficiency inventoried in Table
       40 is material – but they may be if the omission of the information would be critical to gaining a
       full, fair, and comprehensive understanding of what occurred during the force incident.

       Table 43.          Did the Use of Force Reports Appropriately Avoid Material Omissions or
                          Inaccuracies?

                            Yes                  No                     Unable to             Not Applicable
                                                                        Determine
             Weighted       129.0      73.3%     21.9         12.4%     25.2        14.3%     0.1         -
             Frequency
             Unweighted     129        69.1%     28           14.9%     30          16.0%     1           -
2018         Frequency
             Level 1        63         76.8%     8            9.8%      11          13.4%     0           -
             Level 2        48         64.0%     15           20.0%     12          16.0%     0           -
             Level 3        14         53.8%     5            19.2%     7           26.9%     1           -



       259
             Id. ¶ 176.
       260
             Id. ¶ 177.


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          Weighted       124.3       76.9%      12.2         7.5%      25.3       15.6%      2.2         -
          Frequency
          Unweighted     141         76.6%      16           8.7%      27         14.7%      2           -
2019      Frequency
          Level 1        68          80.0%      5            5.9%      12         14.1%      1           -
          Level 2        32          66.7%      6            12.5%     10         20.8%      1           -
          Level 3        11          52.4%      5            23.8%     5          23.8%      0           -
          Weighted       145.2       88.4%      17.3         10.5%     1.9        1.1%       1.2         -
          Frequency
          Unweighted     135         81.3%      26           15.7%     5          3.0%       4           -
2020      Frequency
          Level 1        80          95.2%      4            4.8%      0          0.0%       0           -
          Level 2        45          71.4%      16           25.4%     2          3.2%       1           -
          Level 3        10          52.6%      6            31.6%     3          15.8%      3           -

       As Table 41 details, although an increasing portion of officer force reports are appropriately
       avoiding any material omissions or inaccuracies (from 69.1% of reports in 2018 to 76.6% in 2019
       and 81.3% in 2020), Monitoring team reviewers also identified a higher proportion of force reports
       that did include material omissions or inaccuracies. These concurrent increases relate to a
       substantially reduced portion of cases in 2020 in which Monitoring Team reviewers indicated that
       they could not definitively determine whether reports avoided material omissions or inaccuracies.

       For those cases where officer reports contained material omissions or inaccuracies, BPD is
       not yet regularly taking and documenting appropriate corrective action. In 2018, reports
       where the Monitoring Team identified material omissions or inaccuracies, supervisors identified
       these issues and took appropriate action in 44.4% of reviewed cases. In 2019, the rate of cases
       with issues in which supervisors took appropriate action was down to just 12.5%. However, 2020
       saw a substantial increase, to 70.8% (or 17 out of 24 cases), of instances with significant omissions
       or inaccuracies that supervisors identified and documented appropriate corrective action. Even as
       BPD’s progress in 2020, compared to prior years, is notable and commendable, BPD will need to
       continue to focus on both officer report writing and supervisor chain of command review of officer
       reports going forward to ensure that it reaches initial compliance.

       Overall, BPD officers are generally providing a use of force report in a timely manner after
       encounters where force is used. However, systemic deficiencies in the quality of these
       reports, issues with the provision of public safety statements following firearms discharges,
       and the continued progress that supervisors must make in identifying problems with force
       reports all point toward BPD not yet being in initial compliance across the reporting
       requirements of the Decree and policy.



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VI.      USE OF FORCE INVESTIGATION & REVIEW: COMPLIANCE ASSESSMENT

The preceding section of the report focuses on the Monitoring Team’s evaluation of how officers
performed in the field during a force incident – that is, whether BPD officers acted in accordance
with BPD policy and Consent Decree requirements in circumstances where they used force.
Monitoring Team reviewers also evaluated the quality of BPD’s after-incident investigations of
force, the adherence of the Department to the Decree’s requirements regarding force investigation
and supervisory review, and BPD’s final determinations about the propriety of officer performance
during force incidents. This section reports on the state of BPD’s compliance with Decree
requirements in each of these areas.

A.       General Requirements

The Decree requires, as described previously, that “[w]hen an incident involves multiple types of
force or multiple officers, the incident will be reported and investigated at the highest level of force
used by any officer during the incident.”261 This means, for instance, that an incident during which
one officer used Level 2 force and another officer used Level 1 force would be reported and
investigated as a Level 2 force incident. Similarly, if the same officer used both Level 2 and Level
1 force during the same incident, the incident would be reported and investigated as a Level 2
incident. Monitoring Team reviewers found that, when an incident involved multiple types of
force or multiple officers, the incident was generally reported and investigated appropriately at the
highest level of force. In fact, consistent with initial compliance, in 2020, reviewers found that
– at least for cases involving multiple force types and officers – the incident was appropriately
reported and investigated at the highest force level in 101 of 102 instances (with reviewers
unable to determine in the remaining case).

The Decree also requires “that whenever a supervisor uses, directs, or is otherwise personally
involved in” force, “a higher-ranking supervisor who was not involved in the incident” conduct
the investigation of the incident.262 The only exception is that, if the involved supervisor was a
“Lieutenant or above . . . , the review may be conducted by a supervisor of equal rank.”263 Of the
47 cases in 2018 in which a supervisor used or was personally involved in a force incident, an
uninvolved, higher-ranking supervisor reviewed the force in 35 (74.5% of cases reviewed, 69.4%
weighted). Of 43 cases in 2019 involving a supervisor, 40 cases were reviewed by a higher-ranking
supervisor (93.0%, 89.4% weighted). In 2020, across 46 cases, uninvolved supervisors of higher
rank appropriately reviewed the force in 42 cases (91.3%, 91.4% weighted). Among the cases that
were not reviewed by a higher-ranking supervisor, the “Lieutenant or above” exception applied to
only a limited number of instances (2 evaluated cases in 2018, and 1 case in both 2019 and 2020).


261
    Dkt. 2-2 ¶ 177.
262
    Id. ¶ 187.
263
    Id.


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Although the compliance determination here is a close call, with more than 9 out of 10 cases
consistent with Decree requirements in 2019 and 2020, the importance of the requirement
leads the Monitoring Team to want to see ongoing and ideally strengthened performance.
This is especially the case given that the requirement is a straightforward administrative one that
simply requires supervisors to be aware, at the outset of an investigation, about who should and
should not investigate depending on a supervisor’s direct involvement and rank.

B.      Level-Specific Requirements

The Decree requires that all uses of force receive a detailed review, and the nature of who conducts
the review and what the review entails depends on the designated Level of force. The following
sections consider the Department’s adherence to investigative requirements by force Level. 264

        1. Level 1 Force Incidents

For lower-level, Level 1 force, an involved officer’s supervisor is the initial reviewer of the force
incident. Specifically, “a permanent-rank supervisor” who was not involved in the force “and who
is the same rank or greater than the highest ranking Involved Member”265 must, following all Level
1 force incidents, either (a) “review and document approval” of the reported force, or (b) “elevate
the Level 1 force[,] before the end of the shift during which the Level 1 force was used.”266 Based
on the whole of the documentation available, Monitoring Team reviewers could confirm that
supervisors complied with these requirements in 75.0% of Level 1 cases in 2018, in 85.1% of cases
in 2019, and in 86.4% in 2020. Although the trends are positive over the years evaluated, the
Monitoring Team will need to see continued improvement in the overall rate of compliance
with post-Level 1 incident supervisory review requirements across incidents before it is able
to certify compliance.

“Supervisors will elevate and investigate any Level 1 use of force that appears to have been
inappropriate or improperly categorized . . . . ”267 Thus, supervisors scrutinize Level 1 force at the
outset to determine if the incident warrants a more comprehensive investigation either because the
force may have been inconsistent with policy or because the force reported as a Level 1 incident
was actually a more serious Level 2 or Level 3 incident, requiring investigation as such. As a
practical matter, this happens relatively infrequently – in 4 (4.4%) Level 1 cases in 2018, 2 (2.3%)
2019 cases, and 6 (6.8%) cases in 2020. In 2018, those investigations did not lead the supervisor

264
    The Decree, and BPD policy, permits “[t]he Commissioner or his/her designee” to use discretion to “reassign a
review of force of any Level to SIRT,” the Special Investigations Response Team that typically investigates the most
serious, Level 3 force incidents.264 The review of force was reassigned to SIRT in 17 instances across the 2018 cases
reviewed, 14 instances in 2019, and 18 cases in 2019.
265
    Policy 725 at 7.
266
    Dkt. 2-2 ¶ 180.
267
    Id.


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to determine that the use of Level 1 force was inappropriate or counter to policy, but only to a
determination that the force was improperly categorized in 1 instance. In 2019, supervisors who
investigated the Level 1 determined the force was inappropriate in both instances, and that the
force was also improperly categorized in 1 case. In 2020, the use of Level 1 force was determined
to be inappropriate in 2 of 6 cases and also improperly categorized as a Level 1 in 2 cases.

“If a supervisor determines that an officer’s report reveals evidence of potential criminal conduct,
he or she will promptly notify OPR” so that a misconduct investigation may be conducted.268 No
supervisors notified OPR/PIB of potential misconduct in the Level 1 cases that the Monitoring
Team reviewed in any year.

         2. Level 2 Force Incidents

In contrast to Level 1 incidents, where an initial supervisor review of the force incident determines
whether a more exhaustive force investigation is necessary, all Level 2 force incidents are subject
to an investigation “personally conducted by a permanent-rank supervisor” uninvolved in the force
incident “and who is above the rank of the highest[-]ranking Involved Member”269 (i.e., someone
of a higher rank than all of the involved personnel, defined in BPD policy as an officer “who
participated in, directed, or influenced the application of the Use of Force”).270

Generally, this means that the supervisor must “identify and collect evidence sufficient to establish
the material facts related to the Reportable Force.”271 The Decree and BPD policy contain a
number of specific guidelines that supervisors must meet in this regard.

First, for Level 2 incidents, “the uninvolved permanent-rank supervisor” must “respond to the
scene.”272 Troublingly, it appears that BPD has become somewhat less compliant over time with
this requirement, with uninvolved, permanent-rank supervisors responding to 84.5% of Level 2
incidents in 2018, to 72.7% in 2019, and to 73.3% in 2020. When supervisors did respond, they
held a permanent rank higher than any of the involved officers who used or directed the use of
force in 72.9% of applicable instances (43 of 59 cases) in 2018, in 76.9% of instances in 2019 (20
of 26 cases), and in 84.1% of instances (37 of 44 cases). BPD notes that it has amended policy to
require specifically that a lieutenant, rather than another sergeant, must investigate a sergeant –
which it believes has led to improvements in this regard in 2021 and 2022.

When supervisors respond to the scene, the Decree and BPD policy outline a number of specific
responsibilities. Other than the requirement related to supervisors reviewing and flagging body-

268
    Id. ¶ 181.
269
    Policy 725 at 7.
270
    Id. at 1.
271
    Dkt. 2-2 ¶ 188.
272
    Id. ¶ 184.


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worn camera footage for retention, the Monitoring Team cannot find the supervisory response to
Level 2 incidents to be in compliance. Table 42 illustrates the various levels of compliance for
each of the relevant requirements. It should be noted that, at least with respect to a number of the
requirements, there were not only a number of instances where supervisors affirmatively failed to
follow requirements, but also a large number of instances where available documentation or
evidence could not establish, one way or another, whether the supervisor in fact complied with the
requirements.

Specifically, responding supervisors must:

         •    “Locate relevant civilian witnesses including the subject and third parties, and arrange
              for those witnesses to be interviewed . . . separately where possible . . . us[ing] trauma-
              informed interview techniques where appropriate, and avoid leading questions.”273
              Such interviews should be recorded, including of the subject, whose “refusal to be
              interviewed” must also be recorded.274 The appropriate canvassing for witnesses
              occurred in a little more than half of all cases in 2018, 2019, and 2020. Supervisors
              arranged for those witnesses to be interviewed in just 22.7% of applicable instances in
              2018 and – after a spike to 72.7% of incidents in 2019 – 31.3% of applicable instances
              in 2020. It should be noted that the occurrence of witness interviews depends on BPD
              identifying potential witnesses, a witness electing to participate in an interview, and
              BPD ultimately conducting the interview. Consequently, the percentage of cases in
              which civilian witnesses are located and actually interviewed is only partially under the
              control of BPD.

              When witnesses were interviewed, the Monitoring Team could not, across a majority
              of incidents in both 2019 and 2020, respectively, determine whether witnesses were
              interviewed separately, using trauma-informed interview techniques, and avoiding
              leading questions. This likely related to the relatively low incidence of all interviews
              being audio- or video-recorded – in just 1 case in 2018, 2 cases in 2019, and 2 cases in
              2020.

         •    “[R]equest the subject’s statement regarding the use of Reportable Force and explain
              that it is for BPD’s administrative review to determine the propriety of the Reportable
              Force.”275 This request could be verified in only about half of Level 2 incidents in
              each of 2018, 2019, and 2020.




273
    Id. ¶ 188(a).
274
    Id. ¶ 188(b).
275
    Id. ¶ 188(c).


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         •    “Separate all officers involved . . until interviewed.”276 The Monitoring Team could
              verify that this occurred in only a small portion (about 20 percent) of Level 2 incidents
              in each of 2018, 2019, and 2020.

         •    Avoid asking officers or other witnesses leading questions during any interview.277 The
              assessment could verify that this occurred somewhat infrequently, reaching the lowest
              rate of any of the three years in 2020 (22.7% in 2020 compared to 26.8% in 2018 and
              45.5% in 2019).

         •    Ensure that “all officers who use Level 2 force . . . provide an oral use of force
              statement in person . . .on the scene prior to the subject’s being booked, or released,
              or the contact otherwise concluded.”278 Although this appeared to occur in close to
              two-thirds of cases in each of 2019 and 2020, improved performance – likely through
              better documentation – is necessary to reach compliance.

         •    “Review and flag for retention any body-worn camera footage capturing any part of
              the use of force incident.”279 In 2020, Monitoring Team reviewers could verify that
              this was occurring close to 89% of the time.

         •    “Canvass the area for any CCTV or other surveillance cameras in the area.”280 The
              Monitoring Team could verify compliance with, at most, about half of the cases
              evaluated in any given year – standing at 51.2% in 2020. Where a canvass could be
              verified, documentation was sufficient with respect to the location of the canvass and
              attempts to obtain video voluntarily.

         •    Photograph each of “the scene and location of the incident,”281 “any departmental or
              private property damaged as a result of an officer’s involvement,”282 and “the subject
              for identification purposes and all injuries or claims of injury to anyone involved.”283
              As Table 42 inventories, compliance with these requirements cannot yet be identified
              across a sufficient portion of Level 2 cases.

Table 44.         Level 2 Supervisor Response




276
    Dkt. 2-2 ¶ 188(d).
277
    Id.
278
    Id. ¶ 188(d)(ii).
279
    Id.¶ 188(e).
280
    Id. ¶ 188(f).
281
    Dkt. 2-2 ¶ 188(g).
282
    Id. ¶ 188(h).
283
    Id. ¶ 188(i).


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                                                                                   Not
Upon arrival at the scene, did the                                    Unable    to Applic
supervisor . . . ?                         Yes           No           Determine    able
Locate relevant civilian        2018       33    58.9%   13 23.2%     10 17.9%     4
witnesses including the subject 2019       31    58.5%   13 24.5%     9 17.0%      3
and third parties?              2020       20    54.1%   14 37.8%     3 8.1%       7
Request the subject’s statement
                                    2018 25      43.9%   8    14.0%   24 42.1%     3
regarding the use of
Reportable Force, explaining
that it is for BPD’s                2019 27      50.0%   6    11.1%   21 38.9%     2
administrative review to
determine the propriety of the      2020 22      50.0%   8    18.2%   14 31.8%     0
Reportable Force?
Separate all officers involve in    2018   11    20.4%   11   20.4%   32   59.3%   6
the Reportable Force incident       2019   8     17.4%   11   23.9%   27   58.7%   9
until interviewed?                  2020   8     20.5%   19   48.7%   12   30.8%   5
Avoid asking officers or other      2018   15    26.8%   3    5.4%    38   67.9%   3
witnesses leading questions         2019   20    37.7%   4    7.6%    29   54.7%   2
during any interview?               2020   10    22.7%   5    11.4%   29   65.9%   0
Ensure that all officers who
used Level 2 force provide an       2018 28      48.3%   2    3.4%    28 48.3%     1
oral use of force statement in
person to the supervisor on the     2019 36      66.7%   3    5.6%    15 27.8%     1
scene prior to the subject’s
being booked, or released, or
the contact otherwise               2020 28      65.1%   3    7.0%    12 27.9%     1
concluded?
Review and flag for retention       2018   49    84.5%   3    5.2%    6    10.3%   2
any body-worn camera footage
capturing any part of the use of
                                    2019   46    85.2%   0    0.0%    8    14.8%   1
force incident?                     2020   39    88.6%   3    6.8%    2    4.5%    0
Canvass the area for any            2018   23    40.4%   4    7.0%    30   52.6%   3
CCTV or other surveillance          2019   25    49.0%   2    3.9%    24   47.1%   3
cameras in the area?                2020   22    51.2%   11   25.6%   10   23.3%   1
Photograph the scene and
location of the incident to         2018 21      36.2%   14   24.1%   23 39.7%     2
accurately depict lighting,
weather, vehicle placement,
points of cover, and to identify    2019 18      34.0%   13   24.5%   22 41.5%     2
relevant evidence to be
collected if not collected by the
supervisor (such as forensic        2020 21      48.8%   15   34.9%   7    16.3%   0
evidence)?
Photograph any departmental         2018 10      40.0%   5    20.0%   10 40.0%     35
or private property damaged as
a result of an officer’s
                                    2019 9       33.3%   5    18.5%   13 48.1%     28
involvement and/or the
subject’s actions?                  2020 9       37.5%   9    37.5%   6    25.0%   20




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      Photograph the subject for        2018 31   57.4%      7    13.0%   16 29.6%      4
      identification purposes and all
      injuries or claims of injury to
                                        2019 25   48.1%      6    11.5%   21 40.4%      3
      anyone involved?                  2020 24   55.8%      11   25.6%   8 18.6%       0

Subsequently, “the supervisor conducting the use of force review will evaluate in writing all uses
of force for compliance with BPD policy, as well as any other relevant concerns,” and “provide
timely, constructive feedback, where appropriate.”284 Monitoring Team reviewers found that
supervisors thoroughly evaluated in writing all use of force for compliance with BPD policy in
78.9% of Level 2 incidents in 2018, 89.6% of incidents in 2019, and 93.4% of incidents in 2020.
However, this assessment regularly failed to provide a written accounting of “other relevant
concerns,” including tactical or threat assessment issues – with supervisors doing so in only 27.1%
of Level 2 incidents in 2018, in 48.4% in 2019, and in 40.0% in 2020. Where reviewers determined
that it was reasonably appropriate to do so, supervisors provided timely, constructive feedback in
30% of such incidents in 2018, in 36.7% in 2019, and in 40.4% in 2020.

The Decree requires that the supervisor’s force review “be completed . . . within 72 hours” of the
force incident “unless the supervisor’s commanding officer approves an extension.”285 In the case
of an extension, a variety of elements must be sufficiently documented.286 The timeliness of first-
line supervisory review is not yet meeting the 72-hour timeline as regularly as it should – with
compliance rates decreasing over the years from 2018 through 2020, as Table 43 summarizes.
Where timelines were not met, the approval of an extension by the supervisor’s commanding
officer could be located in only 2 instances across any of the years.

Table 45.            Was the First-Line, Permanent-Rank Supervisor’s Use of Force Review
                     Completed and Entered into Blue Team Within 72 Hours of the Use of
                     Reportable Force? (Level 2 Force Incidents)

                             Yes                  No                  Unable to
                                                                      Determine
                  2018       56          80.0%    5          7.1%     9         12.9%
                  2019       61          78.2%    8          10.3%    9         11.5%
                  2020       45          72.6%    15         24.2%    2         3.2%

During the force review process, if “a supervisor determines that force used by an officer may be
considered misconduct or potential misconduct, the supervisor will notify OPR [Office of
Professional Responsibility] of their determination” for purposes of a misconduct inquiry.287 The
Monitoring Team could not identify sufficient evidence of OPR/Public Integrity Bureau (“PIB”)

284
    Id. ¶ 189.
285
    Id. ¶ 190.
286
    Dkt. 2-2 ¶¶ 190(a)–(c).
287
    Id. ¶ 191.


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notification to be able to certify compliance with this requirement. BPD anticipates that specific
training on these requirements in general supervisor training being conducted in 2022 will
improve compliance in the future.

Across the requirements relating to Level 2 force incident review, BPD is not yet in
compliance. The Monitoring Team will need to see improved review quality and
documentation going forward – and culminating in a more comprehensive identification of
officer force that is inconsistent with BPD policy.

         3. Level 3 Force Incidents

Level 3 force incidents are investigated by the Special Investigation Response Team (“SIRT”).288
When a Level 3 incident occurs, any on-scene supervisor “take[]s initial steps in response to the
incident consistent with” Level 2 requirements “until turning the scene over to the Shift
Commander or arriving SIRT personnel.”289 Because Shift Commanders may, depending on the
time of day that the incident occurs and relative proximity of SIRT personnel, “arrive[] before the
SIRT personnel,” the Decree articulates several responsibilities of Shift Commanders for the
period between when they assume on-scene control and command and SIRT arrives.290
Monitoring Team reviewers could confirm that Shift Commanders arrived before SIRT in 4 of 25
incidents in 2018, in 6 of 20 incidents in 2019, and 5 of 19 incidents in 2020. In these limited
number of incidents, Shift Commanders largely complied with most the Decree’s requirements
regarding on-scene responsibilities. However, for large number of Level 3 incidents (15 of the 25
in 2018, 10 of 20 in 2019, and 10 of 19 in 2021), reviewers could not verify – one way or another
– whether a Shift Commander was or was not at the scene before SIRT. To this end, BPD will
need to enhance documentation efforts so that who has command of the scene is clearly recorded
across each stage of the post-incident response.

Once SIRT arrives, the Decree also outlines a number of specific requirements for the Team’s on-
scene investigation.291 Even as Monitoring Team members identified few instances where SIRT
personnel definitively failed to comply with the on-scene response protocols, documentation and
available evidence was insufficient to establish compliance in too many instances, as Table 44
inventories. Going forward, BPD’s compliance with Paragraph 206 of the Decree will require that
SIRT better document its efforts when it arrives on the scene of a Level 3 incident.

SIRT personnel must:



288
    Id. ¶¶ 201–02.
289
    Id. ¶¶ 201–04.
290
    Id. ¶¶ 205.
291
    Dkt. 2-2 ¶ 206.


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         •    “[A]ssume control of the use of force investigation upon their arrival” to the scene.292
              By 2020, SIRT personnel appeared to be assuming appropriate control of the scene in
              nearly every instance (15 of 16 cases).

         •    “[R]ecord all interviews with civilian witnesses.”293 Monitoring Team reviewers
              could certify that all civilian witness interviews were recorded in 6 of 10 relevant SIRT
              investigations in 2020. It should be noted that some witnesses declining to be recorded
              may be responsible for this lower rate of witness recording.

         •    “[E]nsure that the Shift Commander has separated all officers involved in or who
              witnessed” the force incident “until they are all interviewed.”294 Across evaluated
              years, the Monitoring Team could not verify that involved and witness officers were
              separated, suggesting that BPD should make improvements to available
              documentation.

         •    “[E]nsure [that] all video evidence is immediately gathered and assessed.”295 This
              includes SIRT personnel “canvass[ing] for any CCTV or privately owned video that
              may have captured the contact.”296 If video was captured, SIRT must “attempt to obtain
              copies voluntarily.”297 “If the owner of privately owned video refuses” or “[i]f no
              privately owned video is discovered,” SIRT personnel must document this.298 At least
              in the instances where the availability of relevant private video was documented, this
              video was provided to SIRT voluntarily in every instance across 2018, 2019, and 2020.

         •    “[A]rrange for a crime lab technician to process the scene.”299 The technician must
              “provide photos as soon as practicable to SIRT,” which Monitoring Team reviewers
              could verify across all instances where the involvement of a crime lab technician was
              sufficiently documented.300

         •    “[A]ttempt to interview” the subject of the force, audio-recording the interview.301
              Any “areas of injury to complaint of injury” must be photographed.302 As with other
              areas of SIRT investigations, a lack of documentation across investigations hindered a
              determination of compliance.

292
    Id. ¶ 206(a).
293
    Id. ¶ 206(b).
294
    Id. ¶ 206(c).
295
    Id. ¶ 206(d).
296
    Dkt. 2-2 ¶ 206(d).
297
    Id.
298
    Id.
299
    Id. ¶ 206(e).
300
    Id.
301
    Dkt. 2-2 ¶ 206(f).
302
    Id.


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         •    “[R]eview body-worn camera or other video” involving the incident and “document
              the content of such videos . . . prior to the end of their shift(s) unless impracticable.”303
              Available body-worn camera or other video was sufficiently documented in a vast
              majority of instances, with copies of the videos made available in the electronic use of
              force case file in BPD’s IAPro system. However, in nearly half of applicable incidents,
              Monitoring Team reviewers could not determine whether SIRT supervisors reviewed
              the video (as well as statements from witness officers) prior to the end of the
              supervisors’ shifts.

         •    “[A]sk involved officers if they are willing to provide a voluntary statement.”304 In the
              instances where SIRT personnel asked officers if they would provide a voluntary
              statement, a statement was provided in 70.0% of applicable instances in 2018, 71.4%
              of instances in 2019, and 50.0% of instances in 2020. Various requirements regarding
              these voluntary officer statements – including that SIRT administer Miranda warnings
              prior to the statement, that statements are recorded, and that all statements take place
              as soon as practical – were followed in many instances but could not be verified in a
              number of others.

         •    “[A]rrange for the involved and witness officers to submit use of force written reports
              . . . no later than 24 hours after the incident, except in” defined “extenuating
              circumstances.”305 Reviewers could verify, based on available information, that use of
              force reports were submitted within at least 24 hours (and as soon as practicable) in
              only some Level 3 incidents in each of 2018 (54.2%), 2019 (50.0%), and 2020 (26.7%).
              In only 1 instance in each year could this lack of timely submission be explained by
              extenuating circumstances, such as an officer injury.

         •    Notify various supervisors within BPD, as well as the Baltimore City State’s Attorney’s
              Office “no later than 24 hours after learning of the force, unless impractical,” with the
              notification “contain[ing] basic facts about the incident as they are known at the
              time.”306 Monitoring Team could confirm this in 40.9% of Level 3 incidents in 2018,
              38.9% in 2019, and 57.1% in 2020.

Table 46.          Level 3 SIRT Response

 Upon arrival at the scene, did                                             Unable to          Not
 SIRT personnel . . . ?                  Yes               No               Determine          Applicable


303
    Id. ¶ 206(g).
304
    Id. ¶ 206(h).
305
    Id. ¶ 206(i).
306
    Dkt. 2-2 ¶ 206(j).


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Assume control of the use 2018 19    90.5%   0   0.0%    2   9.5%    4
of force investigation     2019 12   63.2%   0   0.0%    7   36.8%   1
upon their arrival?        2020 15   93.8%   0   0.0%    1   6.3%    3
                           2018 13   61.9%   0   0.0%    8   38.1%   4
Record all interviews      2019 9    60.0%   0   0.0%    6   40.0%   5
with civilian witnesses?   2020 6    60.0%   0   0.0%    4   40.0%   9
Ensure that the Shift
Commander separated all 2018 2       13.3%   1   6.7%    12 80.0%    10
officers in or who
witnessed a use of force   2019 1    7.1%    1   7.1%    12 85.7%    6
incident until they were
all interviewed in
accordance with BPD        2020 1    8.3%    1   8.3%    10 83.3%    7
policy?
Ensure all video evidence 2018 17    81.0%   0   0.0%    4   19.0%   4
is immediately gathered    2019 15   78.9%   0   0.0%    4   21.1%   1
and assessed?              2020 11   73.3%   0   0.0%    4   26.7%   4
Canvass for any CCTV or 2018 17      73.9%   0   0.0%    6   26.1%   2
privately-owned video      2019 10   52.6%   0   0.0%    9   47.4%   1
that may have captured
the contact, attempting to 2020 8    57.1%   0   0.0%    6   42.9%   5
obtain copies voluntarily?
Arrange for a crime lab
technician to process the  2018 14   63.6%   0   0.0%    8   36.4%   3
scene according to the
Crime Scene Sciences       2019 14   73.7%   0   0.0%    5   26.3%   1
Sections’ technical
manual?                    2020 9    56.3%   1   6.3%    6   37.5%   3
Attempt to interview the
person upon whom the       2018 7    58.3%   0   0.0%    5   41.7%   12
officer used the
Reportable Force, to
obtain the person’s        2019 4    57.1%   0   0.0%    3   42.9%   13
account of what
happened, if possible, as
an audio-recorded          2020 5    55.6%   0   0.0%    4   44.4%   10
interview?
Photograph areas of        2018 8    50.0%   0   0.0%    8   50.0%   9
injury or complaint of
injury by the person upon 2019 8     53.3%   2   13.3%   5   33.3%   5
whom the officer used the
Reportable Force?          2020 8    72.7%   0   0.0%    3   27.3%   8




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 Review body-worn               2018   17    81.0%      1    4.8%       3    14.3%        4
 camera or other video of       2019   13    72.2%      0    0.0%       5    27.8%        1
 the incident?                  2020   12    85.7%      0    0.0%       2    14.3%        5
 Ask officers if they were      2018   10    50.0%      0    0.0%       10   50.0%        5
 willing to provide a           2019   7     38.9%      0    0.0%       11   61.1%        2
 voluntary statement?           2020   10    62.5%      0    0.0%       6    37.5%        3

“If the SIRT investigation indicates potential criminal conduct or administrative conduct, the SIRT
commander” must “notify[] the Chief of OPR.”307 In one 2018 case, SIRT’s investigation
indicated potential criminal conduct. “[I]n cases of potential criminal conduct,” SIRT must
“notify[] the appropriate prosecuting authority.”308 For the 2018 case, the SIRT commander did
notify the appropriate prosecuting authority. Where the SIRT investigation indicated potential
administrative conduct, the SIRT commander appropriately notified the Chief of OPR in 6 of 8
Level 3 incidents in 2018, in 1 of 1 Level incidents in 2019, and in 3 of 6 incidents in 2020.
However, SIRT’s conclusions regarding administrative misconduct and notifications to the Chief
of OPR were not as readily identifiable in a sufficient number of cases across 2018, 2019, and
2020 as needed to make a determination of compliance.

The primary issue that BPD must address with SIRT investigations is the quality and
comprehensiveness of investigative documentation. The Monitoring Team identified few
instances where it could determine that SIRT investigators affirmatively failed to comply with
Consent Decree requirements. Instead, the issue appears to be that available documentation does
not sufficiently establish that the necessary requirements were met.

C.          Use of Force Investigation: Overall

Monitoring Team members also evaluated the overall quality of the post-incident response and
investigation – taking into account all of the factors addressed previously and considering the
extent that the overall quality helps to establish a full and comprehensive picture of what transpired
during a force incident.

For Level 1 incidents, evaluators considered whether, in light of all of the facts and circumstances
of the underlying incident and the response process, the Department’s post-incident response
allowed it to obtain an account of the incident that was fair, thorough, objective, unbiased, and
timely. With respect to unbiased and timely force response and investigation, BPD by 2020 was
performing at a level consistent with compliance. On other dimensions – namely, the fairness,
thoroughness, and objectivity of responses and investigations – BPD improved since 2018.
However, a portion of incidents that the Monitoring Team indicated were “unable to determine”

307
      Id. ¶ 206(l).
308
      Id.


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along those dimensions reveals deficiencies with the quality and comprehensiveness of underlying
investigative files and materials. This further underscores the Department’s need to focus on
ensuring that involved personnel methodically inventory and memorialize review and investigative
efforts in Level 1 investigations.

Table 47.      Overall Quality of Force Response & Investigation, Level 1 Force

       In light of all the
       facts/circumstances of the
       underlying incident and the
       investigative process, did the
       post-incident response allow the
       Department to obtain an
       account of the incident that was                                      Unable    to
       ...?                                 Yes              No              Determine
                                    2018    78      85.7%    4    4.4%       9 9.9%
       Fair?                        2019    77      87.5%    2    2.3%       9 10.2%
                                    2020    86      97.8%    1    1.1%       1 1.1%
                                    2018    67      73.6%    13   14.3%      11 12.1%
       Thorough?                    2019    68      77.2%    10   11.4%      10 11.4%
                                    2020    84      95.5%    4    4.5%       0 0.0%
                                    2018    77      84.6%    4    4.4%       10 11.0%
       Objective?                   2019    73      83.0%    5    5.6%       10 11.4%
                                    2020    84      95.5%    3    3.4%       1 1.1%
                                    2018    76      84.4%    4    4.4%       10 11.2%
       Unbiased?                    2019    74      84.1%    2    2.3%       12 13.6%
                                    2020    84      96.5%    2    2.2%       1 1.3%
                                    2018    73      81.2%    9    10.0%      8 8.8%
       Timely?                      2019    76      86.4%    4    4.5%       8 9.1%
                                    2020    86      97.7%    2    2.3%       0 0.0%

At the same time, the Monitoring Team considered the portion of Level 1 force responses and
investigations that had no material problems with fairness, thoroughness, objectivity, bias, or
timeliness versus those that had one or more material problems. In 2018, 78.0% of Level 1
responses/investigations had no material issues along these dimensions. In 2019, that percentage
increased to 84.1%. In 2020, the percentage continued to increase – to 93.2%. This confirms that
it is primarily problems clustered within a small portion Level 1 cases that will need to be
addressed for BPD to come into compliance with respect to the requirements in Level 1
investigations.

For Level 2 and Level 3 incidents, Monitoring Team evaluators considered whether, in light of all
of the facts and circumstances of the underlying incident and the investigative process, the overall


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investigation was fair, thorough, objective, unbiased, and timely. Although a number of Level 2
and Level 3 investigations were of sufficiently high quality, some backsliding in overall quality in
2020 – as well as the number of Level 3 investigations that could not be certified as sufficiently
fair, thorough, objective, unbiased, and timely – suggests that BPD investigations must overall
continue to improve in order to each compliance.

Table 48.      Overall Quality of Force Response & Investigation, Level 2 Force

       In light of all the
       facts/circumstances of the
       underlying incident and the
       investigative process, did the
       post-incident response allow the
       Department to obtain an
       account of the incident that was                                      Unable    to
       ...?                                 Yes              No              Determine
                                    2018    56      77.8%    5    6.9%       11 15.3%
       Fair?                        2019    68      87.2%    3    3.8%       7 9.0%
                                    2020    57      90.5%    5    7.9%       1 1.6%
                                    2018    46      63.9%    15   20.8%      11 15.3%
       Thorough?                    2019    56      72.7%    9    11.7%      12 15.6%
                                    2020    41      65.1%    22   34.9%      0 0.0%
                                    2018    54      75.0%    7    9.7%       11 15.3%
       Objective?                   2019    67      85.9%    4    5.1%       7 9.0%
                                    2020    56      88.9%    7    11.1%      0 0.0%
                                    2018    55      76.4%    6    8.3%       11 15.3%
       Unbiased?                    2019    66      84.6%    3    3.8%       9 11.5%
                                    2020    56      88.9%    5    7.9%       2 3.2%
                                    2018    48      66.7%    14   19.4%      10 13.9%
       Timely?                      2019    63      80.8%    9    11.5%      6 7.7%
                                    2020    36      57.1%    25   39.7%      2 3.2%

Table 49.      Overall Quality of Force Response & Investigation, Level 3 Force

       In light of all the
       facts/circumstances of the
       underlying incident and the
       investigative process, did the
       post-incident response allow the
       Department to obtain an
       account of the incident that was                                      Unable    to
       ...?                                 Yes              No              Determine




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                                    2018   20     80.0%     0    0.0%       5    20.0%
           Fair?                    2019   11     55.0%     1    5.0%       8    40.0%
                                    2020   14     73.7%     1    5.3%       4    21.1%
                                    2018   17     68.0%     4    16.0%      4    16.0%
           Thorough?                2019   8      40.0%     4    20.0%      8    40.0%
                                    2020   13     68.4%     1    5.3%       5    26.3%
                                    2018   20     80.0%     0    0.0%       5    20.0%
           Objective?               2019   11     55.0%     1    5.0%       8    40.0%
                                    2020   14     73.7%     1    5.3%       4    21.1%
                                    2018   20     80.0%     0    0.0%       5    20.0%
           Unbiased?                2019   10     50.0%     1    5.0%       9    45.0%
                                    2020   13     72.2%     1    5.6%       4    22.2%
                                    2018   16     64.0%     5    20.0%      4    16.0%
           Timely?                  2019   6      30.0%     5    25.0%      9    45.0%
                                    2020   14     73.7%     3    15.8%      2    10.5%

Across all levels of force, Monitoring Team reviewers concluded that the investigation and
review process can and must still be improved for BPD to reach initial compliance with
provisions relating to force investigation – even as, across levels of force and for most major
dimensions, the overall quality of investigations improved over the 2018 through 2020 time
period.

D.          Assessment & Review of Use of Force

The Consent Decree requires not only that BPD generate a complete, thorough, and accurate
account of what transpires during incidents where officers use force but also that BPD supervisors
meaningfully review those investigations and evaluate the propriety of officer performance and
tactics. As with protocols regarding force investigation, expectations on the assessment and review
of force investigations relate to the relative severity, or Level, of force.

For both Level 1 and Level 2 force incidents, “[t]he first commander in the chain of command who
reviews” the underlying “supervisor’s use of force review of Level 1 and Level 2 Reportable
Force” – that is, the initial review discussed previously – “will ensure that the [prior] review is
thorough, complete, and makes the necessary and appropriate findings of whether the use of force
was consistent with BPD policy.”309 Thereafter, “each higher-level supervisor in the chain of
command will review the use of force review to ensure that it is complete and that the review was
thorough.”310



309
      Id. ¶ 192.
310
      Id.


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In this way, higher-level BPD supervisory review of force incidents must consider both officer use
of force in the underlying incident, the factual record that BPD personnel have generated on the
force incident, and the initial assessment of the incident that lower-level supervisors performed.
Monitoring Team reviewers considered, then, whether the supervisory review by BPD supervisors
across levels of command and review was sufficiently thorough – that is, “additional relevant and
material evidence” was unnecessary to “resolv[e] any discrepancies, lack of information, or
improve the reliability or credibility of findings.”311 In 2018, reviews across 75.9% of Level 1 and
Level 2 incidents were identified as sufficiently thorough. In 2019, that portion went down to
69.5% of Level 1 and 2 incidents. In 2020, the portion increased to 78.7% of incidents. In some
instances where the underlying review was determined to not be sufficiently thorough, a supervisor
“gather[ed] supplementary evidence or statements from officers, witnesses, or subjects.”312

A reviewing supervisor may “recommend changes to the findings” if they determine “that the
findings of the use of force review” previously “are not supported by a preponderance of the
evidence.”313 This occurred in 1 instance in 2018 and 3 instances in 2020. When doing so, the
supervisor must “consult[] with the investigating supervisor and the previous reviewer” and
“document the specific evidence or analysis supporting the modification.”314 This documentation
was apparent in each of the 4 relevant instances overall.

For Level 1 force incidents, “the district or unit commander will ordinarily be the final reviewer .
. . [,] [m]aking the final determinations of whether the findings by the chain of command . . . are
[1] consistent with law and policy and supported by a preponderance of the evidence; [2] whether
the review is thorough and complete; [and 3] whether there are tactical, equipment, or policy
considerations that need to be addressed.”315 As Table 4 illustrates, commanders are doing a good
job of making formal determinations about whether chain of command findings of Level 1 force
are consistent with law and policy and supported by a preponderance of the evidence. Similarly,
most commanders in 2020 were making clear determinations about whether the force review was
sufficiently thorough and complete, although several cases still did not contain sufficient
information or documentation to allow the Monitoring Team to make a clear determination. At
the same time, however, too few cases include clear indications as to whether the commander has
considered tactical, equipment, or policy issues.




311
    Dkt. 2-2 ¶ 193.
312
    Id.
313
    Id.¶ 194.
314
    Id.
315
    Id. ¶ 195.


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Table 50.           District/Unit Commander Determinations, Level 1 Force

      Did the District or Unit                                                          Not
      Commander make the final                                                          Applic
      determinations as to whether . .                                  Unable       to able
      ..?                                Yes            No              Determine
      The findings by the chain
                                 2018    82    92.1%    4    4.5%       3    3.4%        1
      of command are
      consistent with law and
                                 2019    78    90.7%    0    0.0%       8    9.3%        1
      policy and supported by a
      preponderance of the
                                 2020    80    93.0%    1    1.2%       5    5.8%        2
      evidence?
      The use of force review    2018    76    84.4%    9    10.0%      5 5.6%           0
      was thorough and           2019    69    79.3%    8    9.2%       10 11.5%         1
      complete?                  2020    78    89.7%    4    4.6%       5 5.7%           1
      There are tactical,        2018    25    30.1%    51   61.4%      7    8.4%        7
      equipment, or policy
      considerations that need   2019    18    24.3%    47   63.5%      9    12.2%       12
      to be addressed?           2020    23    30.3%    47   61.8%      6    7.9%        12

For Level 2 force incidents, the Department’s Use of Force Assessment Unit (“UOFAU”) reviews
the incident to determine the same things as a unit commander must determine in Level 1 incidents
(i.e. consistency with BPD policy, thoroughness of the assessment below, and the possibility of
any larger tactical, equipment, or policy considerations being implicated).316 Although BPD has
improved over time – from 31.9% of Level 2 cases definitively being reviewed by the Unit in 2018
and 19.5% definitively reviewed in 2019 to 60.3% reviewed in 2020 – there is not yet sufficient
evidence that the Unit is regularly and systematically reviewing Level 2 force cases.

For Level 3 force incidents, after SIRT completes the investigation, the Decree requires
investigators to “present the completed investigation to the Performance Review Board” “[w]ithin
60 days or as soon as possible thereafter.”317 Based on the available documentation, it appears that
only 5 of 25 cases in 2018 (20.0%), 2 of 20 cases in 2019 (10.0%), and 2 of 19 cases in 2020
(10.5%) were presented to the PRB within 60 days. The Monitoring Team has reason to believe
that subsequent reviews are likely to show improvements, and the Monitoring Team’s upcoming
report summarizing its assessment of the PRB will re-visit the issue.

The Performance Review Board’s consideration of SIRT and certain other force investigations is
the subject of a separate, standalone Monitoring Team assessment addressing Paragraphs 207
through 210 are currently underway.


316
      Dkt. 2-2 ¶ 197.
317
      Id. ¶ 206(k).


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E.     Final BPD Dispositions & Corrective Action

Section IV(A)(5) of this report summarizes BPD’s final determinations about, and corrective
action taken in connection to, incidents for which the Monitoring Team identified core deficiencies
with respect to the force’s necessity, proportionality, reasonableness, and consistency with the duty
to de-escalate. To reach initial compliance generally, and across a host of the specific
provisions discussed previously, the Department will need to become better at identifying
force inconsistent with BPD policy and taking appropriate corrective action where
appropriate.




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VII.       BPD DATA COLLECTION, ANALYSIS, AND REPORTING

The Decree contains several provisions relating to how BPD collects, maintains, and analyzes use
of force data. This section briefly considers the status of compliance with each.

Paragraph 211 of the Decree generally requires that the Department “collect and maintain all data
and records necessary to accurately evaluate its use of force practices and facilitate transparency
and . . . broad public access to information related to BPD’s decision making and activities.”318
As discussed and analyzed previously, and particularly in Section III of this report, the Department
is tracking, via its IAPro platform, a wealth of necessary information and data about individual
force incidents and applications. With respect to collection and maintenance, the Department has
made substantial strides. Nevertheless, as Section III also identifies, the current data system does
contain some deficiencies and some areas of data that lack the necessary level of quality. Indeed,
based on the Monitoring Team’s ongoing review of the Department’s required, annual Use of
Force Data Analyses, there are some deficiencies in data collection that will need to be addressed
for the Department to reach compliance. Additionally, there are currently no BPD use of force
reports or internal assessments available on BPD’s website, which is inconsistent with the
“transparency” and “broad public access” that the Decree requires. Consequently, even as the
Department has made meaningful strides toward rigorously, reliably, and comprehensively
tracking and maintain data on force, further steps are necessary for it to be initial compliance with
Paragraph 211.

Paragraph 212 more specifically details the documentation that BPD must “collect[] and track[] .
. . related to uses of force,” including:

           •    Officers’ Use of Force Reports;
           •    Supervisor’s use of force reviews;
           •    Force investigations by SIRT;
           •    Reviews conducted by OPR relating to officers’ uses of Reportable Force; and
           •    All supporting documentation and materials, including relevant CEW downloads,
                supporting audio-visual recordings, including witness and officer interviews, and any
                relevant camera downloads, including from body-worn cameras.319

BPD has demonstrated that they have the technology and capability to collect and track all of this
information via their various data systems. Officers’ use of force reports, supervisor’s use of force
reviews, force investigation materials, and PIBs reviews are all tracked or maintained within
various areas of the Department’s IAPro system. All supporting documentation and materials are
generally linkable by a shared identifier for review and assessment. As this report discusses

318
      Dkt. 2-2 ¶ 211.
319
      Id. ¶ 212.


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elsewhere, the lack of more reliable, streamlined information about incident and officer
adjudication is a deficiency that BPD will need to correct before the Department can be considered
to be in initial compliance with Paragraph 212.

Separate from required classes of documentation required by Paragraph 212, BPD must “ensure
the creation and maintenance of a reliable and accurate electronic system to track all data derived
from . . . Force-related documents.”320 The Decree proceeds to list several elements – many of
which are being collected in the Department’s IAPro database. However, the available data is
insufficient or insufficiently reliable and/or comprehensive in at least six material respects
implicated by the Paragraph’s requirements:

            (1) Ethnicity. Based on data BPD has provided, the variable of ethnicity is not collected
                consistently.

            (2) The subject’s perceived use of drugs or alcohol, or presence of disability. Force data
                provided by BPD the years for 2020 and 2021 do not include this information.

            (3) The subject’s actions that led to the use of force, including whether the subject was in
                possession of a weapon. Although this information is frequently reflected in an
                officer’s narrative describing the circumstances and actions associated with a force
                incident, the nature of a subject’s actions that led to force needs to be collected in a way
                that can be aggregated and analyzed in a more quantitative way.

            (4) For firearms-related deadly force incidents, the number of shots fired by each involved
                officer, the accuracy of the shots, and whether the subject was armed or unarmed.

            (5) Whether the officer or the subject received medical services.

            (6) Whether the subject was handcuffed or otherwise restrained during the use of force.

Again, it is possible that above mentioned missing data elements are incorporated in narrative or
other fields not provided for outcome assessment purposes. Indeed, across these various areas, the
Monitoring Team’s reviewers were able, at least for the subset of cases reviewed qualitatively, to
distill data points and permit some analysis. However, the reliable capture of the information
above in coded data that can be aggregated and analyzed empirically is vital for the Department’s
long-term transition to an agency that engages in ongoing, critical self-analysis about use of force
performance. Consequently, BPD is not yet in compliance with Paragraph 213.



320
      Id. ¶ 213.


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BPD is “responsible for the routine reporting of relevant data to the Commissioner, PRB, and
OPR.”321 The Department has made some progress toward compliance with Paragraph 214. Its
Performance Standards Section maintains detailed data and compliance audit scores on use of
force, and these ongoing “scorecards” are presented to various other groups within the Department,
as well as to the Court. Nevertheless, BPD will need to ensure the more ongoing sharing of this
and other data at regular intervals with PRB and PIB to reach initial compliance with Paragraph
214.

The Department must complete “an annual evaluation of forms and data collection systems to
improve the accuracy and reliability of data collection concerning use of force.”322 BPD is in the
process of drafting its first annual evaluation responsive to Paragraph 215, and their
implementation remains on track in this regard.

Finally, BPD must “analyze the prior year’s force data, including the force-related data listed
above, to determine trends; identify and correct deficiencies revealed by this analysis; and
document its findings in a public report.”323 BPD is currently finalizing its first report addressing
use of force data, which will cover the years 2017 through 2020 and was developed with
methodological input from the Department of Justice and Monitoring Team. Accordingly, BPD
is on track toward initial compliance with Paragraphs 216 (requiring the creation of a protocol to
facilitate the force analysis) and 217 (requiring the force analysis).




321
    Id. ¶ 214.
322
    Id. ¶ 215.
323
    Dkt. 2-2 ¶ 217.


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      VIII. COMPLIANCE ASSESSMENT CONCLUSIONS

Consent Decree Paragraph                                                                                    Compliance
                                                                                                              Score
A. Use of Force Principles
123    BPD has recently implemented improved policies regarding officers’ uses of force, and force              4c
       reporting, investigations, and reviews. BPD shall build on its recently improved policies,         (Implementation
       making further revisions where necessary under the provisions of this Agreement and, as
                                                                                                            – On Track)
       enumerated below, improve its training, investigations and review regarding officers’ uses of
       force to ensure that officers uphold the value and dignity of all individuals they encounter. To
       the extent BPD’s use of force and related policies meet the requirements of this Agreement,
       the policies need not be revised. As noted below, however, BPD must adhere to those
       requirements.
124    BPD will ensure that officers:                                                                           4c
          a. Are encouraged to resolve incidents without resorting to the use of force, when              (Implementation
             possible;
                                                                                                            – On Track)
          b. Use de-escalation techniques and tactics to minimize the need to use force and increase
             the likelihood of voluntary compliance with legitimate and lawful orders;
          c. Use tactics that do not unnecessarily escalate an encounter;
          d. Continually assess the situation and changing circumstances, and modulate the use of
             force appropriately;
          e. When force is necessary, use force in a manner that avoids unnecessary injury or risk of
             injury to officers and civilians;
          f. Recognize and act upon the duty to intervene to stop any officer from using excessive
             force;
          g. Accurately and completely report all Reportable Force used or observed; and
          h. Are held accountable for use of force that is not objectively reasonable or otherwise
             violates law or policy.
B. Policies on Officers’ Use of Force
125    BPD will require officers to use de-escalation techniques, including verbal persuasion and               4c
       warnings and tactical de-escalation techniques such as slowing down the pace of an incident,       (Implementation
       waiting out subjects, creating distance (and thus the reactionary gap) between the officer and
                                                                                                            – On Track)
       the threat, and requesting additional resources (e.g. specialized units, behavioral health care
       providers, negotiators, etc.), whenever possible, before resorting to force and to reduce the
       need for force.
126    Prior to using force, BPD officers shall be required to use, as appropriate and reasonably               4c
       practical, a critical thinking, decision-making framework to analyze and respond to incidents      (Implementation
       through which officers:
                                                                                                            – On Track)
          a. Gather relevant facts about the incident;
          b. Assess the situation, threats, and risks;
          c. Consider police powers and BPD policy;
          d. Identify options and determine the best course of action; and
          e. Act, review, and re-assess the situation.
127    BPD will ensure that if force becomes necessary, officers will use only the amount of force              4c
       necessary to control the person and immediately reduce the level of force as the threat            (Implementation
       diminishes.
                                                                                                            – On Track)



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128   BPD will ensure it maintains a clear and comprehensive use of force policy that includes all              4d
      critical components to guide officers on using force constitutionally.                                  (Initial
                                                                                                            Compliance)

129   BPD will ensure its use of force policies guide officers on all force techniques, technologies,           4d
      and weapons that are available to BPD officers and clearly define and describe each force               (Initial
      option and the circumstances under which use of such force is appropriate and consistent with
                                                                                                            Compliance)
      potential types of resistance.

130   BPD will ensure that its policies provide guidance on the circumstances that may warrant                   4c
      engaging in a foot pursuit and the tactics officers should use to avoid the use of excessive         (Implementation
      force during or at the conclusion of a foot pursuit, and to keep members of the public and
                                                                                                             – On Track)
      officers safe.
131   BPD will ensure that its use of force policy provides guidance on specific protocols and                  4d
      practices to use when engaging with Youth, including the circumstances under which force                (Initial
      against Youth may be warranted, such as:
                                                                                                            Compliance)
         a. When feasible, BPD will employ developmentally appropriate and trauma-informed de-
            escalation tactics including, but not limited to, using a calm, neutral demeanor, and
            avoiding threatening language;
         b. If force is necessary, BPD officers will take into account individualized factors of the
            Youth including, apparent age, body size, and relative strength of the officer relative to
            the Youth; and risk posed by the Youth;
         c. BPD will ensure that officers consider whether a subject may be noncompliant due to a
            medical or behavioral health disability, behavioral health crisis, physical or hearing
            impairment, language barrier, or drug or alcohol use; and
         d. In case of injury resulting from a use of Reportable Force, BPD will take immediate
            steps to provide medical attention to the Youth and will notify the Youth’s parent,
            guardian, or other responsible adult.
132   BPD will ensure that officers do not use more force than necessary to detain a restrained                  4c
      person. BPD will review force used against restrained individuals to ensure that it was              (Implementation
      necessary and proportional given the offense committed by the subject and the danger the
                                                                                                             – On Track)
      subject posed to others.
133   With regard to using force against persons engaged in First Amendment protected activity,                 4d
      BPD will explicitly prohibit the use of retaliatory force by officers.                                  (Initial
                                                                                                            Compliance)

134   BPD shall also explicitly prohibit the use of force for punishment, including that officers                  4c
      shall not use force to punish individuals for fleeing, resisting arrest, or assaulting an officer.   (Implementation
                                                                                                             – On Track)
135   Recognizing that tactics leading up to the use of force can influence whether the force used                 4c
      was necessary, BPD will prohibit the use of tactics that unnecessarily escalate an encounter         (Implementation
      and create a need for force.
                                                                                                             – On Track)
136   BPD will ensure that officers only use the weapons that are enumerated in policy and force                  4d
      techniques on which they are trained, unless warranted by extenuating circumstances, which                (Initial
      will be scrutinized on a case-by-case basis.
                                                                                                             Compliance)


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137   BPD will prohibit the use of chokeholds or neckholds unless deadly force is authorized and               4c
      no reasonable force alternative exists that is within BPD policy.                                  (Implementation
                                                                                                           – On Track)
138   BPD will revise its policies as needed to ensure they specify that use of force that is not              4c
      objectively reasonable will subject officers to corrective action, discipline, possible criminal   (Implementation
      prosecution, and/or civil liability.
                                                                                                           – On Track)
139   BPD will revise its policies to require that officers who carry a firearm also carry on their            4c
      person at least one less-lethal weapon which they are trained and certified to use, at all times   (Implementation
      while on duty, whether in uniform or while working in a plainclothes capacity. Officers who
                                                                                                           – On Track)
      are working undercover or whose role is in an administrative or investigative capacity, unless
      such duties routinely involve conducting Stops, Searches, or Arrests, are exempted from this
      requirement.
140   BPD will ensure that it continues to categorize Reportable Force into levels for the purposes           4d
      of reporting and reviewing each use of force. These levels will be based on the following             (Initial
      factors: potential of the technique or weapon to cause injury or disability; degree of actual
                                                                                                          Compliance)
      injury or disability; duration of force; potential for abuse or misuse of weapon or force; and
      physical vulnerability of the subject. Each level of Reportable Force, as defined below, will
      require increasingly rigorous reporting, investigation, and review.
      [Sets forth definitions of Level 1, Level 2, and Level 3 force, above at Section II(B).]
141   BPD will require officers to intervene in incidents in which another officer uses excessive              4c
      force.                                                                                             (Implementation
                                                                                                           – On Track)
Weapon-specific provisions: Conducted Electrical Weapons (CEWs)
142   BPD will require that only officers who have successfully completed approved annual                     4d
      training on CEWs, including a testing component, and are currently certified may be issued,           (Initial
      carry, and use CEWs.
                                                                                                          Compliance)

143   BPD will ensure that officers will use CEWs only where grounds for Arrest or detention are              4d
      present, and such force is necessary to protect the officer, the subject, or another party from       (Initial
      immediate physical harm.
                                                                                                          Compliance)

144   BPD will ensure that each application (in probe or drive stun mode) or standard cycle (five             4d
      seconds) of a CEW is a separate use of force that officers must separately justify as                 (Initial
      objectively reasonable. BPD will ensure that, after the first CEW application, the officer will
                                                                                                          Compliance)
      reevaluate the situation to determine if subsequent cycles are necessary. In determining
      whether any additional application is objectively reasonable, officers will consider whether
      the individual has the ability and has been given a reasonable opportunity to comply prior to
      applying another cycle.
145   BPD will require that officers not employ more than three cycles or 15 total seconds of a               4d
      CEW against a subject during a single incident unless lethal force is justified.                      (Initial
                                                                                                          Compliance)




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146   BPD will ensure that officers:                                                                           4d
         a. Do not use CEWs in drive-stun mode as a pain compliance technique. Officers may use              (Initial
            CEWs in drive-stun mode only to supplement the probe deployment to complete the
                                                                                                           Compliance)
            incapacitation circuit, or as a countermeasure to gain separation between the officer and
            the subject so that officers can consider another force option;
         b. Determine the objective reasonableness of CEW use based on relevant circumstances,
            including the subject's apparent age, size, physical and mental condition, and the
            feasibility of lesser force options;
         c. Except where lethal force is the only other option, do not use CEWs when it is
            reasonably evident that a deployment may cause serious physical injury, including if the
            subject is in danger of falling from a significant height, if the subject is in physical
            control of a vehicle in motion, or if the subject has been exposed to the MK-9 Pepper
            Fogger or flammable material, such as gasoline or an alcohol-based pepper spray;
         d. Except where lethal force is the only other option, do not use CEWs when a reasonable
            officer would know that the subject is pregnant, elderly, a small child, visibly frail, has
            low body mass;
         e. Do not use CEWs on fleeing persons who do not pose an imminent threat of physical
            harm to the officer or others. Flight will never be the sole reason for applying a CEW on
            a subject;
         f. Unless the use of lethal force is justified, do not apply CEWs in drive stun mode to a
            subject’s head, neck, chest or groin;
         g. Are trained to target the CEW in probe mode at the lower center mass and to avoid the
            head, neck, chest and groin;
         h. Do not activate more than one CEW at a time against a subject; and
         i. Keep CEWs in a weak-side holster to reduce the chances of accidentally drawing and/or
            firing a firearm.
147   BPD will ensure officers will obtain appropriate medical treatment for suspects after a CEW              4d
      deployment. BPD will ensure that only trained medical personnel remove probes from a                   (Initial
      subject.
                                                                                                           Compliance)

148   BPD will require CEW inspections on a periodic basis to conduct information downloads,                   4d
      ensure CEWs are operable, and to perform necessary maintenance or repairs.                             (Initial
                                                                                                           Compliance)

Batons/Impact Weapons
149   Officers will be trained and certified for department-approved batons and espantoons                      4c
      (collectively “Impact Weapons”) before being authorized to carry Impact Weapons.                    (Implementation
                                                                                                            – On Track)
150   BPD will require that Impact Weapon use will be limited to situations in which such force is              4c
      objectively reasonable, consistent with the principles outlined above, and BPD’s training, for      (Implementation
      example, when it is necessary to protect the officer, the subject, or another party from
                                                                                                            – On Track)
      immediate serious physical harm.
151   BPD will require that officers justify each strike with an impact weapon.                                 4c
                                                                                                          (Implementation
                                                                                                            – On Track)


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152   BPD will ensure that officers will not use Impact Weapons on individuals who are restrained                4c
      or under control, even if they are non-compliant, unless they present an imminent threat to          (Implementation
      the safety of the officer or others. Prior to using Impact Weapons on individuals who are
                                                                                                             – On Track)
      restrained, officers must first attempt to exercise additional control over the individual by
      using hands-on control measures or arrest control techniques before the use of Impact
      Weapons is justified.
Oleoresin Capsicum Spray (“OC Spray”)
153   BPD will ensure that officers use OC Spray only when such force is objectively reasonable                 4d
      and consistent with the use of force principles above, including when used for crowd                    (Initial
      dispersal or protection.
                                                                                                            Compliance)

154   BPD will ensure that officers do not use OC Spray to disperse crowds unless individuals                   4d
      within those crowds are committing acts that endanger officer or public safety and security,            (Initial
      property, and participants refuse to obey lawful orders to disperse. Where OC spray is used
                                                                                                            Compliance)
      on an individual in a crowd, BPD will ensure that the spray is directed at the person(s) who
      presents a threat.
155   BPD will ensure that officers shall, whenever practical and reasonable, issue a verbal warning            4d
      to the subject and allow a reasonable amount of time to allow the subject to comply with the            (Initial
      warning.
                                                                                                            Compliance)

156   BPD will ensure that after the initial application of OC spray, each subsequent spray must                4d
      also be objectively reasonable and consistent with the use of force principles above and the            (Initial
      officer should reevaluate the situation accordingly.
                                                                                                            Compliance)

157   BPD will ensure that officers do not ordinarily use OC Spray on a person who is handcuffed                4d
      or otherwise restrained. If such a person, however, is still combative or violent, and presents         (Initial
      an imminent threat to the safety of the officer or others, officers must first attempt to exercise
                                                                                                            Compliance)
      additional control over the individual by using hands-on control measures or arrest control
      techniques before the use of OC Spray is justified.
158   BPD will provide officers with proficiency training on the use of OC Spray before they are                4d
      certified to carry and/or use OC Spray. Such training will include protocols regarding                  (Initial
      officers’ responsibilities following OC Spray use, including minimizing exposure of non-
                                                                                                            Compliance)
      targeted individuals and decontamination of exposed subjects. Officers will render aid
      consistent with their training and experience and arrange immediate transport to a hospital for
      medical treatment for subjects on whom OC Spray has been used under the following
      circumstances: (1) when they complain of or exhibit continued effects after having flushed
      the affected areas; (2) when they indicate that they have a pre-existing medical condition
      (e.g., asthma, emphysema, bronchitis, heart ailment) that may be aggravated by chemical
      spray.
159   BPD will ensure that officers will use only department-issued or approved OC Spray.                        4c
                                                                                                           (Implementation
                                                                                                             – On Track)
Firearms
160   BPD will prohibit officers from exhibiting or pointing a firearm unless the officer reasonably             4d
      believes that the situation may escalate to create an imminent threat of serious bodily injury


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      or death to the officer or another person. BPD will provide officers with policy guidance on          (Initial
      the circumstances under which it is appropriate to exhibit a firearm.                               Compliance)

161   BPD will develop and implement a plan to ensure that it can track the date of officers’                 4d
      qualifications and require that officers successfully qualify in accordance with the Maryland         (Initial
      Police Training and Standards Commission (“MPTSC”) regulations and standards with each
                                                                                                          Compliance)
      firearm they are authorized to use or carry while on duty. Officers who fail to qualify will
      immediately relinquish the corresponding BPD-issued firearms.
162   BPD will ensure that, when officers discharge firearms, they continually assess the                        4c
      circumstances that necessitated the discharge and modulate their use of force accordingly,         (Implementation
      including ceasing to use their firearm when the circumstances no longer require it.
                                                                                                           – On Track)
163   BPD will ensure that officers, when practical, identify themselves as a law enforcement                    4c
      officer and state their intention to use deadly force before using a firearm.                      (Implementation
                                                                                                           – On Track)
164   BPD will ensure that officers do not fire warning shots.                                                  4d
                                                                                                              (Initial
                                                                                                           Compliance)

165   BPD will prohibit officers from firing at moving vehicles except (1) to counter an imminent             4d
      threat of death or serious physical injury to the officer or another person, by a person in the       (Initial
      vehicle, other than the vehicle itself or (2) to counter a situation where the officer or others
                                                                                                          Compliance)
      are unavoidably in the path of the vehicle and cannot move safely. Officers should avoid
      positioning themselves in the path of a moving vehicle where they have no option but to use
      deadly force.
C. Training
166   BPD will provide all current officers with use of force training as determined by the                   4d
      Monitoring Plan and in conformance with the terms of this Agreement. The use of force                 (Initial
      training will include:
                                                                                                          Compliance)
          a. Proper use of force decision-making under a critical-thinking, decision-making model
             which requires officers to:
               i. Gather relevant facts about the incident;
               ii. Assess the situation, threats, and risks;
               iii. Consider police powers and BPD policy;
               iv. Identify options and determine the best course of action; and
               v. Act, review, and re-assess the situation.
          b. Role-playing scenarios and interactive exercises that illustrate proper use of force
             decision-making, including training on the importance of peer intervention;
          c. The Fourth Amendment and related law;
          d. De-escalation techniques, both verbal and tactical, that empower officers to make
             Arrests without using force and instruction that verbal persuasion, slowing down the
             pace of the situation, disengagement, area containment, surveillance, waiting out a
             subject, summoning reinforcements, using cover, calling in specialized units, or
             delaying arrest may be the appropriate response to a situation, even when the use of
             force would be legally justified;




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         e. Officers will be trained to consider the possibility that a subject may be noncompliant
            due to a medical or mental condition, physical or hearing impairment, language barrier,
            drug interaction, or emotional crisis;
         f. The proper deployment and use of all BPD issued or approved weapons or technologies;
         g. The risks of prolonged or repeated CEW exposure, including the increased risks on
            persons who are in in crisis or experiencing a Behavioral Health Disability;
         h. The increased risks CEWs may present to a subject who is pregnant, elderly, a small
            child, frail, has low body mass, or is in apparent medical crisis;
         i. That when using an CEW in the drive stun mode it is generally less effective than the
            probe mode and, when used repeatedly, may exacerbate the situation;
         j. That force may not be used when a person is non-compliant, but is restrained and under
            an officer’s control;
         k. Firearms training;
         l. Identifying and responding to someone who may be armed;
         m. The circumstances that may warrant engaging in a foot pursuit and appropriate tactics
            to avoid the use of excessive force during or at the conclusion of a foot pursuit, and to
            keep members of the public and officers safe;
         n. For supervisors of all ranks, as part of their initial and annual in-service supervisory
            training, training in conducting use of force reviews or investigations appropriate to
            their rank; strategies for effectively directing officers to minimize uses of force and to
            intervene effectively to prevent or stop objectively unreasonable force; and supporting
            officers who report objectively unreasonable or unreported force, or who are retaliated
            against for attempting to prevent
         objectively unreasonable force; and
         o. Use of force reporting, investigation, and review requirements.
167   BPD also will provide the use of force training described in the paragraph above to all new             4d
      officers as part of its Professional Development and Training Academy (“Academy”) training            (Initial
      curriculum.
                                                                                                          Compliance)

168   BPD will provide all officers with annual use of force in-service training to ensure that               4d
      officers maintain critical skills as determined by the Monitoring Plan and in conformance             (Initial
      with the terms of this Agreement.
                                                                                                          Compliance)

D. Reporting, Investigating and Reviewing Force
169   BPD will require for every use of Reportable Force, which includes any Level 1, Level 2, or              4c
      Level 3 use of force as defined in Paragraph 140, regardless of level, the following elements:     (Implementation
        a. Initial Reporting and Response: requirements that describe officers’ duty to report uses
                                                                                                           – On Track)
           of Reportable Force and BPD supervisors’ duty to respond and direct activities at the
           scene of Levels 2 and 3 Reportable Force;
        b. Supervisory Review: requirements that describe who is responsible for the review of
           Reportable Force and how to conduct that review. Reviews of all levels of force will
           require critical examination of the incident, pursuant to BPD policy. Level 1 uses of
           Reportable Force will be reviewed by an uninvolved permanent-rank supervisor of the
           same rank or above of the involved officer. Level 2 uses of Reportable Force will be
           reviewed by an uninvolved permanent-rank supervisor above the rank of the involved
           officer. Level 3 Reportable Force will be investigated by the Special Investigations




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            Response Team (“SIRT”) and reviewed by the Performance Review Board (“PRB”).
            Reviews of Reportable Force will review whether the use of force was objectively
            reasonable, as well as whether it violated any policy, and to identify any concerns
            regarding training, tactics, equipment, or supervision;
         c. Departmental Analysis: requirements that describe how use of Reportable Force
            incidents are reviewed by the BPD command and how information gathered about the
            incident could be used to increase the effectiveness of the officer and the Department as
            a whole; and
         d. Record Keeping and Follow-up: the Administrative Report, Form 95 and Force Report,
            Form 96 and use of force review form and all associated documentation or other
            evidence, including photographs and video, related to the incident (collectively “Use of
            Force Reports”) will be maintained in Blue Team or other database as adopted in
            accordance with this Agreement, tracked, and used to inform BPD force-related
            practices and training.
Reporting
170   BPD will ensure that officers notify a permanent-rank supervisor immediately, or as soon as              4d
      practicable, following a use of Reportable Force. The supervisor will notify the Shift                 (Initial
      Commander by the end of the shift during which the force occurred. The notification will
                                                                                                           Compliance)
      contain basic information concerning the incident.

171   BPD will ensure that officers accurately, thoroughly, and timely report their uses of                    4d
      Reportable Force.                                                                                      (Initial
                                                                                                           Compliance)

172   After any officer-involved shooting, any officer that discharged their firearm will provide a             4c
      Public Safety Statement to their supervisor when they arrive on the scene. The Public Safety        (Implementation
      Statement will include:
                                                                                                            – On Track)
          a. Type of force used by the officer and the threat presented by other involved parties;
          b. Direction and approximate number of shots fired by the involved officer(s) and
             suspect(s);
          c. Location of any unsecured weapons;
          d. Location of injured persons;
          e. Description of outstanding suspect(s) and his or her direction of travel, time elapsed
             since the suspect was last seen, and any weapon(s) that were available to them;
          f. Description and location of any known victims or witnesses;
          g. Description and location of any known evidence; and
          h. Other information as necessary to ensure officer and public safety, and assist in the
             apprehension of outstanding suspects.
173   BPD will ensure that every officer who uses or observes a use of Reportable Force will                    4c
      document all matters that they have a duty to report in a Use of Force Report by the end of         (Implementation
      their tour of duty:
                                                                                                            – On Track)
      a. For Level 1 Reportable Force, officers have a duty to report: (1) the reason for the initial
      police presence; (2) a specific description of the acts that led to the Reportable Force; (3) the
      level of resistance encountered; and (4) a description of every type of Reportable Force used.
      b. For Level 2 and Level 3 Reportable Force, officers have a duty to report each of the
      following:
          i. The reason for the initial police presence;




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         ii. A detailed narrative account of the incident from the officer’s perspective, including:
            1. A detailed description of the subject;
            2. The severity of the crime at issue;
            3. The presence and location of witnesses at the scene;
            4. A specific description of the acts that led to the use of Reportable Force;
            5. The level of resistance encountered;
            6. The threat the subject posed;
            7. The force options available to the officer;
            8. Any de-escalation techniques used; and
            9. A description of every type of Reportable Force used.
174   For Level 2 and Level 3 uses of Reportable Force, BPD will require an uninvolved                         4c
      permanent-rank supervisor of an officer using such force to respond to the scene. The              (Implementation
      supervisor will determine, based on policy and the facts then known, the level at which the
                                                                                                           – On Track)
      use of force should be categorized. A supervisor may opt for a higher level response than
      would usually be required for the level of the force used, depending on the circumstances of
      the incident.
175   When an incident involves multiple types of force or multiple officers, the entire incident will         4c
      be reported and investigated at the highest level of force used by any officer during the          (Implementation
      incident.
                                                                                                           – On Track)
176   BPD will revise its policies to ensure that officers will not use conclusory statements,                 4c
      boilerplate, or canned language (e.g., “furtive movement” or “fighting stance”) without            (Implementation
      supporting incident-specific detail in their Use of Force Reports.
                                                                                                           – On Track)
177   BPD will revise its policies to clarify that where Use of Force Reports are found to include             4c
      material omissions or inaccuracies, BPD will take corrective action, including discipline as       (Implementation
      appropriate:
                                                                                                           – On Track)
         a. Where the material omissions or inaccuracies are found to be deliberate, the officer will
            be disciplined for failing to report, up to and including termination, subject to legal
            limits; and
         b. BPD will review the information previously omitted or provided inaccurately to
            determine the truth of the incident. BPD will thoroughly review the entire incident using
            the new information to determine the consequences of the new information on the
            propriety of officers’ actions.
178   BPD will revise its policies to clarify that officers who use or observe a use of Reportable             4c
      Force but do not report it will be disciplined, up to and including termination.                   (Implementation
                                                                                                           – On Track)
179   BPD will revise its policies to include particularized reporting and review requirements for             4c
      CEWs, OC spray, and firearms.                                                                      (Implementation
                                                                                                           – On Track)
Supervisory response and reviews for Levels 1 and 2 Reportable Force
180   A supervisor of the officer(s) employing a Level 1 use of force will review and document                 4c
      approval or elevate the Level 1 force before the end of the shift during which the Level 1         (Implementation
      force was used. It is not mandatory for supervisors to report to the scene of a Level 1 use of
                                                                                                           – On Track)
      force.
181   Supervisors will elevate and investigate any Level 1 use of force that appears to have been              4c
      inappropriate or improperly categorized as a Level 1 use of force. If a supervisor determines




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      that an officer’s report reveals evidence of potential criminal conduct, he or she will promptly      (Implementation
      notify OPR.                                                                                             – On Track)
182   BPD will ensure that the uninvolved permanent-rank supervisor of the officer(s) employing a                 4c
      Level 2 use of Reportable Force will thoroughly review the incident for consistency with              (Implementation
      BPD’s Use of Force policy and the terms of this Agreement. The supervisor will complete the
                                                                                                              – On Track)
      use of force review and within 72 hours of the incident will forward it, via Blue Team, to the
      lieutenant (or above as necessary) of the officer(s) who used the Reportable Force.
183   If necessary, a supervisor in the chain of command will re-classify a use of force review to                4c
      the appropriate Reportable Force Level and ensure that any appropriate additional action is           (Implementation
      taken based on the newly assigned Level of force, if necessary. If a supervisor or above
                                                                                                              – On Track)
      determines that an officer’s report reveals evidence of misconduct or potential criminal
      conduct, he or she will promptly notify the Office of Professional Responsibility (“OPR”).
184   BPD will ensure that the uninvolved permanent-rank supervisor of the officer(s) using force,                4c
      upon notification of a Level 2 use of Reportable Force incident, will respond to the scene.           (Implementation
                                                                                                              – On Track)
185   BPD will ensure that whenever there is a visible injury, complaint of injury, or medical                    4c
      attention is requested by any individual, officers shall immediately obtain any necessary             (Implementation
      medical care. An officer will be expected to provide emergency first aid consistent with their
                                                                                                              – On Track)
      training and experience until professional medical care providers are on scene.
186   The supervisor who responds to the scene to review the Reportable Force used must hold a                    4c
      permanent-rank higher than any involved officer(s) who used Reportable Force or directed              (Implementation
      that it be used.
                                                                                                              – On Track)
187   BPD will ensure that whenever a supervisor uses, directs, or is otherwise personally involved               4c
      in any type of use of Reportable Force, including participating in the tactical planning that led     (Implementation
      to the Reportable Force, a higher-ranking supervisor who was not involved in the incident
                                                                                                              – On Track)
      will review the Reportable Force. If a Lieutenant or above is involved, the review may be
      conducted by a supervisor of equal rank. The Commissioner or his/her designee may, in their
      discretion, reassign a review of force of any Level to SIRT.
188   For Level 2 uses of Reportable Force, BPD will ensure that upon arrival at the scene, to                    4c
      conduct a thorough, reliable review, the uninvolved permanent-rank supervisor will identify           (Implementation
      and collect evidence sufficient to establish the material facts related to the Reportable Force.
                                                                                                              – On Track)
      The uninvolved permanent-rank supervisor will:
          a. Locate relevant civilian witnesses including the subject and third parties, and arrange
             for those witnesses to be interviewed. Witnesses should be interviewed separately where
             possible. Supervisors should use trauma-informed interview techniques where
             appropriate, and avoid leading questions;
          b. Use Department-issued equipment to record interviews with civilian witnesses.
             Interviews of the subject, or the subject’s refusal to be interviewed, will be also audio or
             video recorded;
          c. Not extend the subject’s detention to facilitate the screening process of the level of
             Reportable Force if the subject is free to leave. However, the uninvolved permanent-
             rank supervisor will request the subject’s statement regarding the use of Reportable
             Force and explain that it is for BPD’s administrative review to determine the propriety
             of the Reportable Force. The subject will be advised that he or she is free to leave, when
             that is the case;
          d. Separate all officers involved in a use of Reportable Force incident until interviewed.
             Group interviews will be prohibited. Supervisors will not ask officers or other witnesses


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             leading questions that suggest legal justifications for the officers’ conduct, where such
             questions are contrary to appropriate law enforcement techniques;
               i. All interviews will be conducted in accordance with BPD policy and the Law
                  Enforcement Officers’ Bill of Rights (“LEOBR”).
               ii. If not in conflict with state law, and consistent with the terms of this Agreement, all
                  officers who use Level 2 force will provide an oral use of force statement in person
                  to the supervisor on the scene prior to the subject’s being booked, or released, or
                  the contact otherwise concluded;
          e. Review and flag for retention any body-worn camera footage capturing any part of the
             use of force incident;
          f. Canvass the area for any CCTV or other surveillance cameras in the area, document
             their locations, and attempt to obtain video voluntarily, review the footage, and upload it
             into Blue Team. If unable to obtain the video voluntarily, document why the footage
             could not be retrieved;
          g. Photograph the scene and location of the incident to accurately depict lighting, weather,
             vehicle placement, points of cover, and to identify relevant evidence to be collected if
             not collected by the supervisor, such as forensic evidence; h. Photograph any
             departmental or private property damaged as a result of an officer’s involvement; and i.
             Photograph the subject for identification purposes and all injuries or claims of injury to
             anyone involved, and denote the lack of injury when applicable.
189   The supervisor conducting the use of force review will evaluate in writing all uses                          4c
      of force for compliance with BPD policy, as well as any other relevant concerns (e.g., tactical        (Implementation
      or threat assessment). The supervisor should provide timely, constructive feedback, where
                                                                                                               – On Track)
      appropriate.
190   For Level 2 Reportable Force, the first-line permanent-rank supervisor’s use of force review                 4c
      will be completed and entered into Blue Team within 72 hours of the use of Reportable                  (Implementation
      Force, unless the supervisor’s commanding officer approves an extension. This
                                                                                                               – On Track)
      documentation will include the following:
          a. A detailed narrative description of the incident that will describe the force used by the
             officers and the subject(s), any injuries sustained by the subject(s) and the officer(s), and
             the sequence of events comprising the incident. Additionally, it will document the
             supervisor’s actions in reviewing or screening the incident. The summary should
             provide a commander, who is reviewing the report, a complete understanding of the
             incident;
          b. Documentation of all evidence that was gathered, including physical evidence;
             photographs; and names, phone numbers, addresses, and recorded statements of civilian
             witnesses to the incident; and reports by witnessing officers; and
          c. A review of the incident, including a discussion and resolution of any material
             inconsistencies in the evidence of statements; whether the force used was necessary,
             proportional and objectively reasonable, and otherwise within BPD policy.
191   BPD policy will require that where a supervisor determines that force used by an officer may                 4c
      be considered misconduct or potential criminal conduct, the supervisor will notify OPR of              (Implementation
      their determination.
                                                                                                               – On Track)
          a. Any review by OPR of the incident will be connected in BPD’s database systems to the
             use of force review conducted by the supervisor, such that an inquiry into the incident
             will allow easy and efficient access to the entire review files of both the supervisor and
             OPR.
Assessments of Levels 1 and 2 Use of Force Reviews


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192   The first commander in the chain of command who reviews the uninvolved permanent-rank                  4c
      supervisor’s use of force review of Level 1 and Level 2 Reportable Force will ensure that the    (Implementation
      review is thorough, complete, and makes the necessary and appropriate findings of whether
                                                                                                         – On Track)
      the use of force was consistent with BPD policy. In accordance with BPD policy, each
      higher-level supervisor in the chain of command will review the use of force review to ensure
      that it is complete and that the review was thorough.
193   BPD will ensure that a supervisor gather supplementary evidence or statements from officers,           4c
      witnesses, or subjects when it appears that additional relevant and material evidence may        (Implementation
      assist in resolving any discrepancies, lack of information, or improve the reliability or
                                                                                                         – On Track)
      credibility of the findings. Every supervisor in the chain of command is responsible to assure
      the accuracy and completeness of the use of force review completed by supervisors, and for
      initiating corrective action.
194   When it appears that the findings of the use of force review are not supported by a                    4c
      preponderance of the evidence, the supervisor will recommend changes to the findings after       (Implementation
      consultation with the investigating supervisor and the previous reviewer, and document the
                                                                                                         – On Track)
      specific evidence or analysis supporting the modification. Any supervisor in the chain of
      command may discuss the modification with the reviewing supervisor or reviewers.
195   For force reviews involving Level 1 uses of Reportable Force, the district or unit commander           4c
      will ordinarily be the final reviewer. He or she will make the final determinations of whether   (Implementation
      the findings by the chain of command regarding the use of Reportable Force are consistent
                                                                                                         – On Track)
      with law and policy and supported by a preponderance of the evidence; whether the review is
      thorough and complete; and whether there are tactical, equipment, or policy considerations
      that need to be addressed.
196   When the district or unit commander determines that an assessment for Level 2 force is                 4c
      complete and the evidence supports the findings, the force file will be forwarded to the Use     (Implementation
      of Force Assessment Unit (“UOFAU”). BPD will require that the UOFAU conduct an
                                                                                                         – On Track)
      administrative Use of Force Assessment of all Level 2 Reportable Force incidents. BPD will
      ensure that the UOFAU is staffed to promote effective and efficient reviews of Level 2
      Reportable Force.
197   The UOFAU will review each Level 2 Reportable Force incident and review to determine                   4c
      whether the findings by the chain of command regarding the use of force are consistent with      (Implementation
      BPD policy and supported by a preponderance of the evidence; whether the assessment was
                                                                                                         – On Track)
      thorough and complete; and whether there are tactical, equipment, or policy considerations
      that need to be addressed.
198   The UOFAU may refer cases to the Performance Review Board for consideration by the full                 0
      board as appropriate, for example, in incidents containing serious policy violations.             (Not Assessed)
199   At the discretion of the officer’s chain of command, or the UOFAU, a use of force                       0
      assessment may be assigned or re-assigned for investigation to SIRT, or returned to the unit      (Not Assessed)
      for further investigation, analysis, or corrective action, if warranted.
200   BPD will analyze the data captured in officers’ Use of Force Reports and supervisors’ use of           4c
      force reviews on an annual basis to identify significant trends, to correct deficient policies   (Implementation
      and practices, and to document its findings in an annual report that will be made publicly
                                                                                                         – On Track)
      available pursuant to Section VII(E) below, Data Collection, Analysis, and Reporting. BPD’s
      analysis will include evaluations and assessments of use of Reportable Force by type, unit or
      assignment, demographics of the subjects, the shift or time of day, location, the nature of
      offense, the resistance encountered, and comparisons among officers or units.
Reporting and Investigation of Level 3 Force – Special Investigation Response Team (“SIRT”)



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201   BPD will ensure that its SIRT unit investigating Level 3 Reportable Force incidents is                    4c
      multidisciplinary and conducts both the criminal and administrative investigations of Level 3       (Implementation
      Reportable Force incidents. To guide SIRT practices and investigations, BPD will develop
                                                                                                            – On Track)
      and implement a SIRT training curriculum and procedural manual.
202   SIRT will respond to and investigate the following types of incidents:                                    4c
          a. All Level 3 Reportable Force incidents;                                                      (Implementation
          b. Any fatal motor vehicle crash in which the actions of a BPD member were a
                                                                                                            – On Track)
             contributing cause; and
          c. Any incident at the direction of the Police Commissioner or his/her designee.
203   In the incidents listed in the preceding paragraph, SIRT will be the primary investigating                4c
      entity, and may call upon additional units to offer assistance and technical expertise. The         (Implementation
      SIRT supervisor will lead all investigative activity, which includes locating and interviewing
                                                                                                            – On Track)
      witnesses, securing the scene and evidence, locating video surveillance that may have
      captured the incident, and making notifications. The Training and Policy representatives to
      SIRT will not have an investigative role when present at the scene of a use of Reportable
      Force, but will attempt to identify any policy or training issues.
          a. At least one member of SIRT will be available at all times to evaluate potential referrals
             from BPD supervisors.
          b. SIRT staff members will have appropriate expertise and investigative skills to ensure
             that uses of force that are contrary to law or policy are identified and appropriately
             resolved; and that its investigations allow the Performance Review Board to identify
             trends or patterns of policy, training, equipment, or tactical deficiencies, or positive
             lessons related to the use of force.
204   The on-scene uninvolved permanent-rank supervisor shall take initial steps in response to the             4c
      incident consistent with the requirements for Level 2 Reportable Force incidents until turning      (Implementation
      the scene over to the Shift Commander or arriving SIRT personnel.
                                                                                                            – On Track)
205   If the Shift Commander arrives before the SIRT personnel, the Shift Commander will assume                 4c
      control from the uninvolved permanent-rank supervisor and take steps to secure and maintain         (Implementation
      the integrity of the scene, including witnesses, which will be left intact to be processed by
                                                                                                            – On Track)
      SIRT personnel. The Shift Commander will also make reasonable attempts to identify
      civilian witnesses to the event and request that they stand by for the SIRT personnel’s arrival.
      The Shift Commander is responsible for separating all involved and witnessing officers and
      keeping them at the scene until SIRT personnel arrives.
206   SIRT will have the following responsibilities in responding to a Level 3 Reportable Force                 4c
      incident:                                                                                           (Implementation
          a. SIRT personnel will assume control of the use of force investigation upon their arrival;
                                                                                                            – On Track)
          b. SIRT personnel will record all interviews with civilian witnesses;
          c. SIRT personnel will ensure that the Shift Commander has separated all officers
             involved in or who witnessed a use of force incident until they are all interviewed in
             accordance with BPD policy and the LEOBR;
          d. SIRT personnel will ensure all video evidence is immediately gathered and assessed.
             This evidence may include, but is not limited to, CCTV footage, private or public
             surveillance, cell phone video footage, and body-worn camera footage. SIRT personnel
             will arrange for a canvass for any CCTV or privately owned video that may have
             captured the contact, and attempt to obtain copies voluntarily. If the owner of privately
             owned video refuses, SIRT personnel will document the location and/or owner of the
             video. If no privately owned video is discovered, SIRT personnel will document that
             none was found;


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         e. The SIRT supervisor will arrange for a crime lab technician to process the scene
            according to the Crime Scene Sciences Section’s technical manual and provide photos
            as soon as practicable to SIRT;
         f. SIRT personnel will attempt to interview the person upon whom the officer used the
            Reportable Force to obtain the person’s account of what happened, if possible, as an
            audio-recorded interview. They will also photograph areas of injury or complaint of
            injury;
         g. The SIRT supervisor responding to the scene will review body-worn camera or other
            video which may have recorded all or part of the incident and will document the content
            of such videos. The SIRT supervisor should obtain copies of videos (other than body-
            worn camera footage) and attach them to the Blue Team use of force entry. SIRT
            supervisors will review such video downloads as well as witness statements from all
            witness officers prior to the end of their shift(s) unless impracticable;
         h. SIRT personnel will ask involved officers if they are willing to provide a voluntary
            statement, and if so, administer the Miranda warnings prior to conducting an interview.
            All interviews with officers must be recorded (audio and/or video) and take place as
            soon as practical;
         i. The SIRT supervisor responding to the scene will arrange for the involved and witness
            officers to submit use of force written reports as soon as practicable and no later than 24
            hours after the incident, except in extenuating circumstances, such as when an officer is
            injured, in which case, the officer will submit their written report as soon as the
            extenuating circumstance allows;
         j. SIRT personnel will be responsible for notifying the involved officer’s commanding
            officer, the Police Commissioner, Deputy Police Commissioners, all Chiefs, the
            Director of the Academy, and the Baltimore City State’s Attorney’s Office (“SAO”) no
            later than 24 hours after learning of the use of force, unless impractical. This
            notification will contain basic facts about the incident as they are known at the time;
         k. Within 60 days or as soon as possible thereafter, SIRT investigators will present the
            completed investigation to the Performance Review Board (“PRB”) when it next
            convenes; and
         l. If the SIRT investigation indicates potential criminal conduct or administrative
            misconduct, the SIRT commander will be responsible for notifying the Chief of OPR,
            and, in cases of potential criminal conduct, notifying the appropriate prosecuting
            authority.
E. Data Collection, Analysis, and Reporting
211   BPD will collect and maintain all data and records necessary to accurately evaluate its use of            4c
      force practices and facilitate transparency and, as permitted by law, broad public access to        (Implementation
      information related to BPD’s decision making and activities.
                                                                                                            – On Track)
212   BPD will ensure the collection and tracking of all documents related to uses of force and                 4c
      allegations of misconduct and related materials, including:                                         (Implementation
          a. Officers’ Use of Force Reports;
                                                                                                            – On Track)
          b. Supervisor’s use of force reviews;
          c. Force investigations by SIRT;
          d. Reviews conducted by OPR relating to officers’ uses of Reportable Force; and
          e. All supporting documentation and materials, including relevant CEW downloads,
             supporting audio-visual recordings, including witness and officer interviews, and any
             relevant camera downloads, including from body-worn cameras.




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213   BPD will ensure the creation and maintenance of a reliable and accurate electronic system to            4c
      track all data derived from Reportable Force-related documents, including:                        (Implementation
         a. The type(s) of force used;
                                                                                                          – On Track)
         b. The actual or perceived race, ethnicity, age, and gender of the subject;
         c. the name, shift, and assignment of the officer(s) who used force;
         d. the District where the use of force occurred;
         e. Whether the incident occurred during an officer-initiated contact or a call for service;
         f. The subject’s perceived mental health or medical condition, use of drugs or alcohol, or
            the presence of a disability, if indicated at the time force was used;
         g. The subject’s actions that led to the use of force, including whether the subject was in
            possession of a weapon;
         h. Whether the subject was handcuffed or otherwise restrained during the use of force;
         i. Any injuries sustained by the officer or the subject or complaints of injury, and whether
            the officer or subject received medical services;
         j. whether the subject was charged with an offense, and, if so, which offense(s);
         k. For firearms-related deadly force incidents, the number of shots fired by each involved
            officer, the accuracy of the shots, and whether the subject was armed or unarmed; and
         l. The length of time between the use of force and the completion of each step of the force
            investigation and review.
214   BPD will be responsible for the routine reporting of relevant data to the Commissioner, PRB,            4c
      and OPR.                                                                                          (Implementation
                                                                                                          – On Track)
215   BPD will be responsible for an annual evaluation of forms and data collection systems to                4c
      improve the accuracy and reliability of data collection concerning use of force. This             (Implementation
      evaluation will be provided to the Monitor, the DOJ and the public.
                                                                                                          – On Track)
216   BPD will develop a protocol to accurately analyze the data collected and allow for the                  4c
      assessments required below. This protocol will be subject to the review and approval of the       (Implementation
      Monitor and DOJ.
                                                                                                          – On Track)
217   BPD will annually analyze the prior year’s force data, including the force-related data listed          4c
      above, to determine trends; identify and correct deficiencies revealed by this analysis; and      (Implementation
      document its findings in a public report.
                                                                                                          – On Track)




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